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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,             )
et al.,                                )
                                       )
Plaintiffs,                            )
                                       )
v.                                     ) Civil Action No. 2:22-cv-184-LCB
                                       )
KAY IVEY, in her official capacity     )
as Governor of Alabama, et al.,        )
                                       )
Defendants.                            )

             DEFENDANTS’ RESPONSE IN OPPOSITION TO
     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION (DOC. 7)
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                                 INTRODUCTION

      The Alabama Vulnerable Child Compassion and Protection Act is aptly

named. See Ex. 1. Minors with gender dysphoria and other forms of gender-related

psychological distress are suffering greatly. They have higher rates of depression

and suicide than other minors do. They are likely to struggle with an array of other

psychological ailments. They represent, at disproportionately high rates, some of the

most vulnerable groups of young people: those with mental developmental disabili-

ties, autism spectrum disorder (at a rate more than 7x the general population),

ADHD, and prior histories of psychiatric illness or trauma. They deserve compas-

sion, protection, and help.

      What they too often receive is rushed medical experimentation. As the number

of gender clinics have exploded across America, traditional safeguards have been

tossed aside in favor of unproven medical interventions with long-term, irreversible

consequences and little, if any, proven benefit. Minors are told that they have been

born in the wrong body and that the only solution is to physically transition to appear

as the other sex. They are told that this pathway of “gender affirmation”—consisting

of social transition, the administration of puberty blockers and cross-sex hormones,

and surgical interventions—will offer them healing. And though these treatments

have never been approved by the Food and Drug Administration for treating gender

dysphoria, they are told that these treatments are based on solid scientific evidence.



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Parents often “consent” to the treatments after being threatened with a stark alterna-

tive: Would they “rather have a dead child or a trans one?”1

       The shock is that the scientific literature supports none of this. In a field in

which so much is unsettled and still unstudied (remarkably so), that much is clear.

What evidence does exist, though, shows that most cases—somewhere between 61%

and 94%—of childhood gender dysphoria resolve naturally. Because there is no

medical diagnosis that can tell whose dysphoria will persist into adulthood and

whose won’t, some form of “watchful waiting” is traditionally the preferred model

of care. It allows clinicians to support children as they go through puberty, offer

counseling as they come to terms with their sexual identities (most gender dysphoric

youth will identify as gay or lesbian as adults), and provide treatment for other psy-

chological comorbidities that are usually present. Once they are adults, if the dys-

phoria persists, they can make an informed decision about whether physical transi-

tion could be worth pursuing.

       If, instead, minors are started on puberty blockers in early adolescence, the

evidence suggests that the intervention will set them on a lifelong clinical pathway

of cross-sex hormones and reassignment surgeries. These are major medical


1
  Laura Edwards-Leeper & Erica Anderson, The Mental Health Establishment is Failing Trans
Kids, WASHINGTON POST (Nov. 24, 2021), https://www.washingtonpost.com/out-
look/2021/11/24/trans-kids-therapy-psychologist/; see also Kenneth J. Zucker, Adolescents with
Gender Dysphoria: Reflections on Some Contemporary Clinical and Research Issues, ARCHIVES
OF SEXUAL BEHAVIOR 48:1984 (2019), available at https://doi.org/10.1007/s10508-019-01518-8
(collecting examples).

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procedures that carry with them substantial risks of long-lasting harm. To say noth-

ing of the problems caused by double mastectomies and irreversible “bottom” sur-

geries, minors taking puberty blockers and cross-sex hormones risk permanent ste-

rility, loss of sexual function, increased risk of heart attack and stroke, bone-density

problems, risk of altered brain development, and psycho-social harms from delayed

puberty.

      And for what? What are the outcomes for the children who undergo this

course of treatment? Or for the rising tide of adolescent girls who appear to be pre-

senting with a new form of socially influenced gender distress? Incredibly, no one

really knows. The evidence is distressingly thin. But contrary to Plaintiffs’ claims,

the best evidence available does not show that the interventions improve mental

health or reduce suicide rates in the long term. Some research even suggests that

transition may be associated with an increased risk of suicide.

      Other countries are taking note. In just the past few years, healthcare authori-

ties or hospital systems in the United Kingdom, Finland, Sweden, France, Australia,

and New Zealand have all conducted literature reviews regarding affirmation treat-

ment. The result? Every one of them urged increased caution. Some put the brakes

on completely. They recognize the low quality of the studies, the important questions

left unanswered by existing research, the significant long-term risks associated with

affirmation interventions, the unexplained explosion in gender discordance among



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young people, the inability to medically diagnose the minority of patients whose

gender dysphoria will persist, the dramatic (though largely unstudied) increase in the

number of patients who regret their transitions, and the abject unfairness of asking a

12-year-old girl to “consent” to an experimental course of treatment that will radi-

cally change her body, leave her permanently sterile, and in all likelihood fail to

bring her long-term psychological relief.

      Plaintiffs mention none of this. Proclaiming a false consensus and a degree of

medical certainty that does not exist, they ask this Court to override the State’s pol-

icymakers and impose on Alabama’s children a medical regime that is experimental

at best and comes with significant risks of lifelong harms. But nothing in the Con-

stitution or federal law prohibits Alabama from protecting its most vulnerable youth

in the face of scientific uncertainty. All medical regulation is based on a balance of

risk and benefit, and, after extensive study, the Alabama Legislature reasonably de-

termined that the evidence that exists right now does not prove that the benefits of

puberty blockers, cross-sex hormones, and surgical interventions to treat gender dys-

phoric children outweigh the risks. Federal courts have neither the authority nor the

competence to second-guess that determination. With the stakes so high, the harms

so great, and the known benefits so paltry, the Alabama Legislature did not have to

embrace an experimental path in lieu of the one that has served the medical profes-

sion so well for so long: First, do no harm.



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      Plaintiffs’ claims thus fail on the merits. The Equal Protection Clause does

not prohibit a State from banning unproven and potentially dangerous medical inter-

ventions on children—particularly when, as here, the State bans them for everyone¸

boys and girls alike, and regardless of transgender status. Accounting for the reality

that certain treatments depend on sex does not present an Equal Protection problem.

For example, it is not unlawful discrimination to offer testicular exams only to boys

or pap smears only to girls. Similarly, implanting a fertilized egg in a woman is a

treatment for infertility; implanting it in a man is something quite different. Like-

wise, it is not unlawful discrimination to provide natural amounts of testosterone to

a boy with a testosterone deficiency while declining to provide unnatural amounts

of testosterone to a girl seeking to transition. Providing a girl with a boy’s level of

testosterone would be a different treatment altogether. Such commonsense, medi-

cally necessary distinctions are not barred by the Constitution.

      Nor does the State’s requirement that children wait until they become adults

to permanently change their bodies discriminate on the basis of transgender status

(which is not a protected class in any event). Among other things, the fact that most

gender dysphoric youth will not identify as transgender as adults proves as much.

      As for Plaintiffs’ lead argument, the Due Process Clause simply does not for-

bid States from regulating medical treatments. Courts are in one accord that there is

no personal substantive due process right to obtain experimental medical treatments.



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It necessarily follows that parents do not have a right to obtain experimental medical

procedures for their children. Plaintiffs do not even attempt to show that any such

carefully defined right is deeply rooted in our history and traditions.

      Plaintiffs’ vagueness and First Amendment challenges are likewise meritless.

Plaintiffs argue that the word “cause” is unconstitutionally vague, but if that were

true, much of the criminal code would need to be enjoined. And though they present

myriad hypotheticals that could present close questions in the abstract, what is not a

close question is whether the conduct Plaintiffs want to engage in is forbidden.

Providing puberty blockers or cross-sex hormones to a minor for the purpose of gen-

der transition is clearly outlawed. Plaintiffs’ vagueness challenge thus fails. So does

their First Amendment claim: speech that “causes” a crime—such as writing a pre-

scription for an illegal use of a drug—has no First Amendment protection.

      Plaintiffs also lose on the equities because they intentionally delayed bringing

this lawsuit. Governor Ivey signed the Act into law on April 8, 2022, and it takes

effect on May 8. Yet while Plaintiffs claim they need emergency injunctive relief

from this Court, they waited until April 21 to seek emergency relief. Doc. 7. Why?

It has something to do with a previous lawsuit brought by Plaintiffs’ attorneys: La-

dinsky v. Ivey, No. 5:22-cv-447-LCB (N.D. Ala. 2022), which they filed on April 8.

That case and another nearly identical one, Walker v. Marshall, No. 5:22-cv-480-

LCB (N.D. Ala. 2022), were assigned to this Court on April 15. As soon as that



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assignment happened, both sets of Plaintiffs voluntarily dismissed their claims

within nine minutes of each other.2 Lead counsel for the Ladinsky Plaintiffs—who

is lead counsel for Plaintiffs here—quickly told the media that they “plan[ned] to

refile imminently.”3 So they did. With a set of new plaintiffs (and the old lead plain-

tiff moved to “expert”), the 17 Ladinsky lawyers re-filed suit a few days later bring-

ing the same claims (mostly) and using the same language (mostly) from their orig-

inal complaint. As the Court pointed out, “Plaintiffs’ course of conduct could give

the appearance of judge shopping,” “a practice that has the propensity to create the

appearance of impropriety in the judicial system.”4 Plaintiffs’ inequitable, manipu-

lative conduct disqualifies them from equitable relief.

       Just as pressing, Plaintiffs’ misconduct also shows that they are not truly fac-

ing the emergency they proclaim. If they were—if time really were of the essence—

their lawyers would not have dismissed a prior suit to play procedural games.

       Finally, the People have the strongest interest in an Act adopted by their rep-

resentatives to protect the most vulnerable among us. If the Court enjoins this Act,

Alabama children face irreversible damage from unproven, sterilizing, and


2
  See Notice of Dismissal, Walker v. Marshall, No. 5:22-cv-480-LCB (N.D. Ala. Apr. 15, 2022),
Doc. 23; Notice of Dismissal, Ladinsky v. Ivey, No. 5:22-cv-447-LCB (N.D. Ala. Apr. 15, 2022),
Doc. 15.
3
  Paul Gattis, Lawsuits Seeking to Overturn New Alabama Transgender Law Dropped, Could be
Refiled, AL.COM (Apr. 16, 2022, 5:43 p.m.), https://www.al.com/news/2022/04/lawsuits-seeking-
to-overturn-new-alabama-transgender-law-dropped-could-be-refiled.html; see Order, Walker, No.
5:22-cv-480-LCB (N.D. Ala. Apr. 18, 2022), Doc. 24 at 3.
4
  Order, Walker, No. 5:22-cv-480-LCB (N.D. Ala. Apr. 18, 2022), Doc. 24 at 3.

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permanently scarring medical interventions pushed by ideological interest groups.

The Court should deny Plaintiffs’ belated request for preliminary relief.

                                 BACKGROUND

      To properly evaluate Plaintiffs’ claims, it is important to understand the his-

tory, terminology, and state of the science for treating minors suffering from gender

dysphoria and other forms of gender-related distress. An overview follows, but more

extensive treatments are found in the submitted expert declarations by Dr. James

Cantor, Ph.D., a clinical psychologist and Director of the Toronto Sexuality Centre

in Canada, Ex. 2; Dr. Michael K. Laidlaw, M.D., an endocrinologist in private prac-

tice in Rocklin, California, Ex. 3; Dr. Quentin L. Van Meter, M.D., a pediatric en-

docrinologist in private practice in Atlanta, Georgia, and Associate Professor of Pe-

diatrics at Emory University School of Medicine and Morehouse College of Medi-

cine, Ex. 4; Dr. Paul W. Hruz, M.D., Ph.D., Associate Professor of Pediatrics in the

Division of Pediatric Endocrinology and Diabetes at Washington University School

of Medicine, Ex. 5; Dr. Patrick Hunter, M.D., a pediatrician, bioethicist, and former

chair of the pediatric department at Scotland Memorial Hospital, Ex. 6; and Dr. Di-

anna Kenny, Ph.D., a psychotherapist and former Professor of Psychology at the

University of Sydney, Australia, Ex. 7. See Docs. 69-1 through 69-7.

      Though these experts tried their best to respond to the claims made by Plain-

tiffs and their experts (particularly given the time constraints—they’ve had no time



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at all to review the federal government’s proposed expert report), it is worth noting

that they had limited material to work with. As Dr. Cantor noted, Plaintiffs’ prelim-

inary injunction “motion and all three experts asserted very many very bold claims,

but vanishingly little citation of any objective science at all. Of the many hundred

relevant, peer-reviewed research articles on this topic, Dr. Hawkins cited three, Dr.

Ladinsky cited none at all, and Dr. Rosenthal cited eight, four of which were from

the same research team, also cited by Dr. Hawkins.… [T]hat small set of articles

represents a highly cherry-picked misrepresentation of the relevant body of science,

failing to reflect the consensus of the research literature.” Cantor Decl. ¶ 10.

      Also included are declarations from parents of gender dysphoric youth and

from individuals who once suffered from gender dysphoria, received the transition-

ing treatments at issue, and later determined that they had not been mature enough

to give informed consent to these drastic medical interventions. These stories are

important because they show that a rising number of young people are actively

harmed by the experimental treatments Plaintiffs say are constitutionally required.

See Ex. 26, Decl. of Corinna Cohn; Ex. 27, Decl. of Sydney Wright; Ex. 28, Decl.

of Carol Frietas; Ex. 29, Decl. of Barbara F.; Ex. 30, Declaration of John Doe; Ex.

31, Decl. of John Roe; Ex. 32, Decl. of Kristine W.; Ex. 33, Decl. of Yaacov Shein-

feld; Ex. 34, Decl. of Martha S.; Ex. 35, Decl. of KathyGrace Duncan; Ex. 36, Decl




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of Jeanne Crowley; Ex. 37, Decl. of Ted H. Halley; Ex. 38, Decl. of Kellie C.; Ex.

39, Decl. Gary Warner. See Docs. 69-26 through 69-39.

       Finally, a limited number of important primary documents are submitted.

These include important studies that are repeatedly referenced in the literature and

the expert reports, as well as statements and comprehensive literature reviews from

healthcare authorities across the globe. These statements show that Plaintiffs’ claim

of widespread consensus as to the efficacy, safety, and necessity of using puberty

blockers, cross-sex hormones, and surgical interventions to treat gender dysphoria

in children is simply not true.5


5
  See Ex. 8, Stephen B. Levine, E. Abbruzzese & Julia M. Mason, Reconsidering Informed Consent
for Trans-Identified Children, Adolescents, and Young Adults, J. OF SEX & MARITAL THERAPY
(Mar. 17, 2022) [hereafter “Levine et al., Reconsidering Informed Consent”]; Ex. 9, Evidence Re-
view: Gonadotropin Releasing Hormone Analogues for Children and Adolescents with Gender
Dysphoria, Nat’l Inst. for Health & Care Excellence (NICE) (released Mar. 11, 2021), available
at https://arms.nice.org.uk/resources/hub/1070905/attachment [hereafter “NICE Puberty Blocker
Evidence Review”]; Ex. 10, Evidence Review: Gender-Affirming Hormones for Children and Ad-
olescents with Gender Dysphoria, Nat’l Inst. for Health & Care Excellence (NICE) (released Mar.
11, 2021), available at https://arms.nice.org.uk/resources/hub/1070871/attachment [hereafter
“NICE Cross-Sex Hormone Evidence Review”]; Ex. 11, Sweden National Board of Health and
Welfare Policy Statement, Socialstyrelsen, Care of Children and Adolescents with Gender Dys-
phoria: Summary (2022), available at https://www.socialstyrelsen.se/globalassets/sharepoint-
dokument/artikelkatalog/kunskapsstod/2022-3-7799.pdf [hereafter “Sweden Policy Statement”];
Ex. 12, Finland’s Council for Choices in Healthcare Policy Statement, Palveluvalikoima, Recom-
mendation of the Council for Choices in Health Care in Finland (PALKO / COHERE Finland)
unofficial translation by Society for Evidence Based Medicine available (in English) at
https://segm.org/sites/default/files/Finnish_Guidelines_2020_Minors_Unofficial%20Transla-
tion.pdf [hereafter “Finland Policy Statement”]; Ex. 13, Académie Nationale de Médecine, Medi-
cine and Gender Transidentity in Children and Adolescents (Feb. 25, 2022), available at
https://www.academie-medecine.fr/wp-content/uploads/2022/03/22.2.25-Communique-PCRA-
19-Gender-identity-ENG.pdf [hereafter “France Policy Statement”]; Ex. 14, The Royal Australian
& New Zealand College of Psychiatrists, Recognising and Addressing the Mental Health Needs of
People Experiencing Gender Dysphoria / Gender Incongruence, Position Statement 103 (Aug.



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       A.     Sex, Gender, and Gender Discordance

       While Plaintiffs prefer the term “sex assigned at birth,” the more precise term

is simply “sex” or “biological sex.” Laidlaw Decl. at 6-7; Hruz Decl. ¶ 28. A child’s

sex is determined at conception, depending on whether a sperm’s X or Y chromo-

some fertilizes the egg. Van Meter Decl. at 2-3. A person’s sex is encoded in every

cell of her body. According to the National Institutes of Health, “[s]ex is a biological




2021), available at https://perma.cc/LR94-73ZU [hereafter “Royal Australian & New Zealand
College of Psychiatrists Statement”]; Ex. 15, Bell v. Tavistock & Portman Nat’l Health Serv.
Found. Tr. [2020] EWHC (Admin) 3274; Ex. 16, Centers for Medicare & Medicaid Services,
Tamara Syrek Jensen et al., Decision Memo for Gender Dysphoria and Gender Reassignment Sur-
gery (CAG-00446N) (Aug. 30, 2016), available at https://perma.cc/9CQN-938N; Ex. 17, Am.
Psychiatric Ass’n, DIAGNOSTIC AND STATISTICAL MANUAL OF MENTAL DISORDERS (5th ed. 2013)
(excerpts) [hereafter “DSM-5”]; Ex. 18, World Professional Ass’n for Transgender Health
(WPATH), Standards of Care for the Health of Transsexual, Transgender, and Gender-Conform-
ing People (7th Version) (2012) [hereafter “WPATH Standards”]; Ex. 19, Wylie C. Hembree et
al., Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Soci-
ety Clinical Practice Guidelines, 102 J. CLINICAL ENDOCRINOLOGY & METABOLISM 3869 (Nov.
2017) [hereafter “Endocrine Society Guidelines”]; Ex. 20, Lisa Littman, Parent Reports of Ado-
lescents & Young Adults Perceived to Show Signs of a Rapid Onset of Gender Dysphoria, PLOS
ONE 13(8):e0202330 [hereafter “Littman, Rapid-Onset Gender Dysphoria”]; Ex. 21, Lisa
Littman, Individuals Treated for Gender Dysphoria with Medical and/or Surgical Transition Who
Subsequently Detransitioned: A Survey of 100 Detransitioners, 50 ARCHIVES OF SEXUAL BEHAV-
IOR No. 50, 3353 (Oct. 2021) [hereafter “Littman Survey”]; Ex. 22, Elie Vandenbussche, Detran-
sition-Related Needs and Support: A Cross-Sectional Online Survey, JOURNAL OF HOMOSEXUAL-
ITY (Apr. 30, 2021), available at https://doi.org/10.1080/00918369.2021.1919479; Ex. 23, Anne-
lou de Vries et al., Young Adult Psychological Outcome After Puberty Suppression and Gender
Reassignment, 130 PEDIATRICS, No. 4, 696-704 (Oct. 2014); Ex. 24, Jason Rafferty, Policy State-
ment, Am. Academy of Pediatrics, Ensuring Comprehensive Care & Support for Transgender &
Gender-Diverse Children & Adolescents, 142 Pediatrics no. 4 (Oct. 2018), available at
https://perma.cc/EE6U-PN66 [hereafter “AAP Statement”]; Ex. 25, Am. Psych. Ass’n, Guidelines
for Psychological Practice With Transgender and Gender Nonconforming People, 70 Am. Psy-
chologist 832 (Dec. 2015), available at https://www.apa.org/practice/guidelines/transgender.pdf
(emphasis added) [hereafter “APA Guidelines”]. See Docs. 69-8 through 69-25.

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classification, encoded in our DNA. Males have XY chromosomes, and females

have XX chromosomes.”6

       Sex and gender are distinct. Sex is biological. Van Meter Decl. at 2-4; Hruz

Decl. ¶ 21. Gender is psychological and sociological—“the psychological and cul-

tural characteristics associated with biological sex.” Van Meter Decl. at 5. Gender

identity, then, “refer[s] to an individual’s mental and emotional sense of being male

or female.” Id. According to a recent paper published by the Endocrine Society,

while “[s]ex is an essential part of vertebrate biology,” “gender is a human phenom-

enon; sex often influences gender, but gender cannot influence sex.”7 Thus, “sex

differences are those caused by biological factors, whereas gender differences reflect

a complex interplay of psychological, environmental, cultural, and biological fac-

tors.”8 Gender identity and biological sex are both distinct from sexual identity or

sexual orientation, which “refer[] to the group of persons to whom an individual is

sexually attracted.”9

       How a child’s gender identity is formed is not fully understood. Most chil-

dren—traditionally more than 99%—identify with their biological sex. Van Meter



6
  Nat’l Inst. of Health, Office of Research on Women’s Health, How Sex and Gender Influence
Health and Disease, available at https://perma.cc/9EP5-MXK8.
7
  Aditi Bhargava et al., Considering Sex as a Biological Variable in Basic and Clinical Studies:
An Endocrine Society Scientific Statement, ENDOCRINE REVIEWS 10 (2021) (emphasis added),
available at doi:10.1210/endrev/bnaa034.
8
  Id. at 8.
9
  Id. at 9; see also Hruz Decl. ¶¶ 23-24.

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Decl. at 5. A very small minority do not; their gender is said to be “incongruent”

with their sex. Id. It is likely that biology, psychosocial, environmental, and various

cultural factors all play a role in this formation. “[W]hile associations between gen-

der identity, neuroanatomic, genetic, and hormone levels exist, a clear causative bi-

ological underpinning of gender identity remains to be demonstrated.”10 It is clear,

however, that “gender is strongly influenced by environmental and cultural

forces.”11 As Plaintiffs’ expert Dr. Rosenthal has put it, gender identity “likely re-

flects a complex interplay of biological, environmental, and cultural factors.” Hunter

Decl. ¶ 33 (quoting Stephen Rosenthal, Approach to the Patient: Transgender

Youth: Endocrine Considerations, 99 J. OF CLINICAL ENDOCRINOLOGY & METABO-

LISM     No. 12, 4379-89 (2014)); see also Van Meter Decl. at 6-8 (discussing brain

matter studies); Hruz Decl. ¶ 46 (discussing twin studies).

          Accounting for social and cultural factors has only grown in importance in

recent years. “While the incidence [of gender identity variations] in youth had not

been officially estimated, in adults it was 2-14 per 100,000.” Levine et al., Recon-

sidering Informed Consent at 2. “However, around 2006, the incidence among youth

began to rise, with a dramatic increase observed in 2015.” Id. (citations omitted).

“Currently, 2-9% of U.S. high school students now identify as transgender, while in



10
     Bhargava, supra, at 8.
11
     Id.

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colleges, 3% of males and 5% of females identify as gender-diverse.” Id. (citations

omitted); see Hruz Decl. ¶ 72. “Along with this increase in transgender patients and

identifiers[] has come a radical and recent transformation of the patient population

from early onset males to rapid onset adolescent girls.” Hruz Decl. ¶ 72. Currently,

“the majority of new patients with sex-gender discordance are not males with a long,

stable history of gender dysphoria since early childhood—as they were for dec-

ades—but instead adolescent females with no documented long-term history of gen-

der dysphoria.” Id. Some researchers have labeled the phenomenon “Rapid Onset

Gender Dysphoria.” See generally Littman, Rapid-Onset Gender Dysphoria. Con-

cerningly, the majority of these cases “appear to occur within clusters of peers and

in association with increased social media use and especially among people with

autism or other neurodevelopmental or mental health issues.” Cantor Decl. ¶ 71.

      There are a number of ways to speak about individuals experiencing gender

incongruence. Most broadly is “gender incongruent,” “gender discordant,” or “gen-

der nonconformant,” all of which broadly “refer[] to the extent to which a person’s

gender identity, role, or expression differs from cultural norms prescribed for people

of a particular sex.” WPATH Standards at 5. “Transgender” has a similarly broad

meaning. The World Professional Association for Transgender Health (WPATH)—

the organization Plaintiffs rely on the most—uses “transgender” to “describe a di-

verse group of individuals who cross or transcend culturally defined categories of



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gender” and have gender identities that “differ[] to varying degrees from the sex they

were assigned at birth.” Id. at 97. The Endocrine Society’s definition is similarly far-

reaching: “transgender” is “an umbrella term for people whose gender identity

and/or gender expression differs from what is typically associated with their sex des-

ignated at birth.” Endocrine Society Guidelines at 3875.

       As the American Academy of Pediatrics (AAP) points out, “transgender” is

“not [a] diagnos[i]s,” but a “personal” and “dynamic way[] of describing one’s own

gender experience.” AAP Statement at 3. According to the AAP, “gender identity

can be fluid, shifting in different contexts.” Id. at 2 The American Psychological

Association (APA) even reports that some people “experience their gender identity

as fluid.” APA Guidelines at 836. There are also those who seek to “redefine gender”

or who “decline to define themselves as gendered altogether”—who “think of them-

selves as both man and woman (bigender, pangender, androgyne); neither man nor

woman (genderless, gender neutral, neutrois, agender); moving between genders

(genderfluid); or embodying a third gender.”12 These individuals consider them-

selves to be “non-binary,” a category that now may encompass most transgender-

identifying youth, Hunter Decl. ¶ 79.




12
  APA Guidelines at 862 (noting that a “recent study reported that the majority of transgender-
identifying youth (63%) now have a non-binary identity”).

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       B.        Gender Dysphoria

       Unlike “transgender,” “gender dysphoria” is a medical diagnosis.13 According

to the current edition of the American Psychiatric Association’s Diagnostic and Sta-

tistical Manual of Mental Disorders (DSM-5), individuals with gender dysphoria (1)

“have a marked incongruence” between their biological sex “and their experi-

enced/expressed gender,” and (2) experience clinical levels of “distress about this

incongruence.” DSM-5 at 452. The DSM-5 separates gender dysphoria into “early-

onset”—childhood—and “late onset”—adolescence or adulthood. Id. at 452-53.

            1.     Childhood-Onset Gender Dysphoria

       “The large majority of childhood onset cases of gender dysphoria occur in

biological males, with clinics reporting 2-6 biological male children to each female.”

Cantor Decl. ¶ 34. Many, if not most, gender dysphoric children also suffer from

“significant comorbid mental health disorders, have neurocognitive difficulties such

as ADHD or autism[,] or have a history of trauma.” Levine et al., Reconsidering

Informed Consent at 3. For instance, “[a] formal analysis of children (ages 4–11)

undergoing assessment at the Dutch child gender clinic showed 52% fulfilled criteria

for a DSM axis-I disorder.” Cantor Decl. ¶ 69. Another study of Canadian and Dutch



13
   Older terms for the same or very similar diagnosis include “gender identity disorder of child-
hood” (for children) and “transsexualism” (for adolescents and adults). See Kenneth J. Zucker, The
DSM-5 Diagnostic Criteria for Gender Dysphoria, in MANAGEMENT OF GENDER DYSPHORIA: A
MULTIDISCIPLINARY APPROACH 33 (eds. C. Trombetta et al. 2015), available at
https://bit.ly/3LJvaaM.

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clinics showed that, “among 6–11 year-olds, 61.7% of the Canadian and 62.1% of

the Dutch sample were in the clinical range” rather than the “healthy range” when

assessed on the Child Behavior Check List. Id. The rate of ADHD among children

with gender dysphoria ranges between 8.3% and 11%. Id. ¶ 70. And “data from chil-

dren (ages 6-18) with Autism Spectrum Disorders (ASDs) show they are more than

seven times more likely to have parent-reported ‘gender variance.’” Id.

      If not given medical interventions to transition—and that is an important

“if”—most children with gender dysphoria will grow up to identify as gay or lesbian

and will not suffer from gender dysphoria as adults. Hunter Decl. ¶ 39; DSM-5 at

455. This fact of desistance—that “[g]ender dysphoria during childhood does not

inevitably continue into adulthood,” as the WPATH Standards put it (at 11)—is well

established in the medical literature, and all of the “standards” Plaintiffs rely on rec-

ognize this fact. The DSM-5 reports that rates of persistence (i.e., non-desistance)

for biological males range “from 2.2% to 30%” and from “12% to 50%” for biolog-

ical females. DSM-5 at 455. This means that between 97.8% and 70% of boys and

between 88% and 50% of girls suffering from gender dysphoria will have their dys-

phoria resolve by the time they reach adulthood.

      WPATH reports similar numbers: “[I]n follow-up studies of prepubertal chil-

dren (mainly boys) who were referred to clinics for assessment of gender dysphoria,

the dysphoria persisted into adulthood for only 6–23% of children.” WPATH



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Standards at 11. “New studies, also including girls, showed a 12–27% persistence

rate of gender dysphoria into adulthood.” Id.

      The Endocrine Society agrees: “In most children diagnosed with GD/gender

incongruence, it did not persist into adolescence. The percentages differed among

studies, probably dependent on which version of the DSM clinicians used, the pa-

tient’s age, the recruitment criteria, and perhaps cultural factors. However, the large

majority (about 85%) of prepubertal children with a childhood diagnosis did not re-

main GD/gender incongruent in adolescence.” Endocrine Society Guidelines at 3879

(citations omitted).

      Thus, in contrast to Plaintiffs’ extraordinary claim that “the likelihood of [gen-

der dysphoric youth] ‘outgrowing’ their transgender identity in adolescence or adult-

hood is virtually nil,” Br., Doc. 8 at 37, a comprehensive survey of the literature

shows that, “despite coming from a variety of countries, conducted by a variety of

labs, using a variety of methods, all spanning four decades, every study without ex-

ception has come to the identical conclusion: Among prepubescent children who feel

gender dysphoric, the majority cease to want to be the other gender over the course

of puberty—ranging from 61–88% desistance across the large, prospective studies.”

Cantor Decl. ¶ 36.

      The corollary consideration to high rates of desistance is whether a clinician

can accurately predict whose gender dysphoria will persist into adulthood and whose



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will not. The answer is that “[t]here is currently no way to predict who will desist

and who will remain dysphoric.” Laidlaw Decl. at 6 (citation omitted); see Hunter

Decl. ¶ 66 (“[N]o clinician can reliably predict which young person will desist from

their transgender identification vs. who will persist.”); Cantor Decl. ¶ 41 (The “re-

search has not yet identified any reliable procedure for discerning which children

who present with gender dysphoria will persist, as against the majority who will

desist, absent transition and ‘affirmation.’”). Nor are there any “laboratory, imaging,

or other objective tests to diagnose a ‘true transgender’ child.” Laidlaw Decl. at 4

(citation omitted).

      In fact, contrary to Plaintiffs’ claim that the group of gender dysphoric youth

whose dysphoria will persist into adulthood is “clearly identifiable,” Br., Doc. 8 at

37, the Endocrine Society itself acknowledges that, “[w]ith current knowledge, we

cannot predict the psychosexual outcome for any specific child,” Endocrine Society

Guidelines at 3876. As Dr. Cantor explains, while “[m]ultiple research teams have

reported that, on average, groups of persisters are somewhat more gender non-con-

forming than desisters,” the differences are not so stark “as to usefully predict the

course of a particular child.” Cantor Decl. ¶ 41. And while one single research team

(the Olson group that Plaintiffs’ experts rely on) has claimed that they had developed

a model of distinguishing persisters from desisters, in fact the data showed that the




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“model does not distinguish likely from unlikely to transition,” but only “unlikely

from even less likely to transition.” Id. ¶ 42.

          2.     Adult-Onset Gender Dysphoria

      In contrast to childhood-onset gender dysphoria, “[p]eople with adult-onset

gender dysphoria typically attend clinics requesting transition services in mid-adult-

hood, usually in their 30s or 40s. Such individuals are nearly exclusively male.” Id.

¶ 28. It is widely understood that patients presenting with adult-onset gender dys-

phoria are likely to have other psychological ailments, or comorbidities, that clinics

have traditionally sought to diagnose and treat before providing transition treatment.

Clinics thus “performed ‘gate-keeping’ procedures, disqualifying from medical ser-

vices people with mental health or other contraindications.” Id. ¶ 30. Once screened,

adults “who underwent complete transition (i.e., social, plus hormonal, plus surgical

transition)” have self-reported low rates of regret and a generally improved mental

condition. Id. ¶ 29. There are some important caveats, though.

      First, the fact “that rates of mental health issues among [gender dysphoric

adults] are highly elevated both before and after transition,” but “that rates were less

elevated among those who completed transition” could simply be an effect of the

gate-keeping function performed by the gender clinics. Id. ¶ 31. That is, “[t]he side-

effect of removing [patients with mental health issues] from the samples of transi-

tioners is that if a researcher compared the average mental health of individuals



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coming into the clinic with the average mental health of individuals going through

medical transition, then the post-transition group would appear to show a substantial

improvement, even though transition had no effect at all: The removal of people with

poorer mental health created the statistical illusion of improvement among the re-

maining people.” Id. ¶ 32.

      Second, many of the studies of adult transitioners had very high attrition rates,

with “more than 40% of patients becoming ‘lost to follow-up.’” Id. ¶ 31. “The very

high ‘lost to follow-up’ rate leaves open the possibility of considerably more nega-

tive results overall.” Id. Tragically, since suicide rates for people who transition are

generally elevated—as discussed more below—that is in fact likely to be the case.

See id. ¶¶ 80-86.

          3.    Adolescent-Onset Gender Dysphoria

      Although the DSM-5 lumped adult-onset and adolescent-onset gender dys-

phoria together, a distinct “third profile has recently begun to present to clinicians

or socially, characteristically distinct from the previously identified ones.” Id. ¶ 71.

According to clinicians throughout the world, this is a new clinical phenomenon. See

Hunter Decl. ¶¶ 79-88 (collecting examples).

      “Unlike adult-onset gender dysphoria and unlike childhood-onset, this group

is predominately biologically female. This group first presents in adolescence, but

lacks the history of cross-gender behavior in childhood like the childhood-onset



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cases have.” Cantor Decl. ¶ 71. “It is this feature which led to the term Rapid Onset

Gender Dysphoria (ROGD).” Id.; see Littman, Rapid-Onset Gender Dysphoria. As

noted, “[t]he majority of cases appear to occur within clusters of peers and in asso-

ciation with increased social media use and especially among people with autism or

other neurodevelopmental or mental health issues.” Cantor Decl. ¶ 71 (footnotes and

citations omitted).

       It is not well understood, or even well studied at this point, why adolescent

females are presenting in record numbers with self-described gender incongruence.

See generally Kenny Decl. at 3-34.14 But given that cases are appearing in clusters—

which was not the case with traditional gender dysphoria—at least one researcher

has hypothesized a peer-contagion aspect, meaning there could be at play a “process

where an individual and peer mutually influence each other in a way that promotes

emotions and behaviors that can potentially have negative effects on their develop-

ment.” Littman, Rapid-Onset Gender Dysphoria at 4. “Peer contagion has been as-

sociated with depressive symptoms, disordered eating, aggression, bullying, and

drug use.” Id. Thus, while “[i]t is unlikely that friends and the internet can make

people transgender,” “it is plausible that the following can be initiated, magnified,

spread, and maintained via the mechanisms of social and peer contagion: (1) the



14
  See also Anna Hutchinson et al., In Support of Research Into Rapid-Onset Gender Dysphoria,
48 ARCHIVES OF SEXUAL BEHAVIOR 79-80 (2020).

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belief that non-specific symptoms (including the symptoms associated with trauma,

symptoms of psychiatric problems, and symptoms that are part of normal puberty)

should be perceived as gender dysphoria and their presence as proof of being

transgender; (2) the belief that the only path to happiness is transition; and (3) the

belief that anyone who disagrees with the self-assessment of being transgender or

the plan for transition is transphobic, abusive, and should be cut out of one’s life.”

Id. at 33; see also Kenny Decl. at 3-34; Hruz Decl. ¶ 45; Cantor Decl. ¶ 71.

       Regardless of its cause, the phenomenon has been felt across the globe. Hunter

Decl. ¶¶ 66-88.15 Whereas traditionally the ratios of gender dysphoric youth

weighted heavily in favor of biological males, gender clinics are now seeing mostly

gender dysphoric females. “In the UK … the number of adolescent girls seeking sex

transitioning exploded over 4,000% in the last decade.” Hruz Decl. ¶ 72 (emphasis

added). Sweden reported a 1,500% increase in the same time period. Kenny Decl.

at 16-17 (emphasis added). At a Toronto clinic, “the male-to-female sex ratio for the

years 1999-2005 was 2.11:1, whereas for the years 2006-2013 it was 1:1.76.”16 Sim-

ilar or more extreme trends have been observed elsewhere: a clinic in Hamburg,




15
   See also Zucker, Adolescents With Gender Dysphoria, supra, at 1983-84 (surveying analyses of
gender dysphoric youth in the UK, Canada, Netherlands, Germany, Finland, and United States).
16
   Zucker, Adolescents With Gender Dysphoria, supra, at 1984.

                                              23
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Germany, has a male-female ratio of 1:4.29, while one in Helsinki, Finland has a

ratio of 1:6.83.17

          4.     Models of treatment

       Because desistance is probable, though not inevitable, for most gender dys-

phoric youth, “the ‘watchful waiting’ method became the standard approach.” Can-

tor Decl. ¶ 39. “Watchful waiting does not mean do nothing but passively observe

the child”; rather, it includes providing the child—and other family members as ap-

propriate—therapy to resolve other issues which may be present and which “may be

exacerbating psychological stress or dysphoria.” Id. ¶ 50. Counseling may “include

interventions that focus on the co-existing problems of the child and/or the family;

helping parents and the child to bear the uncertainty of the child’s psychosexual out-

come; and providing psycho-education to help the child and the family to make bal-

anced decisions regarding topics such as the child’s coming out, early social transi-

tioning, and/or how to handle peer rejection or social ostracism.”18

       Providing therapy during this time is important to allow space for the child to

explore his or her gender and sexual identities without being locked into a specific

pathway. See Kenny Decl. at 35-55. For example, given that the majority of gender

dysphoric youth will have their dysphoria resolve and thereafter identify as gay or


17
  Id.
18
  Jiska Ristori & Thomas D. Steensma, Gender Dysphoria in Childhood, 28 INT’L REV. OF PSY-
CHIATRY No. 1, 18 (2016).


                                           24
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lesbian, a number of therapists have noted that, “[w]hen a dysphoric same-sex at-

tracted young person in the midst of [his or her] developmental process presents for

mental health care, a clinician overtly affirming the patient’s cross-sex gender iden-

tity would be failing this patient by not addressing the patient’s struggle with same-

sex attraction and/or internalized homophobia.”19 “Several case reports indicate that

the distress of young people with [gender dysphoria] can lessen or resolve with ap-

propriate psychotherapeutic interventions that address the central issues.”20 Dr.

Kenny, a psychotherapist who treats many gender dysphoric youth, provides a num-

ber of such vignettes in her expert report. See Kenny Decl. at 35-55.

       The watchful waiting paradigm thus recognizes that “[t]he balance of poten-

tial risks to potential benefits is very different for groups likely to desist versus

groups unlikely to desist: If a child is very likely to persist, then taking on the risks

of medical transition might be more worthwhile than if that child is very likely to

desist in transgender feelings.” Cantor Decl. ¶ 39. But because there is no diagnostic

tool to determine whose gender dysphoria will persist into adulthood and whose will

not—and because we know that most cases will desist—watchful waiting provides




19
   Robert D’Angelo et al., One Size Does Not Fit All: In Support of Psychotherapy for Gender
Dysphoria, ARCHIVES OF SEXUAL BEHAVIOR No. 50, at 12 (2021), available at
https://perma.cc/9Y2V-EVWX.
20
   Id. (citations omitted).

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treatment to a gender dysphoric minor while waiting to see whether the dysphoria

will persist before experimenting with irreversible and unproven interventions.

          Plaintiffs oppose watchful waiting and instead support a second, more exper-

imental—and far mor riskier—approach called “affirmation therapy” or “gender af-

firming care.” Though Plaintiffs and their experts rely on the WPATH Standards and

the Endocrine Society Guidelines as establishing “gender affirming care” as the ac-

cepted “standard of care,” Br., Doc. 8 at 16 (citing expert reports), in fact these pro-

posed treatment guidelines from various professional societies and interest groups

simply reflect “increasingly divergent” views for “how to approach the management

of gender dysphoria in youth,” Hunter Decl. ¶89. They are not “standards of care”

in the traditional sense.

          “Gender affirming care” “is focused on affirming the child’s (trans)gender

identification” and supports the child “in transitioning to the desired/experienced

gender role.”21 Notably, affirming a minor’s perceived (and likely transitory) gender

identity is not a neutral intervention. That is obviously true of surgical interventions

and—as discussed in greater detail below—cross-sex hormones and puberty block-

ers. But it is also true of social transition. Partial or complete gender social transition

prior to puberty is considered a “unique predictor of persistence,” disrupting the




21
     Ristori & Steensma, supra, at 17.

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natural path of desistance.22 This is particularly true for boys, who traditionally com-

posed the majority of childhood gender dysphoria cases.23 As one prominent clini-

cian concluded: “A gender social transition in prepubertal children is a form of psy-

chosocial treatment that aims to reduce gender dysphoria, but with the likely conse-

quence of subsequent (lifelong) biomedical treatments…. Gender social transition

of prepubertal children will increase dramatically the rate of gender dysphoria per-

sistence when compared to follow-up studies of children with gender dysphoria who

did not receive this type of psychosocial intervention and, oddly enough, might be

characterized as” causing the persistent dysphoria.24

       C.      The Dutch Protocol and Beyond

       Affirmation treatment has in recent years moved beyond mere therapeutic af-

firmation and social transition to include medically transitioning minors using pu-

berty blockers, cross-sex hormones, and surgical interventions. The basis for doing

so “stems from a single Dutch proof of concept study, the outcomes of which were

documented in two studies” published in 2011 and 2014. Levine et al., Reconsider-

ing Informed Consent at 9; see Cantor Decl. ¶¶ 44-51; Hunter Decl. ¶ 69. The first


22
   Devita Singh et al., A Follow-Up Study of Boys with Gender Identity Disorder, 12 FRONTIERS
IN PSYCHIATRY    14 (Mar. 2021), available at https://doi.org/10.3389/fpsyt.2021.632784.
23
   See id. at 14-15; Hruz Decl. ¶ 47; Cantor Decl. ¶ 41.
24
   Kenneth J. Zucker, Debate: Different Strokes for Different Folks, 25 CHILD & ADOLESCENT
MENTAL HEALTH No. 1, 36-37 (May 2019). This observation is consistent with the robust studies
showing desistance in most gender dysphoric youth, most of whom “were receiving professional
psychosocial support across the study period aimed not at affirming cross-gender identification,
but at resolving stressors and issues potentially interfering with desistance.” Cantor Decl. ¶ 37.

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study looked at puberty suppression.25 The second looked at a subset of patients that

completed transition surgery.26 Plaintiffs’ experts rely heavily on this study to pro-

claim that “medical treatment for Gender Dysphoria offers significant psychological

benefit to transgender young people.” Hawkins Decl., Doc. 8-1 at 17; see Rosenthal

Decl., Doc. 8-3 at 18. Understanding the study—what it did, and what it didn’t do—

is thus key to understanding modern treatment options.

           1.     The Dutch Study

       The problem the Dutch study sought to solve was the observation that adult

gender transitions frequently led to disappointing cosmetic outcomes, particularly

for biological males. “In the mid 1990s, a team of Dutch researchers hypothesized

that by carefully selecting a subset of gender dysphoric children who would likely

to be transgender-identified for the rest of their lives, and by medically intervening

before puberty left an irreversible mark on their bodies, the cosmetic outcomes

would be improved—and as a result, mental health outcomes might be improved.”

Levine et al., Reconsidering Informed Consent at 9-10; see Cantor Decl. ¶ 45.

       The protocol the Dutch study followed was to use watchful waiting, without

any social transition, for gender dysphoric youth before age 12; to allow puberty

blockers once puberty began but not before age 12 (the average age of intervention

25
   See Annelou de Vries et al., Puberty Suppression in Adolescents with Gender Identity Disorder:
A Prospective Follow-Up Study, 8 J. of Sexual Medicine No. 8, 2276-83 (Aug. 2011).
26
   See Annelou de Vries et al., Young Adult Psychological Outcome After Puberty Suppression and
Gender Reassignment, 130 PEDIATRICS, No. 4, 696-704 (Oct. 2014).

                                               28
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was 13.6 years old); to allow cross-sex hormones only after age 16 (average age of

intervention: 16.7); and cross-sex surgeries after age 18 (average age of intervention:

20.7 years). Cantor Decl. ¶¶ 46-47. Notably, “[t]he age cut-offs of the Dutch Ap-

proach authors were not based on any research demonstrating their superiority over

other potential age cut-offs,” but instead were “chosen to correspond to ages of con-

sent to medical procedures under Dutch law.” Id. ¶ 48.

      The participants for the study were chosen carefully. “From the 196 adoles-

cents initially referred, 111 were considered eligible to start puberty blockers, and

of this group, only the 70 most mature and mentally stable who proceeded to cross-

sex hormones were included in the study.” Levine et al., Reconsidering Informed

Consent at 12. All were provided extensive mental health assessments and support,

including clinical interviews, formal psychological testing with validated psycho-

metric instruments, and multiple counseling sessions with the child and the child’s

parents. Cantor Decl. ¶ 50. All participants were cross-sex identified, “with no cases

of non-binary identities.” Levine et al., Reconsidering Informed Consent at 12. Of

the 70 children who formed the starting cohort, only 55 completed the study and

participated in an assessment a year after surgery. One participant died from the sur-

gical intervention; four refused further participation; three became ineligible for

treatment due to complications such as obesity and diabetes; and six had surgery

within a year and were ineligible to complete the questionnaire. The outcomes for



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these patients were thus not included in the study’s results. Nor did all of the 55

remaining subjects participate in every aspect of the follow-up assessment. Only 32

provided answers regarding their psychological functioning for all three time periods

studied—at intake, while on puberty suppression, and after gender reassignment sur-

gery. See Hunter Decl. ¶¶ 69-78. 27

       The authors of the study reported that the youth given puberty blockers had

improved on several variables upon follow-up as compared to pre-suppression meas-

urement, including depressive symptoms and general functioning. But “[n]o changes

were detected in feelings of anxiety or anger or in gender dysphoria as a result of

puberty suppression; however, natal females using puberty suppression suffered in-

creased body dissatisfaction both with their secondary sex characteristics and with

nonsexual characteristics.” Cantor Decl. ¶ 54. As for the 55 participants who went

on to have surgery and participated in an assessment a year afterward, the authors

reported two main findings. One, gender dysphoria had resolved for the participants

when they were surveyed a year after surgery.28 Two, a year after surgery the partic-

ipants reported psychological well-being outcomes “comparable to same-age

peers”29—just as they had before transition, Hunter Decl. ¶ 71.



27
   See also de Vries et al., Young Adult Psychological Outcome After Puberty Suppression and
Gender Reassignment, supra, at 696-700; Levine et al., Reconsidering Informed Consent at 12.
28
   de Vries et al., Young Adult Psychological Outcome After Puberty Suppression and Gender
Reassignment, supra, at 701.
29
   Id. at 702.

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      There are several limitations to the Dutch study. First, because there was no

control group—another group of adolescents matching the first group, but not re-

ceiving medical or social support—it is impossible to tell the source of the improve-

ments. That is, while “[t]he inclusion of psychotherapy and support during the

watchful waiting period” was, clinically, “a great benefit to the gender dysphoric

children and their parents,” it poses a scientific complication because it “becomes

difficult to know to what extent the outcomes of these cases might be related to re-

ceiving psychotherapy,” receiving other medical interventions, or simply experienc-

ing “‘spontaneous’ desistance.’” Cantor Decl. ¶ 51. As a result, “any conclusion that

puberty blockers” or the other interventions “improved the mental health of the

treated children is not justified by the data.” Id. ¶ 55. Indeed, the authors of the study

themselves noted that other factors such as psychological support “‘may have con-

tributed to the psychological well-being of these gender dysphoric adolescents,’”

and thus “cautiously conclude[d] that puberty suppression may be a valuable element

in clinical management of adolescent gender dysphoria.’” Id. ¶ 55-56 (emphasis by

Dr. Cantor) (citation omitted).

      Second, given that the study completed about a year-and-a-half after partici-

pants underwent surgery, we do not know the participants’ long-term outcomes. Nor

is there any knowledge of the fate of the 126 patients who were referred to the clinic

but were not selected to participate. One study has reported on “14 adolescents who



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sought gender reassignment in the same clinic, but were disqualified from treatment

due to ‘psychological or environmental problems.’” Levine et al., Reconsidering In-

formed Consent at 12. That “study found that at follow-up 1-7 years after the original

application, 11 of the 14 no longer wished to transition, and 2 others only slightly

regretted not transitioning.” Id. There is also one case study of a female-to-male

patient treated by the Dutch team in the 1990s. At age 33, he reported that he did not

regret transition, but did report “struggling with significant shame related to the ap-

pearance of his genitals and to his inability to sexually function; had problems main-

taining long-term relationships; and experienced depressive symptoms.” Id. “Nota-

bly, these problems had not yet emerged when the same patient was assessed at the

age of 20, when he reported high levels of satisfaction in general.…” Id.

      Third, there are many unanswered questions about the reported reduction in

feelings of gender dysphoria and “the lack of meaningful changes in psychological

function.” Id. It could be, for instance, that there is simply no correlation between

psychological functioning and the use of the Utrecht Gender Dysphoria scale which

the study used. Id. at 10-11. Or it could be that the high psychological functioning

of the screened participants at baseline meant that there was not much room for im-

provement. Id. at 10-11. Or it could be that the use of different “male” and “female”

gender dysphoria scales skewed the results, particularly since biological males were

given the “male” scale up to their surgeries and then were switched over to the



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“female” scale. Id. The study itself cannot answer these questions. See Hunter Decl.

¶¶ 71-76.

      Fourth, there are myriad other unanswered questions. Would the outcomes

have been any different if the participants were not, on average, already in the

healthy psychological range before they began treatment? How did the 13% of the

initial cohort who did not or could not participate in the final survey fare? What were

the participants’ long-term physical health outcomes? Did the puberty blockers,

cross-sex hormones, and surgical procedures cause any physical problems for the

participants down the line (other than to the non-reported participant who died be-

cause of the surgery)? Would the results be similar for youths whose gender-related

distress began in adolescence rather than childhood? And most importantly, how do

gender dysphoric youth fare if they do not receive the experimental gender transition

procedures, and how would that control group compare to the study’s experimental

cohort? Again, the study provided no answers to these questions.

            2.   Beyond the Dutch Protocol

      The Dutch study was important. Its report of partial success “called for addi-

tional research, both to confirm those results and to search for ways to maximize

beneficial results and minimize negative outcomes.” Cantor Decl. ¶ 58. “Instead,”

as Dr. Cantor reports—and as Plaintiffs’ expert reports themselves show by their

unbridled reliance on the study—“many other clinics and clinicians proceeded on



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the basis of the positives only, broadened the range of people beyond those repre-

sented in the research findings, and removed the protections applied in the proce-

dures that led to those outcomes.” Id.

       The Gender Multispecialty Service at Boston Children’s Hospital was the first

transgender clinic for children in the United States.30 It opened in 2007. Since then,

at least 64 other specialty clinics have joined the mix.31 See Kenny Decl. at 28-29

(showing map). And that number does not include general practice physicians or

places like Planned Parenthood that also administer “gender affirming hormone ther-

apy.”32

       The dramatic increase in providers and patients, combined with the political

zeitgeist, has led to a sharp departure from the Dutch protocol. “Many clinics and

individual clinicians have reduced the minimum age for transition to 10 instead of

12.” Cantor Decl. ¶ 58. “While the Dutch Protocol involves interdisciplinary teams

of clinicians, many clinics now rely on a single assessor, in some cases one without

adequate professional training in childhood and adolescent mental health. Compre-

hensive, longitudinal assessments (e.g., one and a half years) became approvals after


30
   Gender Multispeciality Service (GeMS), BOSTON CHILDREN’S HOSP., https://www.childrenshos-
pital.org/programs/gender-multispecialty-service (last visited April 28, 2022).
31
   See Interactive Map: Clinical Care Programs for Gender-Expansive Children and Adolescents,
Hum. Rights Council, https://www.hrc.org/resources/interactive-map-clinical-care-programs-for-
gender-nonconforming-childr (last visited April 28, 2022).
32
        E.g.,    Planned       Parenthood,    Gender         Affirming     Hormone    Therapy,
https://www.plannedparenthood.org/planned-parenthood-mar-monte/patient-resources/gender-af-
firming-care (last visited Apr. 28, 2022).

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one or two assessment sessions.” Id. “Validated, objective measures of youths’ psy-

chological functioning were replaced with clinicians’ subjective (and first) opinions,

often reflecting only the clients’ own self-report. Systematic recordings of outcomes,

so as to allow for detection and correction of clinical deficiencies, were eliminated.”

Id.

        Moreover, whereas “[t]he average age of initiating puberty blockade in the

Dutch study was around 15,” the Endocrine Society now recommends starting pu-

berty blockers when a child enters Tanner stage II of puberty, “which can occur as

early as 8-9 years.”33 That is before a person become fertile, meaning that “[i]f pu-

berty is blocked before reaching [Tanner stage 3 or 4] the sex glands will be locked

in a premature state and incapable of fertility.” Laidlaw Decl. at 9. And “[i]rreversi-

ble cross-sex hormones, initiated in the Dutch study at the average age of nearly 17,

are currently commonly prescribed to 14-year-olds.” Levine et al., Reconsidering

Informed Consent at 13; cf. Poe Decl., Doc. 8-7 ¶ 21 (noting that 15-year-old Allison

started taking estrogen “approximately seven months ago”). “The fact that children

are transitioned before their identity is tested against the biological reality and before

natural resolution of gender dysphoria has had a chance to occur is a major deviation

from the original Dutch protocol.” Levine et al., Reconsidering Informed Consent at


33
  Levine et al., Reconsidering Informed Consent at 13; see Endocrine Society Guidelines at 3870
(“We recommend treating gender-dysphoric/gender-incongruent adolescents who have entered
puberty at Tanner Stage G2/B2 by suppression with gonadotropin-releasing hormone agonists.”).

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13; see Hunter Decl. ¶ 105 (“Procedures viewed as ‘medically necessary’ by some

of the proponents of ‘gender-affirmative care’ for minors now include the suppres-

sion of puberty indefinitely in order to present as an ambiguous sex, mastectomy on

youth as young as 13 years of age, and ‘non-binary’ surgeries that preserve a femi-

nine appearance while changing the placement of the nipples to be more reminiscent

of a male chest, should the minor’s identity reside somewhere along the ‘male to

female spectrum.’” (footnotes omitted)).

         Even assuming that the Dutch studies could be replicated (which, as explained

below, they haven’t been), these departures cause significant harm. As the founding

psychologist at the Boston clinic and another WPATH leader recently wrote in the

Washington Post: “A flood of referrals to mental health providers and gender medi-

cal clinics, combined with a political climate that sees the treatment of each individ-

ual patient as a litmus test of social tolerance, is spurring many providers into sloppy,

dangerous care.”34 They continued:

                Most [gender clinics] have a single social worker who completes
         a brief “intake,” relying instead on other mental health clinicians in the
         community to assess patients and offer their conclusions. Frequently,
         those community clinicians, just like the parents, assume that a more
         comprehensive assessment will occur in the gender specialty clinic. But
         in our experience, and based on what our colleagues share, this is rarely
         the case. Most clinics appear to assume that a referral means a mental




34
     Edwards-Leeper & Anderson, The Mental Health Establishment is Failing Trans Kids, supra.

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           health provider in the community has diagnosed gender dysphoria and
           thereby given the green light for medical intervention.35

           Such has certainly been the experience of many parents who turned to gender

clinics for help caring for their gender dysphoric children. They found that in-depth

psychological help was not offered; that gender clinicians ignored psychological

comorbidities and urged transition as a cure-all; and that the specter of suicide was

often raised in front of the child to coerce treatment:

               “We saw a psychologist at the gender clinic who after one visit
                with M. and filling out some questionnaires said that she would
                recommend that M. see the endocrinologist to be prescribed hor-
                mones.” Martha S. Decl. ¶ 8 (mother of son with diagnosed psy-
                chiatric comorbidities who started to identify as transgender as
                an adolescent).

               “During a family therapy session, the therapist ignored J.’s other
                comorbidities [OCD, anxiety, depression, and ADHD] and fo-
                cused solely on gender dysphoria.… With J. present, the thera-
                pist told me and my wife that kids are more likely to attempt su-
                icide and run away from home if they are not affirmed in their
                chosen identity.” John Roe Decl. ¶¶ 10, 12 (father of son who
                suddenly identified as transgender in 8th grade and was facili-
                tated in socially transitioning by his school without the parents’
                knowledge).

               “Shortly after B announced that she identified as a boy [at age
                11], I acted on the advice of our family physician and took B to
                a gender clinic. I naively believed that I would have an oppor-
                tunity to seek a psychological evaluation and psychological
                counseling for B. and discuss her sudden identification as a boy
                prior to any interventions aimed at ‘affirming’ her choice. How-
                ever, when my daughter and I arrived at the clinic the staff psy-
                chologist did an evaluation, but said she did not have time to see

35
     Id.

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                B. regularly to give more in depth psychological help.” Barbara
                F. Decl. ¶¶ 6-7.

             “At age 13, S. suddenly declared, in a manner which sounded
              scripted, that she believed she was a boy and wanted to use a
              male name. When I spoke to her caregivers, they focused on S.
              wanting to go by a male name and pronouns. I asked them to
              address S.’s self-harm, anxiety and bulimia, but they refused….
              During one visit, with S present, the caregivers stated that ‘trans’
              people are more likely to commit suicide if not affirmed.… Fol-
              lowing the psychiatric treatment, S. returned to seeing psychia-
              trists and counselors that she had previously been seeing. Her
              medication was adjusted, she stopped self-harming and her tics
              were better controlled.” Kristine W. Decl. ¶¶ 5-7 (mother of
              daughter with OCD, Tourette’s Syndrome, and bulimia, who
              identified as transgender after spending “copious amounts of
              time online during the pandemic lockdown”).

        Ironically, as the political and medical establishment in America has cher-

rypicked what they wanted from the Dutch study and then swiftly moved beyond its

protocol,36 the Dutch researchers themselves have urged caution. As Dr. Cantor re-

ports, “Dr. Thomas Steensma, central researcher of the Dutch clinic, has decried

other clinics for ‘blindly adopting our research’ despite the indication that those re-

sults may not actually apply: ‘We don’t know whether studies we have done in the

past are still applicable to today. Many more children are registering, and also a

different type.’” Cantor Decl. ¶ 59 (citation omitted).




36
  Plaintiffs’ expert Dr. Hawkins, for instance, relies solely on the 2014 Dutch study for her claim
that “[s]cientific literature and clinical experience consistently find that, like social transition, med-
ical treatment for Gender Dysphoria offers significant psychological benefit to transgender young
people.” See Hawkins Decl., Doc. 8-1 at 17.

                                                   38
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       D.        Affirmation Treatment’s Lack of Proven Benefits and Its Risks of
                 Long-term Harms

       In the decade-or-so since the Dutch studies were published, some research has

been done to try to answer some of the questions they left unanswered. But not nearly

as much as one might think. In fact, “[t]he latter phases of the Dutch protocol (fol-

lowing puberty blockers with cross-sex hormones and surgery) have never been at-

tempted to be replicated.” Hunter Decl. ¶ 70. And recent attempts to replicate the

moderately positive results of the first study on puberty blockers have failed. Id.37

Given Plaintiffs’ mantra that these treatments are safe, effective, and necessary, it is

worth examining them in a bit of detail.

            1.     Puberty Blockers

       Puberty blockers—gonadotrophin releasing hormone (GnRH) agonists—

work by causing the pituitary gland to lower the release of the luteinizing hormone

(LH) and follicle stimulating hormone (FSH) that are responsible for sex hormone

production and fertility. Laidlaw Decl. at 12. “The result is a blockage of the signal-

ing of the pituitary to the testicles or ovaries and therefore underproduction of the

sex hormones.” Id. At 12-13.

       GnRH agonists are used to treat a number of conditions. Lupron, for instance,

was developed to treat prostate cancer by lowering testosterone in adult males. The

37
  E.g., Polly Carmichael et al., Short-term Outcomes of Pubertal Suppression in a Selected Cohort
of 12 to 15 Year Old Young People with Persistent Gender Dysphoria in the UK, 16 PLos ONE
No. 2, 18-19 (Feb. 2021), available at https://doi.org/10.1371/journal.pone.0243894.

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FDA has approved this use of Lupron. Id. at 13. “Another labeled use of GnRH

agonist medication is for the treatment of central precocious puberty,” which is when

“pituitary signaling is activated at an abnormally young age, say age four, to begin

pubertal development.” Id. A GnRH agonist may thus be used to halt puberty until

a normal time for pubertal development; the medication is then stopped and puberty

is allowed to proceed. “The end result is to restore normal sex gland function and

timing of puberty.” Id.

      The FDA has not approved the use of puberty blockers to treat gender dys-

phoria. But when they are used for this treatment, it is not like treating a child with

precocious puberty. Rather, the intervention is used to impose a diseased state (hy-

pogonadotropic hypogonadism) and disrupt the healthy functioning of the pituitary

gland and sex organs. Id. at 13. And whereas treating precocious puberty with pu-

berty blockers delays puberty until a natural time, using them to treat gender dys-

phoria will permanently disrupt natural puberty if cross-sex hormones are then used

(which is almost always the case). Laidlaw Decl. at 13-15; see Van Meter Decl. at

11 (noting that comparing the use of puberty blockers to treat precocious puberty vs.

gender dysphoria is “comparing apples to oranges”); contra U.S. Br., Doc. 62-1 at

15 (asserting that the treatments here are “not experimental” because “medications

… have been used for decades to treat … ‘precocious puberty’”).




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        The use of puberty blockers to treat gender dysphoria has significant, lasting

effects. Here are four. First, “[t]he child will continue their chronological age pro-

gression toward adulthood and yet remain with undeveloped genitalia. This will lead

to sexual dysfunction including potential erectile dysfunction and inability to ejacu-

late and orgasm for the male. For the female with undeveloped genitalia potential

sexual dysfunction may include painful intercourse and impairment of orgasm.”

Laidlaw Decl. at 14.

        Second, if puberty blockers are used at Tanner Stage 2 of puberty, as the En-

docrine Society suggests, then “the gonads will remain in an immature, undeveloped

state,” and permanent sterility will likely result. Id. at 14; see also Hruz Decl. ¶¶ 61-

63.

        Third, puberty is important for brain development, and going through puberty

with one’s peers is important for psychosocial development. Laidlaw Decl. at 15.

The long-term effects of not going through natural puberty are not well understood,

but could be—and likely are—harmful. Id.; Hruz Decl. ¶¶ 61-67.

        Fourth, “[c]hildren placed on puberty blockers have slower rates of growth in

height, and an elevated risk of low bone-mineral density.” Hruz Decl. ¶ 67. This

could lead to future risk of osteoporosis and the potential for debilitating spine and

hip fractures. Laidlaw Decl. at 14-15; Van Meter Decl. at 11-12. The Endocrine So-

ciety itself warns that pubertal suppression “may include adverse effects on bone



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mineralization …, compromised fertility if the person subsequently is treated with

sex hormones, and unknown effects on brain development.” Endocrine Society

Guidelines at 3882. Then the Guidelines note: “Few data are available on the effect

of GnRH analogs on [bone mineral density] in adolescents with GD/gender incon-

gruence.” Id.; see also Van Meter Decl. at 12.

      In 2020, Britain’s National Institute for Health and Care Excellence (NICE)

conducted an extensive literature review of studies concerning the use of puberty

blockers to treat gender dysphoria in children and adolescents. See NICE Puberty

Blocker Evidence Review. The researchers found that “[a] key limitation to

identifying the effectiveness and safety of GnRH analogues for children and

adolescents with gender dysphoria is the lack of reliable comparative studies.” Id. at

12. The review concluded that “the studies that reported impact on the critical

outcomes of gender dysphoria and mental health (depression, anger and anxiety),

and the important outcomes of body image and psychosocial impact (global and

psychosocial functioning), in children and adolescents with gender dysphoria are of

very low certainty using modified GRADE … [and] suggest little change with

GnRH analogues from baseline to follow-up.” Id.

         2.     Cross-Sex Hormones

      Using cross-sex hormones to treat gender dysphoria means to provide unnat-

ural (or supraphysiologic) levels of testosterone to females—“anywhere from 6 to



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100 times higher than native female testosterone levels”—and unnatural levels of

estrogen to males—“vary[ing] from two to eight or more times higher than normal

adult male levels.” Laidlaw Decl. at 17-19. Because the use of cross-sex hormones

to “treat” gender dysphoria in children is so new, “long-term outcomes are un-

known.” Hruz Decl. ¶ 62.

      The amount of testosterone given to females raises the level of testosterone in

the body to “the same order as dangerous endocrine tumors.” Laidlaw Decl. at 17.

The intervention is associated with multiple health risks. Id. at 17-18. For instance,

“[s]tudies of transgender males taking testosterone have shown up to a nearly 5-fold

increased risk of myocardial infarction relative to females not receiving testos-

terone.” Id. at 17. Other likely effects include irreversible changes to the vocal cords,

polycystic ovaries, atrophy of the lining of the uterus, increase in fibrous breast tis-

sue, decrease in normal glandular tissue, and an increased risk of ovarian and breast

cancers. Id. at 17-18. Then there are the side effects of the drugs themselves that

occur regardless of sex—mood disorders, psychosis, and psychiatric disorders, to

name but a few. Id.

      As for biological males taking supraphysiologic doses of estrogen, effects in-

clude gynecomastia (the abnormal growth of breast tissue that is typically corrected

by medication or surgery); an increased risk of myocardial infarction, cardiovascular

disease, and thromboembolism (a blood clot that develops in a deep vein); and an



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increased risk (to the tune of 46 times higher) of developing breast cancer. Id. at 18-

19.

        As it did for puberty blockers, the UK’s NICE evidence review for cross-sex

hormones concluded that the state of the science regarding cross-sex hormones is

still largely undeveloped. It thus urged significant caution: “Any potential benefits

of gender-affirming hormones must be weighed against the largely unknown long-

term safety profile of these treatments in children and adolescents with gender

dysphoria.” NICE Cross-Sex Hormone Evidence Review at 14.

           3.    Surgical Interventions

        The use of puberty blockers and cross-sex hormones to treat pediatric gender

dysphoria sets children on a pathway that often leads to surgical interventions. There

are a variety of “gender affirming” surgeries, including mastectomies, metoidio-

plasty, phalloplasty, and vaginoplasty. Laidlaw Decl. at 19-21. Mastectomies are the

surgical removal of the breasts; the procedure “cannot be reversed.” Id. at 20. “The

female will never regain healthy breasts capable of producing milk to feed a child.”

Id. “Other types of surgery for females include those of the genitalia and reproduc-

tive tract,” many of which cause permanent sterilization. Id. at 20-21.

        “Gender affirming” treatments for male “include removal of the testicles

alone to permanently lower testosterone levels.” Id. at 21. “Further surgeries may be

done in an attempt to create a pseudo-vagina which is called vaginoplasty. In this



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procedure, the penis is surgically opened and the erectile tissue is removed. The skin

is then closed and inverted into a newly created cavity in order to simulate a vagina.”

Id. As Dr. Laidlaw notes, “[i]t is important to understand that the use of puberty

blockers for the male makes the vaginoplasty procedure even more complicated”

because the “surgeon has a limited length of penile skin to work with.” Id. “In these

cases a technique is employed whereby a segment of the large bowel (colon) is sur-

gically excised … then connected to the short, inverted penile skin.” Id.

       As mentioned, the primary study examining the effects of surgical interven-

tions to treat gender dysphoria in minors was the Dutch study, and its period of fol-

low-up was less than 2 years post-surgery. The study has never been replicated.

Hunter Decl. ¶ 70.

       In 2016, the Centers for Medicare & Medicaid Services released its national

coverage analysis for gender dysphoria and gender reassignment surgery.38 The anal-

ysis looked at whether the data supported using surgical interventions to treat gender

dysphoria in the Medicare population. The conclusion? “[T]here is not enough high

quality evidence to determine whether gender reassignment surgery improves health

outcomes for Medicare beneficiaries with gender dysphoria and whether patients




38
  See Tamara Syrek Jensen, et al., Decision Memo for Gender Dysphoria and Gender Reassign-
ment Surgery (CAG-00446N) (Aug. 30, 2016), available at https://perma.cc/9CQN-938N.

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most likely to benefit from these types of surgical intervention can be identified pro-

spectively.”39

           To be sure, the CMS analysis determined only whether surgical interventions

were medically necessary for the Medicare population, not children. But the lessons

are obvious: There is no reason to think that the Constitution requires Alabama to

allow experimental transitional surgeries on children when the CMS found the evi-

dence did not support performing the surgeries on adults.

              4.    Effect on Suicide Rates

           Throughout their briefing, Plaintiffs focus on the specter of suicide to claim

that puberty blockers and cross-sex hormones are necessary medical interventions.

See Br., Doc. 8 at 18, 20, 34, 36. The truth is that, while suicide rates are unfortu-

nately generally elevated for persons suffering from gender dysphoria, transition in-

terventions have not been shown to reduce the rate of suicide.

           First, “[t]he notion that trans-identified youth are at alarmingly high risk of

suicide usually stems from biased online samples that rely on self-report, and fre-

quently conflates suicidal thoughts and non-suicidal self-harm with serious suicide

attempts and completed suicides.” Levine et al., Reconsidering Informed Consent at

8. While both suicide and suicidal ideation are cause for concern and warrant treat-

ment, they are different phenomena: suicide “refers to completed suicides and the


39
     Id.

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sincere intent to die,” while suicidality “refers to parasuicidal behaviors, including

suicidal ideation, threats, and gestures” and typically “represent cries for help rather

than an intent to die.” Cantor Decl. ¶ 81. Both are “inextricably linked” to mental

illness. Id. ¶ 82. For instance, “suicidality is a well-documented symptom of Border-

line Personality Disorder (as are chronic identity issues), and personality disorders

are highly elevated among transgender populations, especially adolescent-onset.

Thus, the elevations of suicidality among gender dysphoric adolescents may not be

a result of anything related to transition (or lack of transition), but to the overlap with

mental illness of which suicidality is a substantial part.” Id.

       Second, to the extent a gender dysphoric young person is suffering from sui-

cidal ideation, the “gender affirming” treatment protocols agree that this mental

health issue should be treated and resolved before the person pursues transition. In-

deed, “[a] primary criterion for readiness for transition used by the clinics demon-

strating successful transition is the absence or resolution of other mental health con-

cerns, such as suicidality.” Id. ¶ 83.

       Third, while suicide rates are tragically elevated for people suffering from

gender dysphoria (as they are for people suffering from other mental illnesses),

“[u]ntil recently, little was known about the actual rate of suicide of trans-identified

youth.” Levine et al., Reconsidering Informed Consent at 8. “However, a recent anal-

ysis of data from the biggest pediatric gender clinic in the world, the UK’s Tavistock,



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found the rate of completed youth suicides to be 0.03% over a 10-year period, which

translates into the annual rate of 13 per 100,000. While this rate is significantly ele-

vated compared to the general population of teens, it is far from the epidemic of trans

suicides portrayed by the media”—or by Plaintiffs. Id. (citation omitted).

       Fourth, it is not the case that data show that transitioning reduces suicide rates

over the long-term, or even over the short-term. Data from the Tavistock clinic, for

instance, “did not show a statistically significant different between completed sui-

cides in the ‘waitlist’ vs. the ‘treated’ groups.” Id. at 9. And suicide rates remain

unfortunately “elevated even after complete transition, as shown by a comprehensive

review of 19 studies of suicidality in gender dysphoria.” Cantor Decl. ¶ 84; see also

WPATH Standards at 108.

       The most comprehensive review available was published in 2020 in the Amer-

ican Journal of Psychiatry by Richard Bränström and John E. Pachankis.40 It initially

reported long-term improvement in mental health that the authors attributed to gen-

der-transition procedures. But after the report was published, over a dozen scientists

wrote to the Journal to identify serious methodological problems with the study.

Among other things, they pointed out that the data actually revealed that “the risk of

being hospitalized for a suicide attempt was 2.4 times higher if [patients] had


40
  Richard Bränström and John E. Pachankis, Reduction in Mental Health Treatment Utilization
Among Transgender Individuals After Gender-affirming Surgeries: A Total Population Study, 177
AM. J. OF PSYCHIATRY 727 (2020).

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undergone gender-corrective surgery than if they had not.”41 This observation,

though clinically concerning, turned out not to be statistically significant. But an-

other one was: As the authors of the original review noted in a correction they issued,

“individuals diagnosed with gender incongruence who had received gender-affirm-

ing surgery were more likely to be treated for anxiety disorders compared with indi-

viduals diagnosed with gender incongruence who had not received gender-affirming

surgery.”42 In the end, the Journal published a correction explaining that the study

“demonstrated no advantage of surgery in relation to subsequent mood or anxiety

disorder-related health care visits or prescriptions or hospitalizations following sui-

cide attempts.”43 See Cantor Decl. ¶ 52; Van Meter Decl. at 12-13; Hruz Decl. ¶ 12.

       E.     The Problem of Informed Consent

       So far, it is clear that: (1) the majority of cases of gender dysphoria in youth

will resolve naturally by adulthood, (2) it is impossible to tell on a case-by-case basis

whose dysphoria will persist and whose will not, (3) even if one could identify the

small minority of persisters, the state of the science supporting the use of puberty

blockers and cross-sex hormones is undeveloped and uncertain at best, (4) the use


41
   Anes Wold, Gender-Corrective Surgery Promoting Mental Health in Persons With Gender Dys-
phoria Not Supported by Data Presented in Article, 177 AM. J. PSYCHIATRY 768, 768 (Aug. 2020);
see also Richard Bränström and John E. Pachankis, Toward Rigorous Methodologies for Strength-
ening Causal Inference in the Association Between Gender-Affirming Care and Transgender In-
dividuals’ Mental Health: Response to Letters, 177 AM. J. PSYCH., No. 8, 772 (Aug. 2020), table
1 (emphasis added).
42
   Bränström & Pachankis, Toward Rigorous Methodologies, supra, at 768 (emphasis added).
43
   Correction to Bränström & Pachankis, 177 AM. J. PSYCH, No. 8, 734 (2020).

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of puberty blockers and cross-sex hormones come with significant risks of long-term

harms, and (5) the hormones and surgical interventions do not lead to decreased su-

icide rates or improved psychological outcomes. Yet Plaintiffs and their experts as-

sure the Court that healthcare providers “undertake a rigorous informed consent pro-

cess.” Br., Doc. 8 at 13.

      It is difficult to fathom how this could possibly be true—how a child, or her

parents, could ever provide informed consent to set forth on such an experimental

pathway. There is very little reason to think that a child in early adolescence can

properly weigh these lifetime risks, particularly when the popular narrative and

many doctors so distort what the evidence shows regarding the possible benefits of

puberty blockers, cross-sex hormones, and surgical interventions. E.g., Crowley

Decl. at 4-5 (parent of gender dysphoric child with psychological comorbidities re-

counting the lack of adequate information given to her by the gender clinic doctors

who prescribed puberty blockers and cross-sex hormones); Frietas Decl. ¶ 6 (“I went

to a gender therapist who diagnosed me with gender dysphoria and told me that tran-

sition was the only treatment that would alleviate my discomfort and anxiety.… I

believe that healthcare providers did not ask me about mental health issues because

they believed that those issues were caused by gender dysphoria and that transition-

ing would fix the problem. In fact, the opposite was true.”).




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      As the Endocrine Society Guidelines recognize, there are not even “formally

evaluated decision aids available to assist in the discussion and decision regarding

the future fertility of adolescents or adults beginning gender-affirming treatment.”

Endocrine Society Guidelines at 3879. How is an 11-year-old girl feeling uncom-

fortable in her body to weigh the probabilities that her gender-based distress will

resolve without hormonal or surgical intervention? How is she to know whether she

will want to have children in twenty years? Whether she will want to breastfeed

them? Whether she will come to regret her deepened voice and irreversible mastec-

tomy? What it would have been like to develop and go through puberty with her

peers? Whether it would all be worth it? These are tough questions for anyone. They

are unfair questions to ask a child. Hunter Decl. ¶¶ 114-19; Laidlaw Decl. at 22-23.

      It is little wonder, then, that at least some children who are asked to answer

these questions feel betrayed by the adults they turned to for help. Because the evi-

dence in this entire field is so poor, no one really knows how many patients come to

regret their transition, but the number is not insignificant. “A recent study from a

UK adult gender clinic showed that over 10% of young people treated with gender-

affirmative interventions detransitioned within 16 months of staring treatment,”

while “[a]nother 22% of patients disengaged from the clinic without completing

their treatment plans.” Hunter Decl. ¶ 61. “Another clinic population study found

that over 12% of those who had started hormonal treatments either detransitioned or



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documented regret, while 20% stopped the treatments for a wider range of reasons.”

Id. ¶ 62.

       There are now many online support groups for people who feel betrayed by

the medical establishment and the predominant narrative that transitioning is medi-

cally required to treat gender dysphoria.44 As more and more young people are learn-

ing, that was not the case for them.

       Corinna Cohn, for instance, suffered from gender dysphoria as a boy. At age

18, after seeing a psychologist, Cohn started cross-sex hormones and underwent

complete sex reassignment surgery at 19. The surgery was successful, but ultimately

unsatisfying:

                After healing from my sex change surgery I thought that my tran-
       sition journey was over. I discontinued therapy, and I began focusing
       on my career. I found it was easier to socialize and make new friends
       with my new confidence and feelings of being my authentic self. As I
       reached my late twenties, my friends began pairing off and starting fam-
       ilies. I discovered that it was very difficult to find a partner who wanted
       to do the same with me.

             Although I was in denial for several years, I eventually realized
       that my depression and anxiety related to my gender identity had not
       resolved. It was not unusual for me to spend entire weekends in my
       room crying and entertaining thoughts of suicide.…

              I wish I could persuade other boys who wish to become women
       that the changes they seek are only superficial. Hormones and surgery
       are unable to reveal an authentic self, and anyone who promises other-
       wise is, in my opinion, deliberately misleading young people to follow

44
  See Littman Survey at 3353-54 (documenting “massive change” over last eight years in aware-
ness about detransitioners).

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      a one-way track to a lifetime of medicalization. Although some people
      may choose to transition, and may even enjoy a higher quality of life,
      there is no reason why this irreversible decision needs to be made in
      adolescence. Adults who advocate for adolescent transition do so with-
      out understanding what tradeoffs early transition entails, which in-
      cludes the loss of fertility, the likelihood of sexual dysfunction, and the
      likelihood of surgical complication inflicted at an early age from elec-
      tive procedures. Unfortunately, I do understand some of these tradeoffs.

Cohn Decl. at 2-3.

      Other have similar stories. Here’s Sydney Wright’s—an Alabamian who was

prescribed testosterone for her gender dysphoria when she was 18:

            My frame of mind at the time, at age 18, was that I believed I
      might have been “born in the wrong body” and needed to correct it. But
      I was also unsure, confused, and in need of guidance.…

             [After] I stopped taking testosterone and resumed living as a fe-
      male[,] [m]y physical and mental health have improved, but I continue
      to suffer adverse effects from the treatments, including a deepened
      voice and digestive issues that I’ve been told will be permanent. I also
      suffer extreme regret for the choices I made as a teenager. I trusted the
      doctors’ advice. They were the experts, who was I as a confused and
      scared 18 year old not to listen to them?

             But telling an 18-year-old girl that mega-doses of testosterone
      would fix her mental health problems? They didn’t even talk to me
      about other treatment options! No doctor or therapist suggested I give
      myself time to grow up, or suggested counseling for what was causing
      my feelings – no doctor or therapist told me most young people outgrow
      their feelings of wanting to be the opposite sex. The only advice I got
      was to take mega-doses of testosterone.

Wright Decl. ¶¶ 11, 20-22.

      And KathyGrace Duncan’s, who transitioned at age 19 and detransitioned 11

years later:


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              After 11 years passing as a man and living what I thought was a
      relatively “happy” and stable live (which included having a number of
      girlfriends), I realized that I was living a lie built upon years of re-
      pressed pain and abuse. Hormones and surgery had not helped me re-
      solved underlying issues of rejection, abuse, and sexual assault. I came
      to understand that my desire to live as a man was a symptom of deeper
      unmet needs.

Duncan Decl. ¶ 9.

      And Carol Frietas’s, who transitioned as an adult and later detransitioned after

finally getting the mental health care she needed from the beginning:

             I went to Planned Parenthood for testosterone and was given it
      right away, with no information. I was not given any information on
      uterine atrophy, vaginal atrophy, or other effects of testosterone and the
      staff did not talk about any of my emotional or mental health issues.
      Four months after starting testosterone, I went to a plastic surgeon for
      a mastectomy. I needed a letter from a therapist and received one from
      the therapist who had affirmed me and originally recommended transi-
      tion. As was true with testosterone, I was not given any information
      about the procedure. Instead I had a consultation with the surgeon, who
      said “this is what we are going to do,” drew on my chest, took pictures
      and asked me what I wanted out of the surgery. He said “we’ll create a
      masculine looking chest, you’ll look great.” …

             [After several months,] I went to a psychiatrist to specifically
      deal with the depression and I was provided with an anti-depressant that
      really worked. I felt mentally stable and able to address the trauma that
      led to my transition. Within a month of starting the anti-depressant, I
      realized that I had not needed to transition. It was the biggest mistake I
      had ever made. I did not detransition for a year because I couldn’t be-
      lieve that it was so easy, i.e., that anti-depressants alleviated my depres-
      sion and enabled me think clearly and reason better. This allowed me
      [to] address my internalized homophobia and childhood abuse through
      therapeutic means.

Frietas Decl. ¶¶ 9-10, 12-13.



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       The explosion of detransitioners—like the explosion of gender incongruent

youth—is a relatively recent phenomenon. But there have been two recent surveys

that tell us a bit about them. Hunter Decl. ¶¶ 60, 117, 137. In one, the author surveyed

237 participants who had detransitioned back to their natal gender. Vandenbussche,

supra, at 4.45 Seventy percent of the participants reported that they detransitioned

because they “realized that [their] gender dysphoria was related to other issues”; half

reported that “[t]ransition did not help with [their] dysphoria”; and over a third re-

ported that their “[d]yspohria resolved itself over time.” Id. at 6. Only 13% reported

that a lack of support from social surroundings contributed to their detransition. Id.

Most participants reported needing help with “learning to cope with feelings of re-

gret.” Id. at 12.

       In the second, the author surveyed 100 individuals who “experienced gender

dysphoria, chose to undergo medical and/or surgical transition and then detransi-

tioned by discontinuing medications, having surgery to reverse the effects of transi-

tion, or both.” Littman Survey at 3354. The average age the participants first expe-

rienced gender dysphoria was age 11. Id. at 3358. The reasons the participants gave

for wanting to transition included: “wanting to be perceived as the target gender

(77.0%); believing that transitioning was their only option to feel better (71.0%); the


45
  The survey included participants who had transitioned both socially and medically (65%) and
those who had transitioned only socially (31%). Most of the participants were females in their
twenties.

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sensation that their body felt wrong the way it was (71.0%); and not wanting to be

associated with their natal sex (70.0%). Most participants believed that transitioning

would eliminate (65.0%) or decrease (63.0%) their gender dysphoria and that with

transitioning they would become their true selves (64.0%).” Id. at 3358. Participants

were on average 21.9 years old when they started transitioning, and the average time

the participants remained transitioned was 3.9 years. Id. at 3360.

      “The most frequently endorsed reason for detransitioning was that the re-

spondent’s personal definition of male and female changed and they became com-

fortable identifying with their natal sex (60.0%). Other commonly endorsed reasons

were concerns about potential medical complications (49.0%); transition did not im-

prove their mental health (42.0%); dissatisfaction with the physical results of transi-

tion (40.0%); and discovering that something specific like trauma or a mental health

condition caused their gender dysphoria (38.0%).” Id. at 3361. “The majority of re-

spondents were dissatisfied with their decision to transition (69.7%) and satisfied

with their decision to detransition (84.7%).” Id. at 3363. Notably—though under-

standably—“[o]nly 24.0% of participants had informed the doctor or clinic that fa-

cilitated their transitions that they had detransitioned.” Id. at 3363.

      In 2020, courts in the U.K. examined whether a minor could ever consent to

taking puberty blockers for gender dysphoria. See Bell v. Tavistock & Portman Nat’l

Health Serv. Found. Tr. [2020] EWHC (Admin) 3274. In concluding that it is



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“highly unlikely that a child aged 13 or under would be competent to give consent

to the administration of puberty blockers,” and “doubtful that a child aged 14 or 15

could understand and weight the long-term risks and consequences of the admin-

istration of puberty blockers,” the court made a number of pertinent findings:

          “[T]he use of puberty blockers is not itself a neutral process by
           which time stands still for the child on PBs, whether physically
           or psychologically. PBs prevent the child going through puberty
           in the normal biological process.… Indeed, the statistical corre-
           lation between the use of puberty blockers and cross-sex hor-
           mones supports the case that it is appropriate to view PBs as a
           stepping stone to cross-sex hormones.” ¶ 137.

          “Although a child may understand the concept of the loss of fer-
           tility for example, this is not the same as understanding how this
           will affect their adult life. A child’s attitude to having biological
           children and their understanding of what this really means, is
           likely to change between childhood and adulthood.” ¶ 139.

          “The difficulty of achieving informed consent in these circum-
           stances is further exacerbated by the lack of evidence as to the
           efficacy of PBs in treating GD and the long-term outcomes of
           taking it.… [T]he combination here of lifelong and life changing
           treatment being given to children, with very limited knowledge
           of the degree to which it will or will not benefit them, is one that
           gives significant grounds for concern.” ¶ 143.

          “[T]he clinical interventions involve significant, long-term and,
           in part, potentially irreversible long-term physical, and psycho-
           logical consequences for young persons. The treatment involved
           is truly life changing, going as it does to the very heart of an in-
           dividual’s identity. Secondly, at present, it is right to call the
           treatment experimental or innovative in the sense that there are
           currently limIted studies/evidence of the efficacy or long-term
           effects of the treatment.” ¶ 148.




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       The court concluded: “We do not think that the answer to this case is simply

to give the child more, and more detailed, information. The issue in our view is that

in many cases, however much information the child is given as to long-term conse-

quences, s/he will not be able to weigh up the implications of the treatment to a

sufficient degree. There is no age appropriate way to explain to many of these chil-

dren what losing their fertility or full sexual function may mean to them in later

years.” ¶ 144.46 Indeed there isn’t.

       F.        An International Reckoning

       As organizations like the American Medical Association and the American

Academy of Pediatrics continue to follow the popular zeitgeist when it comes to

unproven gender-affirming interventions, other countries are responding to the sci-

ence and urging caution. Hruz Decl. ¶ 12; Cantor Decl. ¶¶ 128-35.

            1.     Sweden

       In February 2022, following an extensive literature review, Sweden’s Na-

tional Board of Health and Welfare issued a national policy severely restricting the



46
  On appeal, the Court of Appeal ultimately set this decision aside, concluding that the lower court
had erred procedurally by weighing the evidence rather than accepting only the evidence presented
by the clinic. See Bell v. Tavistock & Portman NHS Found. Tr. [2021] EWCA (Civ) 1363, avail-
able     at     https://www.judiciary.uk/wp-content/uploads/2021/09/Bell-v-Tavistock-judgment-
170921.pdf. But even the higher court agreed that “there are strongly held contrary views” to the
WPATH and Endocrine Society’s guidelines. Id. ¶ 75. It also acknowledged that whether to give
children puberty blockers to treat gender dysphoria “raises not only clinical medical issues but also
moral and ethical issues, all of which are the subject of intense professional and public debate,”
and that “[m]edical opinion is far from unanimous about the wisdom of embarking on treatment
before adulthood.” Id. ¶ 3.

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administration of puberty blockers and cross-sex hormones to treat gender dysphoric

youth. See Sweden Policy Statement. The Board concluded: “For adolescents with

gender incongruence, the [Board] deems that the risk of puberty suppressing treat-

ment with GnRH-analogues and gender-affirming hormonal treatment currently out-

weigh the possible benefits, and that the treatments should be offered only in excep-

tional cases. This judgment is based mainly on three factors: the continued lack of

reliable scientific evidence concerning the efficacy and the safety of both treatments,

the knowledge that detransition occurs among young adults, and the uncertainty that

follows from the yet unexplained increase in the number of care seekers, an increase

particularly large among adolescents registered as females at birth.” Id. at 3. Going

forward, puberty blockers and cross-sex hormones may be used to treat gender dys-

phoric youth in Sweden only in strictly controlled research settings or in very “ex-

ceptional cases.” Id. at 4; see Cantor Decl. ¶¶ 132-33.

          2.    United Kingdom

      Some of the events in the UK have already been mentioned—the NICE liter-

ature reviews and the whistleblower suit coming from the Tavistock gender clinic.

The literature reviews are being used as part of a systematic evaluation of England’s

pediatric gender identity services led by Dr. Hillary Cass. In February of this year,




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Dr. Cass and her team released an interim report.47 The report noted that the “affirm-

ative care” model is associated with the United States, but had been embraced by

many clinicians at the Tavistock clinic.48 The specialist gender-related service there

“ha[d] not been subjected to some of the usual control measures that are typically

applied when new or innovative treatments are introduced,” and the reporters noted

that “[m]any of the challenges and knowledge gaps … are echoed internationally.”49

       Combined with a “rapid change in epidemiology,” a dramatic increase in the

number of referrals, and patients presenting with “a wide range of psychosocial and

mental health needs,” the embrace of the “affirmative, non-exploratory approach”

led to conflict at the clinic and elsewhere.50 The report noted a “lack of consensus”

about whether the affirmative care model was proper, but that “[p]rimary and sec-

ondary care staff … feel under pressure to adopt an unquestioning affirmative ap-

proach.”51 Physicians outside the clinic felt similar pressure, with some doctors tell-

ing the authors that they were “afraid of the consequences” if they did not bow to

the “pressure to take a purely affirmative approach.”52 And the report acknowledged

that “disagreement and polarization is heightened when potentially irreversible


47
   See The Cass Review: Independent Review of Gender Identity Services for Children and Young
People: Interim Report (Feb. 2022), available at https://cass.independent-review.uk/publica-
tions/interim-report/.
48
   Id. at 14-15, 78.
49
   Id. at 15.
50
   Id. at 14-17.
51
   Id. at 17.
52
   Id. at 48.

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treatments are given to children and young people, when the evidence base underly-

ing the treatments is inconclusive, and when there is uncertainty about whether, for

any particular child or young person, medical intervention is the best way of resolv-

ing gender-related distress.”53 The report did not make a final recommendation on

the use of puberty blockers and cross-sex hormones in minors “due to gaps in the

evidence base.”54 See Cantor Decl. ¶¶ 128-29.

              3.      Finland

          In June 2020, Finland’s Council for Choices in Healthcare suggested changes

to its treatment protocols. Cantor Decl. ¶¶ 130-31; Finland Policy Statement.

Though allowing for some hormonal interventions under certain conditions, the

Council lamented the lack of evidence in the area and urged caution in light of the

severe risks associated with medical intervention:

       “Potential risks of GnRH therapy include disruption in bone mineralization
        and the as yet unknown effects on the central nervous system. In trans girls,
        early pubertal suppression inhibits penile growth, requiring the use of alterna-
        tive sources of tissue grafts for a potential future vaginoplasty. The effect of
        pubertal suppression and cross-sex hormones on fertility is not yet known.”
        Id. (emphasis added).

       “In cases of children and adolescents, ethical issues are concerned with the
        natural process of adolescent identity development, and the possibility that
        medical interventions may interfere with this process. It has been suggested
        that hormone therapy (e.g., pubertal suppression) alters the course of gender
        identity development; i.e., it may consolidate a gender identity that would
        have otherwise changed in some of the treated adolescents. The reliability of

53
     Id. at 13, 28.
54
     Id. at 15.

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      the existing studies with no control groups is highly uncertain, and because
      of this uncertainty, no decisions should be made that can permanently alter a
      still-maturing minor’s mental and physical development.” Id. (emphasis
      added).

    “Professionals, for their part, consider it important to ensure that irreversible
     interventions, which may also have significant adverse effects, both physical
     and mental, are only performed on individuals who are able to understand the
     permanence of the changes and the potential for harm, and who are unlikely
     to regret such interventions. It is not known how the hormonal suppression of
     puberty affects young people’s judgement and decision-making.” Id. (empha-
     sis added).

      The Council thus concluded: “Information about the potential harms of hor-

mone therapies is accumulating slowly and is not systematically reported. It is criti-

cal to obtain information on the benefits and risks of these treatments in rigorous

research settings.” Id.

          4.     Australia and New Zealand

      In August 2021, the Royal Australian & New Zealand College of Psychiatrists

issued a position statement recognizing the “paucity of quality evidence on the out-

comes of those presenting with Gender Dysphoria” and the “need for better evidence

in relation to outcomes for children and young people.” See Royal Australian & New

Zealand College of Psychiatrists Statement. It urged caution and humility:

           “There are polarized views and mixed evidence regarding treat-
            ment options for people presenting with gender identity con-
            cerns, especially children and young people.” Id.

           Psychiatrists should “be aware there are multiple perspectives
            and views,” and while “[t]here is some evidence to suggest pos-
            itive psychosocial outcomes for those who are supported in their


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              gender identity,” “evidence and professional opinion is divided
              as to whether an affirmative approach should be taken in relation
              to treatment of transgender children or whether other approaches
              are more appropriate.” Id.

         5.      France

      On February 25, 2022, France’s Académie Nationale de Médecine issued a

similar statement urging “great medical caution” when treating gender dysphoric

youth “given the vulnerability, particularly psychological, of this population and the

many undesirable effects, and even serious complications, that some of the available

therapies can cause.” See France Policy Statement. The Académie was particularly

concerned about the unexplained rise in gender incongruent youth, noting that, ac-

cording to a recent study of a high schools in Pittsburgh, “10% of students declared

themselves to be transgender or non-binary or of uncertain gender.” Id. “Whatever

the mechanisms involved,” the Académie observed, the phenomenon was a “primar-

ily social problem” given that the “epidemic-like phenomenon results in the appear-

ance of cases or even clusters in the immediate surroundings.” Id.

      Citing the rise in cases, the Académie also recognized that “the risk of over-

diagnosis is real, as shown by the increasing number of transgender young adults

wishing to ‘detransition.’” Id. It thus lamented that “[n]o genetic predisposition has

been found” and that “there is no test to distinguish a ‘structural’ gender dysphoria

from transient dysphoria in adolescence.” Id. While the Académie did not ban the

administration of puberty blockers or cross-sex hormones, it concluded that “the


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greatest reserve is required in their use, given the side effects such as impact on

growth, bone fragility, risk of sterility, emotional and intellectual consequences and,

for girls, symptoms reminiscent of menopause.” Id.

      G.     The Alabama Vulnerable Child Compassion and Protection Act

      On April 8, 2022, Alabama added its voice to the chorus and enacted the Al-

abama Vulnerable Child Compassion and Protection Act. As can be seen, the legis-

lative findings are fully supported by the literature and accord with a growing inter-

national consensus:

      The Legislature finds and declares the following:

      (1) The sex of a person is the biological state of being female or male,
      based on sex organs, chromosomes, and endogenous hormone profiles,
      and is genetically encoded into a person at the moment of conception,
      and it cannot be changed.

      (2) Some individuals, including minors, may experience discordance
      between their sex and their internal sense of identity, and individuals
      who experience severe psychological distress as a result of this
      discordance may be diagnosed with gender dysphoria.

      (3) The cause of the individual’s impression of discordance between
      sex and identity is unknown, and the diagnosis is based exclusively on
      the individual’s self-report of feelings and beliefs.

      (4) This internal sense of discordance is not permanent or fixed, but to
      the contrary, numerous studies have shown that a substantial majority
      of children who experience discordance between their sex and identity
      will outgrow the discordance once they go through puberty and will
      eventually have an identity that aligns with their sex.

      (5) As a result, taking a wait-and-see approach to children who reveal
      signs of gender nonconformity results in a large majority of those


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  children resolving to an identity congruent with their sex by late
  adolescence.

  (6) Some in the medical community are aggressively pushing for
  interventions on minors that medically alter the child’s hormonal
  balance and remove healthy external and internal sex organs when the
  child expresses a desire to appear as a sex different from his or her own.

  (7) This course of treatment for minors commonly begins with
  encouraging and assisting the child to socially transition to dressing and
  presenting as the opposite sex. In the case of prepubertal children, as
  puberty begins, doctors then administer long-acting GnRH agonist
  (puberty blockers) that suppress the pubertal development of the child.
  This use of puberty blockers for gender nonconforming children is
  experimental and not FDA-approved.

  (8) After puberty blockade, the child is later administered “cross-sex”
  hormonal treatments that induce the development of secondary sex
  characteristics of the other sex, such as causing the development of
  breasts and wider hips in male children taking estrogen and greater
  muscle bass, bone density, body hair, and a deeper voice in female chil-
  dren taking testosterone. Some children are administered these hor-
  mones independent of any prior pubertal blockade.

  (9) The final phase of treatment is for the individual to undergo
  cosmetic and other surgical procedures, often to create an appearance
  similar to that of the opposite sex. These surgical procedures may
  include a mastectomy to remove a female adolescent’s breasts and “bot-
  tom surgery” that removes a minor’s health[y] reproductive organs and
  creates an artificial form aiming to approximate the appearance of the
  genitals of the opposite sex.

  (10) For minors who are placed on puberty blockers that inhibit their
  bodies from experiencing the natural process of sexual development,
  the overwhelming majority will continue down a path toward cross-sex
  hormones and cosmetic surgery.

  (11) This unproven, poorly studied series of interventions results in
  numerous harmful effects for minors, as well as risks of effects simply
  unknown due to the new and experimental nature of these interventions.


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      (12) Among the known harms from puberty blockers is diminished
      bone density; the full effect of puberty blockers on brain development
      and cognition are yet unknown, though reason for concern is now pre-
      sent. There is no research on the long-term risks to minors of persistent
      exposure to puberty blockers. With the administration of cross-sex hor-
      mones comes increased risks of cardiovascular disease, thromboem-
      bolic stroke, asthma, COPD, and cancer.

      (13) Puberty blockers prevent gonadal maturation and thus render
      patients taking these drugs infertile. Introducing cross-sex hormones to
      children with immature gonads as a direct result of pubertal blockade
      is expected to cause irreversible sterility. Sterilization is also permanent
      for those who undergo surgery to remove reproductive organs, and such
      persons are likely to suffer through a lifetime of complications from the
      surgery, infections, and other difficulties requiring yet more medical
      intervention.

      (14) Several studies demonstrate that hormonal and surgical
      interventions often do not resolve the underlying psychological issues
      affecting the individual. For example, individuals who undergo cross-
      sex cosmetic surgical procedures have been found to suffer from
      elevated mortality rates higher than the general population. They
      experience significantly higher rates of substance abuse, depression,
      and psychiatric hospitalizations.

      (15) Minors, and often their parents, are unable to comprehend and fully
      appreciate the risk and life implications, including permanent sterility,
      that result from the use of puberty blockers. cross-sex hormones, and
      surgical procedures.

      (16) For these reasons, the decision to pursue a course of hormonal and
      surgical interventions to address a discordance between the individual’s
      sex and sense of identity should not be presented to or determined for
      minors who are incapable of comprehending the negative implications
      and life-course difficulties attending to these interventions.

Act § 2.




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      Given the medical uncertainties and the risks of severe harm from the medical

interventions, the Legislature chose to prohibit the administration of certain treat-

ments for minors:

      [N]o person shall engage in or cause any of the following practices to
      be performed upon a minor if the practice is performed for the purpose
      of attempting to alter the appearance of or affirm the minor’s perception
      of his or her gender or sex, if that appearance or perception is incon-
      sistent with the minor’s [biological sex]:

          (1) Prescribing or administering puberty blocking medication to stop
          or delay normal puberty.

          (2) Prescribing or administering supraphysiologic doses of testos-
          terone or other androgens to females.

          (3) Prescribing or administering supraphysiologic doses of estrogen
          to males.

          (4) Performing surgeries that sterilize, including castration, vasec-
          tomy, hysterectomy, oophorectomy, orchiectomy, and penectomy.

          (5) Performing surgeries that artificially construct tissue with the ap-
          pearance of genitalia that differs from the individual’s sex, including
          metoidioplasty, phalloplasty, and vaginoplasty.

          (6) Removing any healthy or non-diseased body part or tissue, ex-
          cept for a male circumcision.

Act § 4. A violation is a Class C felony. Id.

      There are some exceptions: the prohibition does not apply “to a procedure

undertaken to treat a minor born with a medically verifiable disorder of sex devel-

opment,” including an individual both with irresolvable ambiguous external sex

characteristics and an individual who has been diagnosed with a “disorder of sexual


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development.” Id. And the Legislature expressly noted that, except as specifically

provided in §4, “nothing in this act shall be construed as limiting or preventing psy-

chologists, psychological technicians, and master’s level licensed mental health pro-

fessionals from rendering the services for which they are qualified.” Id. § 6.

      Governor Ivey signed the bill into law on April 8, 2022. The Act is set to

become effective on May 8, 2022. Plaintiffs brought this (latest) lawsuit on April 19,

Doc. 1, and sought emergency injunctive relief on April 21, Doc. 7. The United

States belatedly moved to intervene on April 29, Doc. 58, filing a proposed prelim-

inary injunction motion, brief, and expert report late the business day before this

response is due, Doc. 62. Particularly because of the federal government’s dilatory

conduct, the State reserves the right to file a separate opposition to the proposed brief

should intervention be granted, after its own experts have the opportunity to review

and respond to the government’s new papers. Nonetheless, recognizing the time-

sensitive issues before the Court, the State has offered responses here to the govern-

ment’s primary points where possible.

                                LEGAL STANDARD

      “A district court may grant injunctive relief only if the moving party shows

that: (1) it has a substantial likelihood of success on the merits; (2) irreparable injury

will be suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing party;



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and (4) if issued, the injunction would not be adverse to the public interest.” Siegel

v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc). A preliminary injunction

or a temporary restraining order “is an extraordinary and drastic remedy that should

not be granted unless the movant clearly carries its burden of persuasion on each of

these prerequisites.” Suntrust Bank v. Houghton Mifflin Co., 252 F.3d 1165, 1166

(11th Cir. 2001) (emphasis added). Accordingly, “[f]ailure to show any of the four

factors is fatal.” Am. C.L. Union of Fla., Inc. v. Miami-Dade Cnty. Sch. Bd., 557

F.3d 1177, 1198 (11th Cir. 2009). “Because a TRO or preliminary injunction is an

extraordinary and drastic remedy, its grant is the exception rather than the rule.”

Cheng Ke Chen v. Holder, 783 F. Supp. 2d 1183, 1186 (N.D. Ala. 2011) (cleaned

up) (quoting United States v. Lambert, 695 F.2d 536, 539 (11th Cir. 1983)).

                                    ARGUMENT

      This case is about whether Alabama has the power to regulate risky, experi-

mental, unproven medical interventions on children. The answer is clearly yes. Ac-

cordingly, Plaintiffs have not clearly established any of the prerequisites to obtaining

the extraordinary remedy of a preliminary injunction against enforcement of the Act.

      First, their claims are unlikely to succeed. “[T]he Constitution ‘principally

entrusts the safety and the health of the people to the politically accountable officials

of the States.’” Andino v. Middleton, 141 S. Ct. 9, 10 (2020) (Kavanaugh, J., con-

curring) (quoting South Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613,



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1613-1614 (2020) (Roberts, C.J., concurring)). “When those officials undertake to

act in areas fraught with medical and scientific uncertainties, their latitude must be

especially broad.” Id. (cleaned up). A State legislature’s scientific judgment “ordi-

narily should not be subject to second-guessing by an unelected federal judiciary,

which lacks the background, competence, and expertise to assess public health and

is not accountable to the people.” Id. (cleaned up).

      All of Plaintiffs’ varied legal theories come down to one demand: for this

Court to elevate Plaintiffs’ ideologically driven reading of highly contested scientific

evidence over the findings and policy views of the Alabama Legislature. Nothing in

the Constitution or federal law sanctions this demand.

      Plaintiffs’ Equal Protection claim fails at the outset because the Act regulates

certain experimental medical procedures and does not discriminate based on sex or

gender identity. Neither boys nor girls may be subjected to these experimental pro-

cedures. The United States responds with the biology-defying contention that there

is no meaningful difference between the sexes. In its view, giving a boy with a tes-

tosterone deficiency enough testosterone to bring him to a natural level is the same

as providing a girl testosterone that raises her to unnatural (and unhealthy) levels,

and thus equality demands that the treatment be made available to both. That facile

logic fails, however, because the biological differences between males and females

mean that the former and latter interventions are different treatments altogether. To



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borrow from another context, implanting a fertilized egg in a woman can be a treat-

ment for infertility; doing the same to a man is something very different indeed.

      Nor is there an identity between the Act’s regulations and transgender status.

Many who identify as transgender do not seek these experimental procedures, and

some who are not actually transgender do seek them.

      In any event, the Act would easily pass even heightened scrutiny. The State’s

interest in protecting children is among the most compelling government interests.

And a State has “wide discretion to pass legislation in areas where there is medical

and scientific uncertainty.” Gonzales v. Carhart, 550 U.S. 124, 163 (2007). As

shown above, this area is defined by uncertainty. After weighing the demonstrated

risks and unproven benefits, the Legislature drew a careful regulation that prevents

experimental procedures that have (1) irreversible consequences, and (2) no discern-

ible mental-health benefits. The Act permits proven treatments for gender dysphoria

that do not inflict long-term harm. Both the Act’s findings and the evidence dis-

cussed above justify the Act’s closely drawn proscriptions.

      Plaintiffs’ remaining legal theories are even more tenuous. Though they in-

voke general parental rights, there is no substantive due process right for a parent to

obtain experimental medical procedures for gender-transition purposes. Indeed, all

federal courts of appeals to address the issue have held that no substantive due




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process right exists to access experimental medical treatments. Plaintiffs’ claimed

right—a derivative right of a parent to obtain such treatments—necessarily fails.

      Plaintiffs’ void for vagueness argument rests on the proposition that the term

“engage in or cause”—especially “cause”—cannot be understood or consistently ap-

plied. If basic causation requirements are void for vagueness, most of American law

is void. Similar formulations litter the law, and Plaintiffs cite no court holding the

term to be vague. To the contrary, courts find that causation requirements eliminate

undue vagueness. And that is especially true here, given that Alabama law specifi-

cally articulates the “modified but-for” causation test that applies (and imposes a

default mens rea requirement). See Ala. Code §§ 13A-2-5(a), 13A-2-4(b). Alabama

law also speaks to Plaintiffs’ other hypotheticals, which either misunderstand the

causation requirement or are simply consequences of the law that Plaintiffs do not

like. That does not make the law vague.

      Moving even farther afield, the Act proscribes only certain conduct, and the

First Amendment does not protect criminal conduct. Simply because conduct might

be carried out through speech—say, hiring a hitman, or writing a prescription—does

not give it First Amendment protection. Any suggestion that the Act prevents seek-

ing medical advice misapprehends the Act’s terms and settled causation rules.

      Nor is the Act preempted by the ACA. The Act does not discriminate based

on sex, so Section 1557 is irrelevant. And regardless, the ACA contains an express



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savings clause preserving state regulation, and federal funding conditions do not

confer on recipients a right to that funding with which state regulation could inter-

fere. In any event, the Private Plaintiffs lack a cause of action to bring this claim

against Defendants, and the federal government does not press this claim.

      Finally, the other injunction factors weigh against preliminary relief. Plain-

tiffs’ earlier judge-shopping alone forecloses their demand for equitable relief, for

not only does their conduct cast the appearance of impropriety on our judicial sys-

tem, but it significantly delayed this litigation. Plaintiffs cannot now claim an irrep-

arable harm when their actions show that they were more interested in judge-shop-

ping than in obtaining a timely adjudication. And Plaintiffs have not shown that con-

tinuing to subject minors to experimental procedures would help rather than harm

them. Minors will continue to have access to necessary medical care, including treat-

ments for tapering off their chemical gender transitions and accepted treatments for

gender dysphoria.

      Enjoining the Act would lead to some untold number of Alabama children

being subjected to experimental procedures that could forever destroy their abilities

to procreate, enjoy intimate relations, and care for children of their own. The public

interest is to protect the children of this State from unproven, ideologically driven

procedures. The Court should deny Plaintiffs’ and the federal government’s motions.




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 I.     Plaintiffs Have Not Shown That Their Equal Protection Claims Are
        Likely To Succeed.

        Plaintiffs’ Equal Protection claim will fail. The most obvious reason it will

fail is that the Act does not discriminate based on sex or gender identity. No male or

female can be subjected to the regulated experimental procedures. Nor are these dis-

crete and defined procedures a proxy for transgender status: many transgender youth

do not seek them, and youth who are not actually transgender have been subjected

to them. Regardless, transgender status is not a suspect or quasi-suspect classifica-

tion, particularly in the context of medical treatments that are tied to inherent bio-

logical realities. Absent a suspect classification, the Act need only pass rational basis

review, and its classifications based on age and procedures advance the State’s com-

pelling interest in protecting children from experimental treatments. Even if height-

ened scrutiny applied, the State’s interest is of the utmost importance, and the Act is

narrowly tailored to protect the children of Alabama from unproven procedures with

no demonstrated benefits and irreversible harms.

        A.    The Vulnerable Child Compassion and Protection Act is Subject
              Only to Rational-Basis Review.

        On its face, the Act draws distinctions on two bases: age and procedure. Nei-

ther is among the suspect classifications that courts have identified for Equal Pro-

tection purposes. See Gregory v. Ashcroft, 501 U.S. 452, 470 (1991); Clark v. Jeter,




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486 U.S. 456, 461 (1988). Plaintiffs deceptively edit the Act to make it appear that

its restrictions are based on sex or transgender status. Br., Doc. 8 at 30. They are not.

          1.     The Act Does Not Discriminate Based on Sex or Transgender
                 Status.

      First, the Act does not discriminate based on sex. No minor, regardless of sex,

can obtain the covered experimental procedures. The Act therefore draws no “gen-

der-based classification[]” that would “warrant heightened scrutiny.” United States

v. Virginia, 518 U.S. 515, 555 (1996) (quotation marks omitted). Plaintiffs do not

appear to dispute that point.

      Instead, Plaintiffs argue that “[b]y discriminating against transgender people,”

the Act “discriminates based on sex.” Br., Doc. 8 at 31. But the Act does not dis-

criminate based on transgender status. Under the Act, two categories exist: The first

category is minors who seek certain experimental procedures “for the purpose of

attempting to alter the appearance of or affirm the minor’s perception of his or her

gender or sex, if that appearance or perception is inconsistent with the minor’s sex.”

Act § 4(a). The second category is all other minors.

      Importantly, transgender individuals may be in either category. As even Plain-

tiffs and their experts recognize, there are both transgender people and non-

transgender people who choose not to undergo experimental gender transition pro-

cedures. See, e.g., Compl., Doc. 1 ¶ 34; Rosenthal Decl. ¶¶ 32-33, 46; see also Doe

2 v. Shanahan, 917 F.3d 694, 722 (D.C. Cir. 2019) (Williams, J, concurring in the


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result) (“[T]he transgender community is not a monolith in which every person

wants to take steps necessary to live in accord with his or her preferred gender (rather

than his or her biological sex).”). The DSM-5 recognizes that only some transgender

people suffer from gender dysphoria because not all transgender people experience

clinical levels of distress caused by their gender incongruence. DSM-5 at 452-53.

And according to WPATH, some individuals who suffer from gender dysphoria “do

not feel the need to feminize or masculinize their body” and find that “changes in

gender role and expression are sufficient to alleviate gender dysphoria.” WPATH

Guidelines at 8-9. Accordingly, the Act’s regulation of experimental procedures is

not a proxy for transgender status.

      This conclusion is bolstered by the fact that non-transgender individuals may

be in either category, too. As noted above, many—perhaps most—children that may

seek the experimental procedures will likely turn out not to be transgender. Indeed,

in a field where so much is unknown, that fact is well established: the vast majority

of youth suffering from gender dysphoria will not identify as transgender as adults.

See Cantor Decl. ¶ 36; WPATH Standards at 11; Endocrine Society Guidelines at

3879; DSM-5 at 455. And because there is no way to accurately predict whose dys-

phoria will persist and whose will not (another fact well established by the literature),

there is no way to separate the “true” transgender children from those whose

transgender identification is simply passing. Cantor Decl. ¶ 42 (noting that, at best,



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clinicians can only distinguish “unlikely from even less likely to transition”); Endo-

crine Society Guidelines at 3876. Thus, in all likelihood, more “truly” non-

transgender children than transgender children seek the medical interventions, una-

ware that their gender dysphoria will resolve over time if they would but let it. Cf.

U.S. Br., Doc. 62-1 at 12 (asserting that “[a] person’s gender identity is innate”).

And given that “transgender” refers merely to “[a] subset of gender-diverse youth,”

AAP Statement at 2, persons other than those who identify as transgender may seek

the experimental procedures, too. None of that is relevant to the Act, which regulates

procedures and is not based on transgender status.

      Because the two categories created by the Act both include transgender and

non-transgender minors, the Act does not discriminate based on transgender status.

This understanding of how equal protection principles apply to the Act is compelled

by precedent. The Supreme Court has repeatedly rejected the uneven-impact analy-

sis on which Plaintiffs’ transgender-discrimination-by-proxy theory rests. See Pers.

Adm’r of Mass. v. Feeney, 442 U.S. 256, 271-72 (1979) (“[M]any [laws] affect cer-

tain groups unevenly, even though the law itself treats them no differently from all

other members of the class described by the law.”).

      Take the Supreme Court’s decision in Geduldig v. Aiello, 417 U.S. 484

(1974). There, the Court held that a state insurance policy that excluded coverage

for pregnancies did not classify on the basis of sex. Id. at 495-97. It explained that



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the classification at issue created two groups: pregnant and nonpregnant people. Id.

at 496 n.20. Although “the first group is exclusively female,” the Court explained,

“the second includes members of both sexes,” which revealed a “lack of identity”

between pregnancy and sex. Id.; see also Gen. Elec. Co. v. Gilbert, 429 U.S. 125,

136 (1976) (“[A]n exclusion of pregnancy from a disability-benefits plan providing

general coverage is not a gender-based discrimination at all.”).

      The Court has applied the same analysis in the context of abortion regulations,

explaining that “‘[w]omen seeking abortion’ is not a qualifying class.” Bray v. Alex-

andria Women’s Health Clinic, 506 U.S. 263, 269 (1993). The Court rejected the

proposition “that since voluntary abortion is an activity engaged in only by women,

to disfavor it is ipso facto to discriminate invidiously against women as a class.” Id.

at 271. The Court emphasized that “the characteristic that formed the basis of the

targeting here was not womanhood, but the seeking of abortion.” Id. at 273.

      Likewise, the Act protects against certain experimental procedures, regardless

of who is subjected to them. And just as some women were in the nonpregnant class

in Geduldig and some women did not seek abortions in Bray, some transgender mi-

nors do not seek these experimental procedures. There is thus a “lack of identity”

between the Act’s medical-procedure distinction and transgender status. Adams v.

Sch. Bd. of St. Johns Cnty., 3 F.4th 1299, 1331-32 (11th Cir. 2021) (Pryor, C.J.,

dissenting) (applying Geduldig to law that “does not facially classify on the basis of



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transgender status”), vacated pending reh’g en banc, 9 F.4th 1369.55 Contrary to

Plaintiffs’ extraordinary claim, seeking experimental procedures does not “define”

being transgender. Br., Doc. 8 at 23; see id. (comparing children seeking experi-

mental procedures to Jews wearing yarmulkes); U.S. Br., Doc. 62-1 at 23 n.12 (sim-

ilar). Plus, the identity between regulated practice and class is even more detached

here because not all children seeking these interventions are transgender. So it makes

even less sense to say that this Act discriminates based on transgender status than it

would to say that the laws in Geduldig and Bray discriminated based on sex. The

Act does not discriminate based on sex or transgender status.

             2.        Even Assuming a Distinction Based on Transgender Status,
                       Rational Basis Review Still Applies.

          Even if the Act did discriminate based on transgender status, it would not be

subject to heightened scrutiny. That is so for two reasons. First, any such discrimi-

nation would not be equivalent to discrimination based on sex, because the Act fo-

cuses on meaningful and unavoidable biological differences between sexes. Second,

transgender status is not a quasi-suspect classification.

                  a.     The Act is Based on Biological Differences.

          According to Plaintiffs, “[b]oth the Supreme Court and the Eleventh Circuit

have held that discrimination because a person is transgender is based on sex.” Br.,



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     En banc argument was held in this case on February 22, 2022, and the decision is pending.

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Doc. 8 at 24 (citing Bostock and Brumby); U.S. Br., Doc. 62-1 at 11 (similar). But

the cited decisions are more limited in scope than Plaintiffs suggest, and they do not

govern situations where the law’s classifications are tied to actual biological differ-

ences between the sexes. “The only question” in Bostock was “whether an employer

who fires someone simply for being … transgender has discharged or otherwise dis-

criminated against that individual ‘because of such individual’s sex’” under “Title

VII.” Bostock v. Clayton Cnty., Georgia, 140 S. Ct. 1731, 1753 (2020). Bostock did

not resolve the construction of any other statute, much less the Equal Protection

Clause, and it expressly reserved “[w]hether other policies and practices might or

might not qualify as unlawful discrimination.” Id.

      Bostock focused on Title VII, reading that statute’s core “message” to be that

“[a]n individual’s homosexuality or transgender status is not relevant to employment

decisions.” Id. at 1741. The Court said that “[t]o ‘discriminate against’ a person”

“mean[s] treating that individual worse than others who are similarly situated.” Id.

at 1740 (emphasis added); see also Cleburne v. Cleburne Living Ctr., 473 U.S. 432,

439 (1985) (“The Equal Protection Clause … is essentially a direction that all per-

sons similarly situated should be treated alike.”). And for employment purposes,

employees are similarly situated to each other, regardless of “sex,” “homosexuality,”

or “transgender status.” Bostock, 140 S. Ct. at 1741. In this context, the Court con-

sidered gender identity to be inherently linked to sex; the core of Bostock’s reasoning



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on this issue was that an employer that “penalizes a person identified as male at birth

for traits or actions that it tolerates in an employee identified as female at birth”

discriminates based on sex under Title VII. Id. at 1741. The Eleventh Circuit’s deci-

sion in Brumby similarly subjected to intermediate scrutiny governmental employ-

ment decisions “based upon gender stereotypes,” stating that “we are beyond the day

when an employer could evaluate employees by assuming or insisting that they

matched the stereotypes associated with their group.” Glenn v. Brumby, 663 F.3d

1312, 1316, 1320 (11th Cir. 2011) (cleaned up).

      But that reasoning does not translate to the medical context when males and

females are not similarly situated. Take for example in vitro fertilization. A fertility

clinic would not discriminate on the basis of sex by deciding to implant fertilized

eggs only in females. There would no inequality in that policy because implanting

the egg in a male would be a different procedure. The medical procedures at issue

here are likewise unavoidably tied to meaningful biological differences in the sexes.

Ramping up a young boy’s estrogen levels to that of a healthy girl is not the same

treatment as ensuring a young girl has estrogen levels within a normal range. To put

it in Bostock’s terms, it is not true that but for a child’s sex could he or she be “pre-

scribe[ed] or administer[ed] supraphysiologic doses” of a sex hormone “for the pur-

pose of attempting to alter the appearance of or affirm the minor’s perception of his

or her gender or sex, if that appearance of perception is inconsistent with the minor’s



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sex as defined in this act.” While a boy may be prescribed testosterone to treat his

delayed puberty, the prescription is not “for the purpose of attempting to alter the

appearance of or affirm the minor’s perception of his or her gender or sex.” As dis-

cussed above, the two treatments are not at all the same—because biological males

are not the same as biological females.56

       Take another example: a male who cannot be subject to castration for the pur-

pose of transitioning gender. Bostock “directs us to change [the person’s sex] and

see if the outcome changes.” 140 S. Ct. at 1739. That direction might make sense in

the employment context, where an individual’s “sex is not relevant to the selection,

evaluation, or compensation of employees.” Id. at 1741 (cleaned up). But it makes

no sense in medical contexts where sex makes all the difference. To return to the

example, a male who can’t be castrated simply cannot be compared to a female,

because a female could never be castrated.




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   For this reason, the federal government’s citation-less assertion that the Act permits “cisgender
minors” to “obtain[] the same forms of care” (Br., Doc. 62-1 at 22) is wrong. Even putting aside
that the Act bars persons who may not be transgender from obtaining these procedures, the treat-
ment for a condition like precocious puberty is not the “same” as an experimental procedure used
for gender dysphoria, even if similar medications might be used. Nor are biological realities “sex
stereotype[s].” U.S. Br., Doc. 62-1 at 22. The United States is unable to articulate what “sex ste-
reotype” it thinks is at play here, other than the red herring that “an individual’s gender identity
should match the sex that individual was assigned at birth.” Id. at 23. The Act does not regulate an
“individual’s gender identity,” and it expressly protects (proven and safe) treatments for gender
dysphoria. What the Act regulates are unproven treatments that are tied to biological facts—facts
that the United States does not appear to dispute. To say that the relationship of genitalia to sex is
merely a harmful “stereotype” is like saying that having a spinal column is merely “stereotypical”
of vertebrates.

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       Laws premised on such biological differences are “consistent with the con-

stitutional guarantee of equal protection.” Nguyen v. I.N.S., 533 U.S. 53, 59 (2001).

In Nguyen, for example, the Court confronted a law that “impose[d] different re-

quirements for the child’s acquisition of citizenship depending upon whether the

citizen parent is the mother or the father.” Id. at 56-57. The Court upheld the law,

emphasizing that “[f]athers and mothers are not similarly situated with regard to the

proof of biological parenthood.” Id. at 63. The Court explained that “gender specific

terms can mark a permissible distinction.” Id. at 64. “The equal protection question

is whether the distinction is lawful,” and where “the use of gender specific terms

takes into account a biological difference between the parents,” “[t]he differential

treatment is inherent in a sensible statutory scheme.” Id. Thus, the Court concluded

that “[t]he imposition of a different set of rules for making that legal determination

with respect to fathers and mothers is neither surprising nor troublesome from a con-

stitutional perspective.” Id. at 63. “The difference between men and women in rela-

tion to the birth process is a real one, and the principle of equal protection does not

forbid Congress to address the problem at hand in a manner specific to each gender.”

Id. at 73. “Mechanistic classification of all our differences as stereotypes would op-

erate to obscure those misconceptions and prejudices that are real.” Id.

      Though the Court in Nguyen applied heightened scrutiny, its teachings are

relevant here to show that where there are biological differences between males and



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females, Bostock’s equivalence between transgender distinctions and sex discrimi-

nation does not hold. While “[a]n individual’s homosexuality or transgender status

is not relevant to employment decisions,” Bostock, 140 S. Ct. at 1741, an individual’s

sex is often critically relevant to medical treatments. Screening women for ovarian

cancer while screening men for testicular cancer is not discrimination.

      Thus, the Bostock syllogism for employees—where biological differences did

not matter—does not apply here. The Act properly recognizes and accounts for the

scientific reality that “[t]he two sexes are not fungible.” Virginia, 518 U.S. at 533.

To the extent that the range of experimental medical procedures regulated by the Act

discriminate in any way, it is only “as a matter of biological inevitability.” Nguyen,

533 U.S. at 65. “To fail to acknowledge even our most basic biological differences

… risks making the guarantee of equal protection superficial, and so disserving it.”

Id. at 73. “The distinction embodied in the statutory scheme here at issue is not

marked by misconception and prejudice, nor does it show disrespect for either class.

“The difference between” girls and boys “is a real one, and the principle of equal

protection does not forbid [a State] to address the problem at hand in a manner spe-

cific to each gender.” Id.; see also Virginia, 518 U.S. at 533 (“The heightened review

standard our precedent establishes does not make sex a proscribed classification….

Physical differences between men and women … are enduring”); Miller v. Albright,




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523 U.S. 420, 445 (1998) (plurality opinion) (“The biological differences between

single men and single women provide a relevant basis for differing rules….”) .

      The experimental procedures at issue here do not rely on an impermissible

classification. Puberty blockers are FDA-approved to treat, for example, precocious

puberty, where they temporarily delay an abnormally early puberty with the goal of

allowing a child to begin puberty normally. Laidlaw Decl. at 13. Gender-transition

practitioners, by contrast, use puberty blockers to indefinitely stop natural puberty,

a use for which they are not FDA-approved. Id. Same for hormone therapies that

might be approved to initiate delayed puberty but not to disrupt normal development

and transition genders. These are not the same procedures, any more than raising

abnormally low testosterone levels is the same as providing the hormone to a Tour

de France cyclist seeking a yellow jersey. Different purposes make these different

procedures.

              b.    Transgender Status is Not a Suspect or Quasi-Suspect
                    Classification.

      Second, transgender status is neither a suspect nor quasi-suspect classifica-

tion. Receiving suspect-classification status is a high hurdle, requiring a clear show-

ing that the group (1) has “been subjected to discrimination” “[a]s a historical mat-

ter,” (2) exhibits “immutable” “characteristics that define them as a discrete group,”

and (3) is “politically powerless.” Lyng v. Castillo, 477 U.S. 635, 638 (1986). These




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factors must be analyzed “closely,” with a “definitive description of the classifying

facts.” San Antonio Indep. School Dist. v. Rodriguez, 411 U.S. 193, 19 (1973).

      Nearly 40 years ago, the Supreme Court held that “mental retardation,” though

often spurring discrimination, was not a “quasi-suspect classification calling for a

more exacting standard of judicial review.” Cleburne, 473 U.S. at 442. The Court so

held despite evidence that mentally handicapped individuals had been “subjected to

… grotesque mistreatment,” including, among other things, exclusion from public

schools and compulsory sterilization in at least 32 states. Cleburne Living Ctr. v.

Cleburne, 726 F.2d 191, 197 (5th Cir. 1984), aff’d in part, vacated in part sub nom.

Cleburne, 473 U.S. 432; see also Romeo v. Youngberg, 644 F.2d 147, 163 (3d Cir.

1980) (“The mentally retarded … [could] not vote in most states and, with few com-

munity ties, sponsors or friends, have minimal impact on the political process.”),

vacated and remanded on other grounds, 457 U.S. 307 (1982).

       Yet Plaintiffs urge this Court to identify a new suspect classification for

transgender individuals without identifying any evidence at all. Instead of providing

evidence (or even substantive factual allegations) to support the claim that

“transgender status” “meets the criteria for suspect classification,” they simply assert

that “transgender people have suffered a history of discrimination,” that “being

transgender” is “immutable,” and that “transgender people lack the political power

to achieve full equality.” Br., Doc. 8 at 32. This is just a restatement of the legal



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framework for determining suspect classification. Neither the Eleventh Circuit nor

the Supreme Court has ever treated transgender individuals as a suspect class.57

Plaintiffs offer no reason to break new ground here.

       First, Plaintiffs have not established that “transgender people have suffered a

history of discrimination.” Br., Doc. 8 at 32. For this factor, it is not enough that “the

treatment of [transgender individuals] has not been wholly free of discrimination.”

Massachusetts Bd. of Ret. v. Murgia, 427 U.S. 307, 313 (1976). Instead, Plaintiffs

must show that transgender individuals “have experienced a ‘history of purposeful

unequal treatment’ or been subjected to unique disabilities on the basis of stereo-

typed characteristics not truly indicative of their abilities.” Id. Plaintiffs have not

attempted to meet this burden. Cf. Rodriguez, 411 U.S. at 26 (explaining that plain-

tiffs must provide “proof … to support their allegations” on this issue).58

       Second, transgender status is not “an immutable characteristic determined

solely by the accident of birth.” Frontiero v. Richardson, 411 U.S. 677, 686 (1973).

The recent explosion in individuals who identify as transgender makes this clear.




57
   Plaintiffs’ reliance on Glenn, 663 F.3d 1312, is misplaced. There, “[t]he question” was “whether
discriminating against someone on the basis of his or her gender non-conformity constitutes sex-
based discrimination under the Equal Protection Clause.” Id. at 1316. As explained above, the Act
applies equally to all and discriminates against no one. And regardless, the Glenn inquiry is distinct
from whether transgender individuals constitute a “suspect class” in the first instance.
58
   The United States, meanwhile, relies only on self-reports involving, for example, respondents
who said they had “one or more negative experiences” “in K-12.” Br., Doc. 62-1 at 25 n.15.

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Likewise, that many individuals who identify as transgender later do not identify as

transgender (see supra at pp. 16-20) proves the point.

      It is not even clear that those who identify as transgender share “distinguishing

characteristics.” Cleburne, 473 U.S. at 441. While some guidelines note that not all

“gender diverse” people identify as “transgender,” AAP Statement at 2, others use

“transgender” as “an umbrella term” that includes “a diverse group of individuals,”

Endocrine Society Guidelines at 3875; see WPATH Guidelines at 97. Depending on

who you ask, the term covers people who identify with any of the following gender

identities: “boygirl,” “girlboy,” “genderqueer,” “eunuch,” “bigender,” “pangender,”

“androgyne,” “genderless,” “gender neutral,” “neutrois,” “agender,” “genderfluid,”

and “third gender,” and many others. WPATH Guidelines at 96; APA Guidelines at

862; Endocrine Society Guidelines at 3875. It is hard to define a class that appears

to be undefinable, and it appears that at least some individuals who identify as

“transgender” at times identify with a gender that matches their biological sex.

      Third, the assertion that transgender individuals lack “political power” (Br.,

Doc. 8 at 32) does not square with reality. “[S]ome degree of prejudice from at least

part of the public at large” is not enough. Bd. of Trustees of Univ. of Alabama v.

Garrett, 531 U.S. 356, 366 (2001). The question is whether transgender individuals

are “relegated to such a position of political powerlessness as to command extraor-

dinary protection from the majoritarian political process.” Murgia, 427 U.S. at 313.



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       They are not. Even assuming that those who favor hormonal and surgical in-

terventions are advancing the interests of transgender individuals, their voices are

amply heard. The President recently “recognize[d] Transgender Day of Visibility,

an annual celebration of the resilience, achievements, and joy of transgender people

in the United States and around the world.”59 The Biden Administration weighed in

on the exact issue in this litigation, stating that the President believes in “the positive

impact” of the procedures regulated here.60 (And after an unexplained delay, the Ad-

ministration intervened here.) Last year, the “Equality Act,” “which would amend

the 1964 Civil Rights Act to protect people from being discriminated based on sexual

orientation and gender identity in employment, housing and other services,” was

passed by the House of Representatives and remains a presidential priority.61 These

actions bely any suggestion that transgender individuals lack political power. Cf.

Cleburne, 473 U.S. at 445 (not “quasi-suspect” class in part because supportive “leg-

islative response” “could hardly have occurred and survived without public sup-

port,” thus “negat[ing] any claim that the mentally retarded are politically powerless

in the sense that they have no ability to attract the attention of the lawmakers”).




59
   Fact Sheet: Biden-Harris Administration Advances Equality and Visibility for Transgender
Americans, The White House (Mar. 31, 2022), https://perma.cc/UY2S-RCLD.
60
   Id.
61
   Daniella Diaz & Annie Grayer, House passes Equality Act aimed at ending discrimination based
on     sexual    orientation   and    gender     identity,    CNN      (March     16,    2021),
https://www.cnn.com/2021/02/25/politics/equality-act-passes-house/index.html.

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         Moreover, support for Plaintiffs’ approach goes beyond the halls of govern-

ment. The signature block on Plaintiffs’ complaint (Doc. 1), for instance, suggests

that transgender individuals have little trouble courting assistance from prominent

counsel. And the extensive list of pro-plaintiff amicus briefs in a similar, pending

Eighth Circuit case, Brandt v. Rutledge, No. 21-2875 (8th Cir. docketed Aug. 23,

2021), confirms that the interventionist approach to gender dysphoria is being heard.

Standing out among the deluge of pro-plaintiff amici in Brandt are the United States

government and almost half the States—who join hands with corporate interests and

dozens of nonprofits. And media powers are responsive to transgender interests.

USA Today, for example, recently named Rachel Levine, “the nation’s highest-rank-

ing openly transgender official,” one of its “Women of the Year.”62

         The proposition that transgender Americans today are further from “full

equality” than “the mentally retarded” were in 1985—a group that suffered “eugenic

marriage and sterilization laws” and whose treatment “paralleled[] the worst ex-

cesses of Jim Crow”—is self-refuting. Cleburne, 473 U.S. at 461-64 (Marshall, J.,

concurring in the judgment in part and dissenting in part). Transgender individuals

receive support in numerous aspects of public and private life; they are not a suspect

or quasi-suspect class.




62
     Women of the Year, USA TODAY (Mar. 13, 2022), https://perma.cc/2PUS-P72U.

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      B.     The Act Satisfies Any Level of Scrutiny.

      Because no suspect classification is at issue, Plaintiffs’ “equal protection

claim is subject only to rational basis review.” Leib v. Hillsborough Cnty. Pub.

Transp. Comm’n, 558 F.3d 1301, 1306 (11th Cir. 2009). “The rational basis test asks

(1) whether the government has the power or authority to regulate the particular area

in question, and (2) whether there is a rational relationship between the government's

objective and the means it has chosen to achieve it.” Id. “This standard is easily

met”: the “statute is presumed constitutional,” “a state has no obligation to produce

evidence to sustain the rationality of a statutory classification,” and “the burden is

on the one attacking the law to negate every conceivable basis that might support it,

even if that basis has no foundation in the record.” Id. (cleaned up).

      Here, Plaintiffs do not carry their burden to rebut “the presumption of legisla-

tive good faith.” Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018). As amply demon-

strated above and by the Act’s findings, the Legislature reasonably chose to protect

children from unproven medical procedures pushed by ideological groups. “The

only direct evidence” is that the “Legislature’s intent was legitimate,” given the fo-

cus in the legislative findings on safety concerns. Id. at 2327. And the Act “appl[ies]

evenhandedly to all” children, protecting them from harmful experimentation.

Vacco, 521 U.S. at 800. It thus singles out no one and satisfies rational-basis review.




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      Even if heightened scrutiny applied, the Act would easily survive. As with

any other law, the Act “is accorded a strong presumption of validity.” Heller v. Doe

ex rel. Doe, 509 U.S. 312, 319 (1993). Under the intermediate scrutiny applicable to

classifications based on sex, a law is constitutional if it is “substantially related” to

an “important governmental objective.” Virginia, 518 U.S. at 524. Multiple, signif-

icant government objectives are at stake.

      The most important is Alabama’s interest in protecting vulnerable children.

“It is indisputable ‘that a State’s interest in safeguarding the physical and psycho-

logical well-being of a minor is compelling.’” Otto v. City of Boca Raton, Fla., 981

F.3d 854, 868 (11th Cir. 2020) (quoting New York v. Ferber, 458 U.S. 747, 756-57

(1982)); see, e.g., Sable Commc’ns of Cal., Inc. v. FCC, 492 U.S. 115, 126 (1989)

(“[T]here is a compelling interest in protecting the physical and psychological well-

being of minors.”). “States validly may limit the freedom of children to choose for

themselves in the making of important, affirmative choices with potentially serious

consequences.” Bellotti v. Baird, 443 U.S. 622, 635 (1979). That is because “during

the formative years of childhood and adolescence, minors often lack the experience,

perspective, and judgment to recognize and avoid choices that could be detrimental

to them.” Id. The State also has an interest in regulating medicine and experimental

medical treatments on minors in Alabama. See Gonzalez, 550 U.S. at 157




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(recognizing that States have “a significant role to play in regulating the medical

profession”); see also Washington v. Glucksberg, 521 U.S. 702, 731 (1997) (same).

       The federal government’s suggestion that these interests are “pretextual” (Br.,

Doc. 62-1 at 28) lacks any foundation. The United States has nothing to say about

the Act’s extensive findings, other than the unexplained comment that any “sugges-

tion that transgender minors will ‘outgrow’ their gender identity” amounts to “moral

disapproval.” Id. But Plaintiffs’ experts contend only that the treatments should be

made available to children suffering from gender dysphoria—not every child who

identifies as transgender. E.g., Rosenthal Decl., Doc. 8-3 at 9. Nor does the United

States contest the overwhelming evidence that most cases of gender dysphoria do

desist, so its aspersions on this (correct) finding are difficult to understand. Does the

United States really prefer that children not outgrow their gender dysphoria?

       The federal government’s cherry-picked, out-of-context quotes63 from two in-

dividuals (at least one given in the context of another bill) warrant little discussion.


63
   For instance, as an example of alleged pre-text and animus, the government accuses Representa-
tive Allen of referring “to gender-affirming care, when provided to transgender youths as ‘child
abuse.’” U.S. Br. 62-1 at 17. He explained why: “In my opinion, administering these powerful
medications to minors whose mind is not made up and is not developed enough to make these
long-term decisions about how it affects their body, it is not good for these children. Yes, I consider
it child abuse.” Alabama House Judiciary Committee, Mar. 2, 2022, 1:34:28 PM,
https://vimeo.com/683940881/4edaeefda2. Likewise, the government says that Representative Al-
len’s motivation for sponsoring the bill was because he thought that “if children ‘are born male,
that they’re a male.” U.S. Br. 62-1 at 16. Again, the context provides a fuller picture. In response
to a radio host’s request in a previous legislative term to respond to the argument “that you are
primarily motivated by bigotry,” Representative Allen explained: “That is the furthest thing from
the truth. We just want to protect kids, and, you know, I don’t believe we’re protecting children



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See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 568 (2005) (“Judi-

cial investigation of legislative history has a tendency to become … an exercise in

looking over a crowd and picking out your friends.” (cleaned up)); NLRB v. SW Gen.,

Inc., 137 S. Ct. 929, 943 (2017) (“[F]loor statements by individual legislators rank

among the least illuminating forms of legislative history.”). The idea that “sex” “re-

fer[s] only to biological distinctions between male and female” was assumed by the

Supreme Court in Bostock, 140 S. Ct. at 1739, and “long has been held—and con-

tinues to be held—in good faith by reasonable and sincere people here and through-

out the world,” Obergefell v. Hodges, 576 U.S. 644, 657 (2015). Likewise, recog-

nizing both that sex is different from gender identity and that sex usually aligns with

gender identity does not imply “profound disapproval.” U.S. Br., Doc. 62-1 at 28;

see Bostock, 140 S. Ct. at 1746-47 (“We agree that homosexuality and transgender

status are distinct concepts from sex.”).

       Finally, the federal government has no account for why this supposedly hate-

ful statute is carefully tailored to minors and certain experimental procedures. Cf.

Lofton, 358 F.3d at 826 (rejecting a similar animus argument because the



when we allow them to take these powerful drugs that are used off-label that blocks puberty be-
cause puberty is not a disease.… [W]e need to be protecting these kids and showing them com-
passion, but at the same time affirming that if they are born male, that they’re male, if they’re born
female, they’re female. And we don’t need to be allowing the prescription of these powerful drugs
that we don’t know the long-term ramifications of.” Tony Perkins, Wes Allen Discusses Upcoming
Alabama Senate Vote on Vulnerable Child Compassion and Protection Act, YouTube (Feb. 15,
2021), https://www.youtube.com/watch?v=E9Q_b22cUWw.

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“classification is limited to [a] narrow and discrete context” with “a plausible con-

nection with the state’s asserted interest”). Only one governmental entity here has

elevated moral ideology above scientific fact, and it is not Alabama.

      Next, the Act is closely related to Alabama’s important government interests

in protecting children and regulating the medical profession. As an initial matter,

this Court’s review of the Act’s means must be deferential. A State has “wide dis-

cretion to pass legislation in areas where there is medical and scientific uncertainty.”

Gonzales, 550 U.S. at 163. In fact, the legislature’s role is particularly important

when the science is unsettled or varying factions disagree about the best course of

treatment, and “it is precisely where such disagreement exists that legislatures have

been afforded the widest latitude in drafting such statutes.” Kansas v. Hendricks,

521 U.S. 346, 360 n.3 (1997).

      Such is the case here. Gender-transition procedures for children are fraught

with medical and scientific uncertainty. Though not much is known in this field, that

much is. Yet Plaintiffs’ theory relies entirely on this Court second-guessing the Leg-

islature’s determination that the treatments Plaintiffs seek have not been proven to

be safe and effective for treating children with gender dysphoria. That is why they

over and over must refer to the interventions as “established” (at 21), “the only safe

and effective treatment for gender dysphoria” (at 13), the “standard of care” (at 26)

supported by “the consensus of medical experts and overwhelming evidence” (at



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30). See also U.S. Br., Doc. 62-1 at 30 (“the overwhelming weight of medical evi-

dence”). If any of these characterizations are off, Plaintiffs’ case falls apart.

      And the characterizations are off. As shown above, to the extent there is an

emerging consensus, it’s one of increasing humility. Cantor Decl. ¶ 15 (“Public

healthcare systems throughout the world have … been withdrawing their earlier sup-

port for childhood transition, responding to the increasingly recognized risks asso-

ciated with hormonal interventions and the now clear lack of evidence that medical

transition was benefitting most children, as opposed to the mental health counseling

accompanying transition.”). We just don’t know very much about the procedures

Plaintiffs are pushing.

      Start with diagnosis. While a doctor can determine whether a child reports to

be in distress due to the incongruence he feels between his biological sex and his

still-forming gender identity, the doctor cannot determine whether the child’s dys-

phoria or his gender incongruence will persist into adulthood. Id. ¶ 43; Laidlaw Decl.

at 6 (“Because there is no physical marker to diagnose gender identity and because

it is not possible to predict which child or adolescent will desist it is not possible to

know which young person will remain transgender identified as adults.”); Endocrine

Society Guidelines at 3876 (“With current knowledge, we cannot predict the psy-

chosexual outcome for any specific child.”) Thus, even if the treatments at issue

were beneficial to youth whose gender dysphoria persisted into adulthood, the



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Legislature would still have every reason to ban them because there is no way to tell

who those children are—and guessing wrong would be catastrophic.

      But it’s worse than that. Not only is there no way to accurately predict persis-

tence, but we know that the majority of gender dysphoric youth will not persist. See

Cantor Decl. ¶ 36 (“[D]espite coming from a variety of countries, conducted by a

variety of labs, using a variety of methods, all spanning four decades, every study

without exception has come to the identical conclusion: Among prepubescent chil-

dren who feel gender dysphoric, the majority cease to want to be the other gender of

the course of puberty—ranging from 61-88% desistance across the large, prospec-

tive studies.”); DSM-5 at 455 (recognizing that between 97.8% and 70% of gender

dysphoric boys and 88% and 50% of gender dysphoric girls will have their dysphoria

desist by adulthood); WPATH Standards at 11 (similar); Endocrine Society Guide-

lines at 3879 (similar). So it is more likely that a clinician will guess wrong and

provide transitioning interventions to a child whose dysphoria would otherwise de-

sist than that she will guess right and correctly pick out the persister from the crowd

of desisters. Again, if this is all the Legislature knew, it would have every reason to

ban interventions that rely on roulette-like odds.

      Worse, that’s for the traditional patient profile that we know the most about—

the childhood-onset gender dysphoria that occurs most often in boys. That world

exists no longer. Today, adolescent girls have become the default patient. See Hunter



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Decl. ¶¶ 66-88. No one knows why, but it is concerning that—unlike with the tradi-

tional diagnosis—the “majority of cases appear to occur within clusters of peers and

in association with increased social media use and especially among people with

autism or other neurodevelopmental or mental health issues.” Cantor Decl. ¶ 71;

Kenny Decl. at 3-35. Given these significant differences, until more research occurs,

“one cannot apply findings from the other types of gender dysphoria to this type.”

Cantor Decl. ¶ 72. Thus, the Legislature could determine that the risks of treatment

outweigh their benefits given that the best evidence Plaintiffs can point to did not

provide medical interventions to these sorts of patients.

      It gets worse still. Not only is it impossible to tell who would benefit from the

interventions if they worked the way Plaintiffs say, but the evidence does not even

show that the treatments offer long-term benefits even when they are administered

under the most conservative conditions. The initial promise of the Dutch experi-

ments has not borne fruit, as efforts to replicate their moderate success have not

succeeded. Cantor Decl. ¶¶ 60-66. And the evidentiary basis for using puberty block-

ers or cross-sex hormones has not grown otherwise. E.g., NICE Puberty Blocker

Evidence Review at 12; NICE Cross-Sex Hormone Evidence Review at 14. Here

again, the Legislature could reasonably determine that “[t]he failure of other clinics

to repeat the already very qualified success of the Dutch clinic demonstrates the need




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for still greater caution before endorsing transition and the greater need to resolve

potential mental health obstacles before doing so.” Cantor Decl. ¶ 66.

      So much for the benefits. Turning to the risk part of the analysis, expansive

reviews of the literature show great unknowns (because puberty blockers and hor-

mones used in this way have not been well studied) and significant risks of irreversi-

ble harm. The risks of puberty blockers, for instance, include permanent sterility,

loss of sexual function, and loss of bone density. See Laidlaw Decl. at 12-19. Cross-

sex hormones add more to the mix. Females taking testosterone face higher risks of

myocardial infarction and cardiovascular disease, irreversible changes to the vocal

cords, polycystic ovary syndrome and atrophy of the lining of the uterus, and a num-

ber of mood and psychiatric disorders. Id. Males taking supraphysiologic doses of

estrogen may develop hyperestrogenemia, the consequences of which “include in-

creased risk of myocardial infarction and death due to cardiovascular disease.” Id. at

19. Surgeries pose even more obvious harms, which is likely why Plaintiffs don’t

talk about them—though the clinical pathway started by puberty blockers and cross-

sex hormones as a child often end in surgical transitions by adulthood (or before).

Id. at 19-22. Weighing the costs and benefits, the Legislature could reasonably de-

termine, as Sweden’s National Board of Health and Welfare did, that “the risk of

puberty suppressing treatment with GnRH-analogues and gender-affirming hormo-

nal treatment currently outweigh the possible benefits.” Sweden Statement at 3.



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      Then there is the problem of informed consent—another issue Plaintiffs don’t

dwell on. But the rising tide of detransitioners who say the “consent” they gave when

they were younger was not informed shows that the Legislature did not have to ig-

nore the common-sense notion that children are not very good at determining their

future needs and desires.. As Corrina Cohn put it powerfully: “Adults who advocate

for adolescent transition do so without understanding what tradeoffs early transition

entails, which includes the loss of fertility, the likelihood of sexual dysfunction, and

the likelihood of surgical complication inflicted at an early age from elective proce-

dures. Unfortunately, I do understand some of these tradeoffs.” Cohn Decl. at 4.

      In short, the procedures regulated here are experimental at best and signifi-

cantly harmful at worst. The Legislature considered the limited evidence and made

express findings explaining its reasoning. See Act § 2. Then it concluded that the

risks of these experimental procedures outweighed their benefits, and that “the deci-

sion to pursue a course of hormonal and surgical interventions to address a discord-

ance between the individual’s sex and sense of identity should not be presented to

or determined for minors who are incapable of comprehending the negative impli-

cations and life-course difficulties attending to these interventions.” Id. § 2(16).

      Alabama’s regulation of certain experimental medical procedures—puberty

blockers, cross-sex hormones, and transition surgical interventions—on gender in-

congruent youth is thus directly related, and narrowly tailored, to the State’s interest



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in protecting children from harmful and experimental medical procedures. Notably,

given the State’s particular interest in protecting children, the State did not ban the

procedures for consenting adults (though it could have done that, too, given the med-

ical uncertainties and harms involved). Nor did it restrict other, safer, and more ef-

fective treatments for treating gender dysphoric, such as exploratory psychotherapy;

instead, it expressly protected those treatments. See Act § 6. Finally, the Act care-

fully exempts minors born with certain “medically verifiable disorder[s] of sex de-

velopment,” recognizing that these unique cases may involve different treatment

considerations. Act § 4(b).

      For these reasons, the Act is, at minimum, “substantially related to the

achievement of” the State’s important interests in protecting children and regulating

the medical profession. Nguyen, 533 U.S. at 60 (cleaned up); see id. at 70 (empha-

sizing that under intermediate scrutiny, a statute need not “be capable of achieving

its ultimate objective in every instance”). The Act does not discriminate based on

sex or gender identity, but even if it were read to, such “discrimination” would be

explained by the fact that boys and girls “are not similarly situated with regard to”

the experimental procedures here. Id. at 63. Because “a biological difference” would

underlie any “imposition of a different set of rules,” those rules would be “neither

surprising nor troublesome from a constitutional perspective.” Id. at 63-64. Espe-

cially in a field like this, “fraught with medical and scientific uncertainties,” the



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State’s “latitude must be especially broad.” Andino, 141 S. Ct. at 10 (2020) (Ka-

vanaugh, J., concurring). The Act easily passes even heightened scrutiny.

II.   Parents Have No Substantive Due Process Right To Obtain Experimental
      Medical Procedures For Gender Transition Purposes.

      Plaintiffs’ lead argument is that the Act “violates the fundamental right of the

Parent Plaintiffs to obtain essential medical care for their children.” Br., Doc. 8 at

19. But the medical interventions Plaintiffs label “essential” are experimental at best

and outright harmful at worst. And even assuming the interventions could be bene-

ficial when applied correctly (something Plaintiffs cannot establish), there is cur-

rently no way for doctors—or the children themselves, or the children’s parents—to

predict with any degree of accuracy who would be a good candidate for the treat-

ments. We know, however, that the majority of gender dysphoric youth are not good

candidates since their dysphoria will resolve by the time they reach adulthood. Plain-

tiffs’ desire for experimental treatments cannot outweigh the Legislature’s determi-

nation that, for now at least, there is insufficient evidence to conclude that the bene-

fits of the treatments outweigh the long-term risk they pose to vulnerable children.

That policy determination is due deference from this Court, particularly since the

Act implicates no recognized substantive due process right.

      Indeed, courts of appeals have universally rejected claims—even by termi-

nally ill patients—that there is a substantive-due-process right to experimental med-

ical procedures. There is thus no question that the children here have no substantive


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due process right to experimental gender-transition procedures. Instead, Plaintiffs

claim that parents have a substantive due process fundamental right to access exper-

imental gender-transition procedures for their children. Because there is no right of

affirmative access to experimental gender-transition procedures in the first place,

parents have no right to access experimental gender-transition procedures for their

children. See Doe By & Through Doe v. Pub. Health Tr. of Dade Cty., 696 F.2d 901,

903 (11th Cir. 1983) (holding that the parent’s “rights to make decisions for his

daughter can be no greater than his rights to make medical decisions for himself”).

      In any event, Plaintiffs identify no history or tradition remotely like this right,

instead relying on a few decades-old cases mainly involving the ability of parents to

choose how to educate their children. Subjecting every government regulation of

experimental childhood medicine to strict scrutiny is nothing like that. There is no

fundamental liberty interest in obtaining specific medical procedures for children—

and especially not experimental ones used for gender transition purposes.

      A.     No Substantive Due Process Right Exists to Access Experimental
             Medical Procedures.

      “A fundamental right is one that is explicitly or implicitly guaranteed by the

Constitution.” Morrissey v. United States, 871 F.3d 1260, 1268 (11th Cir. 2017)

(cleaned up). “[O]n its face,” “the Due Process Clause guarantees no substantive

rights, but only (as it says) process.” Echols v. Lawton, 913 F.3d 1313, 1326 (11th

Cir. 2019) (cleaned up). “For that reason, the Supreme Court has been reluctant to


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expand the concept of substantive due process.” Id. Courts must “exercise the utmost

care whenever we are asked to break new ground in this field, lest the liberty pro-

tected by the Due Process Clause be subtly transformed into the policy preferences

of the members of” the judiciary. Doe v. Moore, 410 F.3d 1337, 1343 (11th Cir.

2005) (cleaned up).

      Courts “analyze a substantive due process claim by first crafting a careful de-

scription of the asserted right.” Id. (cleaned up). “[A] careful description of the fun-

damental interest at issue here allows [courts] to narrowly frame the specific facts

before us so that we do not stray into broader constitutional vistas than are called for

by the facts of the case at hand.” Id. at 1344. Once the right has been carefully de-

fined, courts analyze whether the claimed right is “(1) ‘objectively, deeply rooted in

this Nation’s history and tradition’ and (2) ‘implicit in the concept of ordered liberty,

such that neither liberty nor justice would exist if [it] were sacrificed.’” Williams v.

Att’y Gen. of Ala., 378 F.3d 1232, 1242 (11th Cir. 2004) (quoting Glucksberg, 521

U.S. at 721).

      As just shown, the procedures regulated here are experimental. Plaintiffs do

not argue that a child has a personal substantive due process right to experimental

gender-transition procedures. There is no such right. “The mere novelty of such a

claim is reason enough to doubt that ‘substantive due process’ sustains it; the alleged

right certainly cannot be considered so rooted in the traditions and conscience of our



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people as to be ranked as fundamental.” Reno v. Flores, 507 U.S. 292, 303 (1993)

(cleaned up). Federal courts of appeal have spoken with one voice in rejecting claims

of affirmative access to medical procedures and treatments. Abigail All. for Better

Access to Developmental Drugs v. von Eschenbach, 495 F.3d 695, 710 n. 18 (D.C.

Cir. 2007) (en banc) (“No circuit court has acceded to an affirmative access claim.”).

      For instance, the Eleventh Circuit rejected the assertion of “a fundamental

right to father a child through the use of advanced IVF procedures.” Morrissey, 871

F.3d at 1269. The court first rejected the plaintiff’s effort to describe the right as a

“fundamental right to reproduce.” Id. at 1268. “The pertinent question,” according

to the court, “is not whether the Constitution protects a right to ‘procreation’ gener-

ally,” “but rather, more specifically, whether a man has a fundamental right to pro-

create via an IVF process that necessarily entails the participation of an unrelated

third-party egg donor and a gestational surrogate.” Id. at 1269.

      The court emphasized that the procedures are “decidedly modem phenom-

ena,” for “it wasn’t until the mid to late 1980s that doctors began to use gestational

surrogates in conjunction with IVF procedures.” Id. Thus, these procedures lacked a

“deep rooting” in “this Nation’s history and tradition.” Id. (cleaned up). “Particularly

in view of the ethical issues” and “ongoing political dialogue about those issues,”

the court declined to recognize a new fundamental right that would “place the matter

outside the arena of public debate and legislative action.” Id. at 1270 (cleaned up).



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      All other circuits to reach the issue agree that there is no affirmative right to

particular medical treatments. The en banc D.C. Circuit has held that there is not “a

right to procure and use experimental drugs that is deeply rooted in our Nation’s

history and traditions.” Abigail All., 495 F.3d at 711. The Constitution does not af-

ford even “terminally ill patients a right of access to experimental drugs that have

passed limited safety trials but have not been proven safe and effective.” Id. at 697;

see also Raich v. Gonzales, 500 F.3d 850, 864 (9th Cir. 2007) (Despite a “long his-

tory of use,” medical marijuana was not “deeply rooted in this Nation’s history and

tradition” or “implicit in the concept of ordered liberty.”); Rutherford v. United

States, 616 F.2d 455, 456 (10th Cir. 1980) (rejecting terminally ill cancer patients’

claim for the right “to take whatever treatment they wished regardless of whether

the FDA regarded the medication as ‘effective’ or ‘safe.”’).

      In sum, no fundamental right to access particular medical procedures exists.

A “claim of a right of access to experimental drugs [and surgeries] is subject only to

rational basis scrutiny.” Abigail All., 495 F.3d at 712.

      B.     Parents Have No Substantive Due Process Right to Obtain
             Experimental Gender Transition Procedures for Their Children.

      Seeking to avoid the above precedent, Plaintiffs say that their asserted right is

not the child’s but instead “the fundamental right of the Parent Plaintiffs to obtain

essential medical care for their children” Br., Doc. 8 at 27. But parents cannot have

a stronger right to obtain experimental medical procedures than their children would


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have to access those procedures. And both the Supreme Court and the Eleventh Cir-

cuit demand that the relevant right be “carefully defined.” Plaintiffs here do not come

close to offering such a careful definition, much less show that any carefully defined

right is deeply rooted in history or tradition.

        First, a right on the parent’s part could exist only if the child has a right to

access experimental medical interventions. The parent’s parental-rights claim is “de-

rivative from, and therefore no stronger than” the child’s claim. Whalen v. Roe, 429

U.S. 589, 604 (1977). As shown above, there is no individual fundamental right to

access experimental gender-transition procedures. And the Eleventh Circuit has

squarely held in the medical decision-making context that the parent’s “rights to

make decisions for his daughter can be no greater than his rights to make medical

decisions for himself.” Doe, 696 F.2d at 903. Because neither parent nor child has

the right to access particular medical procedures, a parent does not have the right to

obtain that treatment for the child.64

        Second, Plaintiffs make no effort to carefully define their novel right or show

that the right is deeply rooted in history and tradition. “Although the text of the


64
   At one point, Plaintiffs suggest that their novel parental right is limited to instances when the
parent’s decision is “recommended to the Parent Plaintiffs as appropriate for their children by their
medical providers” and recognized by an assortment of cherry-picked medical groups. Br., Doc. 8
at 29. The arbitrary nature of these limitations is illustrated by Plaintiffs’ omission of any limitation
based on the child’s own wishes. And the need for a court applying this unprecedented right to
investigate the views of (certain) medical providers and various interest groups as to the appropri-
ate procedures in a particular case counsels against the right. Nor do Plaintiffs explain why a
cherry-picked doctor’s advice is given weight while the government’s findings are not.

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Constitution contains no reference to familial or parental rights,” “Supreme Court

precedent” has long recognized that parents have a fundamental right to make certain

“decisions concerning the care, custody, and control of their children.” Lofton v.

Sec’y of Dep’t of Child. & Fam. Servs., 358 F.3d 804, 816 (11th Cir. 2004) (cleaned

up). Though “care, custody, and control” is a convenient shorthand, parents do not

have a right over everything bearing on a child’s care, custody, and control.

      Rather, the Supreme Court has made clear that “rights of parenthood” are “not

beyond regulation in the public interest.” Prince v. Massachusetts, 321 U.S. 158,

166 (1944). “[T]he state has a wide range of power for limiting parental freedom and

authority in things affecting the child’s welfare.” Id. at 167. “A democratic society

rests, for its continuance, upon the healthy, well-rounded growth of young people

into full maturity as citizens, with all that implies. It may secure this against imped-

ing restraints and dangers, within a broad range of selection.” Id. at 168. Though

parental consent “may lessen the likelihood that some evils the legislation seeks to

avert will occur,” consent “cannot forestall all of them. Id. at 169. States may pro-

scribe activities for children—even without including exceptions for parental con-

sent—that they could not proscribe for adults. See id.

      Along these lines, Alabama prohibits minors from participating in many po-

tentially harmful activities that not even parental consent can render legally permis-

sible, from purchasing ephedrine (Ala. Code § 20-2-190) to renting watercraft before



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age 12 (Ala. Code § 33-5-51) to betting on horse and dog races (Ala. Code § 11-65-

44). Even a parent who thinks it would be better for the child to do some of these

things has no legal right to decide that the child can do them. In short, especially

where “psychological or physical injury” may be involved, “[p]arents may be free

to become martyrs themselves”—“[b]ut it does not follow they are free, in identical

circumstances, to make martyrs of their children.” Prince, 321 U.S. at 170.

      Under circuit precedent, courts must be “very reluctant to expand substantive

due process by recognizing new fundamental rights.” Doe, 410 F.3d at 1343. The

Eleventh Circuit has repeatedly refused to recognize new “alleged parental liberty

interests” in “the murky area of unenumerated constitutional rights.” Robertson, 420

F.3d at 1256. Robertson refused to recognize “a right to companionship with an adult

child.” Id. at 1258. In Lofton, the Eleventh Circuit “decline[d] appellants’ invitation

to recognize a new fundamental right to family integrity for groups of individuals”:

“Such an expansion of the venerable right of parental control would well exceed our

judicial mandate as a lower federal court.” 358 F.3d at 815.

      Plaintiffs do not even bother to articulate any carefully defined right. “[T]he

scope of the liberty interest at stake here must be defined in reference to the scope

of the Alabama statute.” Williams, 378 F.3d at 1241. The Act prohibits certain med-

ical interventions on children for transitioning genders. The carefully defined right




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then, as claimed by Plaintiffs, is for a parent to obtain for a child experimental med-

ical procedures for transitioning that child’s gender.

      The next question is whether Plaintiffs have shown that such a right is both

“objectively, deeply rooted in this Nation’s history and tradition” and “implicit in

the concept of ordered liberty.” Id. at 1242. Asking the question answers it. Obtain-

ing gender-transition procedures is not deeply rooted in America’s traditions or re-

quired for the functioning of a just society, and Plaintiffs make no effort show oth-

erwise. Among other things, like the IVF procedures in Morrissey, these procedures

are “decidedly modern phenomena.” 871 F.3d at 1269; see Compl., Doc. 1 ¶ 29.

That is particularly true when it comes to their application to children—something

that is still being studied, and hotly debated, around the world. See supra at pp. 39-

49, 58-64. “Particularly in view of the ethical issues” and “ongoing political dialogue

about those issues,” this Court should not recognize a new fundamental right that

would “place the matter outside the arena of public debate and legislative action.”

Morrissey, 871 F.3d at 1270.

      Plaintiffs assert that “[a] parent’s ability to seek and obtain appropriate medi-

cal treatment to ensure the health and wellbeing of their child is a … fundamental

right.” Br., Doc. 8 at 28. Putting aside that this is not a careful description of the

claimed right and says nothing about history or tradition, the only case Plaintiffs cite

for this proposition only supports the State’s argument. In Bendiburg v. Dempsey,



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the Eleventh Circuit made clear that “[p]arental autonomy may be limited when pa-

rental decisions jeopardize the health or safety of a child, and the state can intercede

on the child’s behalf.” 909 F.2d 463, 470 (11th Cir. 1990). Here, as shown above,

Alabama’s law seeks to protect children from experimental medical procedures. The

Parent Plaintiffs are unlikely to succeed on their substantive due process claim.65

III.   The Law Is Not Void For Vagueness.

       Plaintiffs’ vagueness challenge rests on the claim that the word “causes” lacks

“sufficient definiteness.” Compl., Doc. 1 ¶ 131. Plaintiffs argue that “the Act fails to

provide any standard to determine what an individual must do to ‘cause’” a particular

result. Br., Doc. 8 at 47; see id. at 48 (“‘Cause’ has an incredibly broad definition.”).

If basic causation requirements are void for vagueness, then much of American law

is unconstitutionally vague.

       Vagueness arises when a law either “fails to provide a person of ordinary in-

telligence fair notice of what is prohibited” or “is so standardless that it authorizes

or even encourages seriously discriminatory enforcement.” United States v. Wil-

liams, 553 U.S. 285, 304 (2008). The Act here provides that, absent exception, “no

person shall engage in or cause any of the following practices to be performed upon

a minor if the practice is performed for the purpose of attempting to alter the


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  Plaintiffs’ meritless suggestion that the law bars “seeking expert medical advice” (Br., Doc. 8 at
29) is addressed below. The law, like many criminal laws, only implicates conduct that causes a
crime.

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appearance of or affirm the minor’s perception of his or her gender or sex, if that

appearance or perception is inconsistent with the minor’s sex.” § 4. Covered prac-

tices are “[p]rescribing or administering” various drugs, “[p]erforming” certain “sur-

geries,” and “[r]emoving any healthy or non-diseased body part or tissue.” Id.

      Plaintiffs challenge only the word “cause.” This challenge fails, for multiple

reasons. First, a vagueness challenge may be raised only “as a defense during an

actual prosecution” or if an individual is being “chilled from engaging in constitu-

tional activity.” Bankshot Billiards, Inc. v. City of Ocala, 634 F.3d 1340, 1349–50

(11th Cir. 2011). As shown above, neither is true here.

      Second, “[t]o succeed on a claim that an ordinance is void for vagueness, ‘the

complainant must demonstrate that the law is impermissibly vague in all of its ap-

plications.’” Stardust, 3007 LLC v. City of Brookhaven, 899 F.3d 1164, 1176 (11th

Cir. 2018) (quoting Vill. of Hoffman Estates v. Flipside, Hoffman Ests., Inc., 455

U.S. 489, 497 (1982)). A “corollary of this rule is that ‘[a] plaintiff who engages in

some conduct that is clearly proscribed cannot complain of the vagueness of the law

as applied to the conduct of others.” Id. (quoting Hoffman Ests., 455 U.S. at 495)

(alteration in original). Here, there is no question that Plaintiffs seek the right for

their doctors to violate the law’s core prohibition on prescribing puberty suppressors

and hormones for the purpose of changing gender. See, e.g., Compl., Doc. 1 ¶¶ 58

(“Continuing to receive puberty-blockers … is essential for Zachary’s mental



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health”), 65-66 (plaintiff’s estrogen “will be disrupted”), 73-74 (plaintiff’s “hor-

mone replacement therapy” “will be disrupted”); 76 (“[Dr. Koe] and her staff pro-

vide support to patients who need assistance in self-administering injectable medi-

cations like testosterone.”). This is the heartland conduct prohibited by the law, so

Plaintiffs’ vagueness claims fails at the outset.

      Third, there is no impermissible vagueness in the term “engage in or cause.”

The same phrase litters American criminal codes—and has for centuries. Take Ala-

bama’s criminal conspiracy statute: “A person is guilty of criminal conspiracy if,

with the intent that conduct constituting an offense be performed, he agrees with one

or more persons to engage in or cause the performance of such conduct.” Ala. Code

§ 13A-4-3 (emphasis added); see also, e.g., United States v. Rabinowich, 238 U.S.

78, 88 (1915) (common law definition, “[f]or two or more to confederate and com-

bine together to commit or cause to be committed a breach of the criminal laws”).

The State is unaware of any decision suggesting that this term is so vague that every

criminal statute using it is unconstitutional.

      Plaintiffs present no actual argument about why this term is vague. Instead,

they ignore the first half of the term (“engage in”) and then provide a laundry list of

hypotheticals that are supposedly challenging. Br., Doc. 8 at 48; see id. at 43. As

shown next, Alabama law speaks to their hypotheticals. But more fundamentally,

Plaintiffs’ “basic mistake”—explained by their own case—“lies in the belief that the



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mere fact that close cases can be envisioned renders a statute vague.” Williams, 553

U.S. at 305. “That is not so. Close cases can be imagined under virtually any statute.”

Id. at 305-06. “What renders a statute vague is not the possibility that it will some-

times be difficult to determine whether the incriminating fact it establishes has been

proved; but rather the indeterminacy of precisely what that fact is.” Id. at 306.

      For instance, courts have “struck down statutes that tied criminal culpability

to whether the defendant’s conduct was ‘annoying’ or ‘indecent’—wholly subjective

judgments without statutory definitions, narrowing context, or settled legal mean-

ings.” Holder v. Humanitarian L. Project, 561 U.S. 1, 20 (2010). And courts have

upheld phrases like “crimes against nature,” holding that phrase “no more vague

than many other terms used to describe criminal offenses at common law and now

codified in state and federal penal codes.” Rose v. Locke, 423 U.S. 48, 50 (1975).

      Plaintiffs appear to concede that the statute clearly defines what practices are

prohibited. Whether a person “engages in” those practices “for the purpose” of tran-

sitioning a child’s gender is a “clear question[] of fact,” “a true-or-false determina-

tion.” Williams, 553 U.S. at 306.

      Plaintiffs’ primary complaint is about “cause,” and their hypotheticals are

founded on first-year law school musings about causation. But the Alabama Code

answers which form of causation matters: “A person is criminally liable if the result

would not have occurred but for his conduct, operating either alone or concurrently



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with another cause, unless the concurrent cause was sufficient to produce the result

and the conduct of the actor clearly insufficient.” Ala. Code § 13A-2-5(a). This mod-

ified but-for test is the same used in “other modern criminal codes.” Id. Commentary.

“To be sure, it may be difficult in some cases to determine whether” this test has

“been met.” Williams, 553 U.S. at 306. “But courts and juries every day pass upon”

causation. Id.; id. at 304 (“[P]erfect clarity and precise guidance have never been

required.”). Indeed, courts consider “causation requirement[s]” as eliminating any

vagueness problem by adequately “put[ting] persons of ordinary intelligence on no-

tice” of the possibility of criminal sanctions. United States v. Matus-Leva, 311 F.3d

1214, 1219 (9th Cir. 2002). This law is not void for vagueness.66

       Moreover, under Alabama law, “[a] statute defining a crime, unless clearly

indicating a legislative intent to impose strict liability, states a crime of mental cul-

pability.” Ala. Code § 13A-2-4(b); contra Br., Doc. 8 at 49 (suggesting “no mens

rea requirement”). The Supreme Court “has made clear that scienter requirements

alleviate vagueness concerns.” Gonzales, 550 U.S. at 149-50. When “a doctor” per-

forming a practice “will not face criminal liability if he or she” engages in the prac-

tice “by mistake, the [law] cannot be described as a trap for those who act in good

faith.” Id. (cleaned up). Thus, the culpability required by this law, in addition to the


66
  Tellingly, “[P]laintiffs themselves have repeatedly used the term[]” “cause” without apparent
confusion as to its meaning. Holder, 561 U.S. at 22; see Compl., Doc. 1 ¶¶ 27, 29, 54, 66, 87; Br.,
Doc. 8 at 12, 13, 14, 15, 18, 23, 52 (Heading IV), 53, 54, 62 (Certificate of Service).

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law’s limitation based on “the purpose” for which the prohibited conduct was per-

formed, further undermine any vagueness challenge.

      The Alabama Code speaks to the Plaintiffs’ other hypotheticals too. Again,

Plaintiffs may not like what Alabama law says, and they may not like its “broad”

scope (Br., Doc. 8 at 29), but that does not make it indeterminate. “It is apparent with

respect to these [hypotheticals] that gradations of fact or charge would make a dif-

ference as to criminal liability, and so adjudication of the reach and constitutionality

of the statute must await a concrete fact situation.” Holder, 561 U.S. at 25 (cleaned

up). Regardless, Alabama law speaks to out-of-state conduct. Ala. Code § 13A-4-4.

It speaks to aiding-and-abetting liability. Ala. Code § 13A-2-23. And it speaks to the

absurd suggestion that the victim (a vulnerable child) would be prosecuted (Br., Doc.

8 at 43): “a person shall not be legally accountable for behavior of another constitut-

ing a criminal offense if” “[h]e is a victim of that offense.” Ala. Code § 13A-2-24.

      The Act thus also “establish[es] minimal guidelines to govern law enforce-

ment.” Gonzales, 550 U.S. at 150. Like the judiciary, law enforcement is used to

applying basic causation tests. And “scienter requirements narrow the scope of the

Act’s prohibition and limit prosecutorial discretion.” Id. Plaintiffs’ “arguments con-

cerning arbitrary enforcement, furthermore, are … speculative”: “This is a preen-

forcement challenge, where no evidence has been, or could be, introduced to indicate




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whether the Act has been enforced in a discriminatory manner or with the aim of

inhibiting constitutionally protected conduct.” Id. (cleaned up).

      In sum, one could substitute any other crime as the substantive core of Plain-

tiffs’ hypotheticals and have the same questions. And Plaintiffs do not challenge this

law’s substantive core—the prohibited practices spelled out by the text. Unless most

of American law is void for vagueness, the Act is not either.

IV.   Criminal Conduct Is Not Protected By The First Amendment.

      Plaintiffs’ thinly argued First Amendment claim is meritless for related rea-

sons. According to Plaintiffs, the Act “prohibit[s]” a person “from engaging in

speech.” Br., Doc. 8 at 43. But on its face, the Act makes it a crime for any person

to “engage in or cause any of [several practices]” for the purpose of gender transi-

tioning a minor. § 4(a). As Plaintiffs appear to concede (Br., Doc. 8 at 44), the only

“speech” that would be criminalized is speech that “causes” a crime—for example,

writing a prescription for an illegal use of a drug. See Act § 4(a)(1)-(3). Such speech

has no First Amendment protection. “Many long established criminal proscrip-

tions—such as laws against conspiracy, incitement, and solicitation—criminalize

speech (commercial or not) that is intended to induce or commence illegal activi-

ties.” Williams, 553 U.S. at 298. “[S]peech integral to criminal conduct” is one of

the “long recognized,” “well-defined and narrowly limited classes of speech, the

prevention and punishment of which have never been thought to raise any



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Constitutional problem.” United States v. Fleury, 20 F.4th 1353, 1365 (11th Cir.

2021). “[I]t has never been deemed an abridgement of freedom of speech or press to

make a course of conduct illegal merely because the conduct was in part initiated,

evidenced, or carried out by means of language, either spoken, written, or printed.”

Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949).

      Again, this law prohibits certain practices. The only speech incidentally crim-

inalized is speech that “causes”—as understood by well-established principles of

causation—those criminal practices. To say this law is “content-based” (Br., Doc. 8

at 44) underscores the point: “It is precisely because” “the content of [the] speech”

causes a crime that the speech is unprotected. Fleury, 20 F.4th at 1364. “Content-

based restrictions are permitted when they are confined to [this] categor[y] of

speech.” Id. at 1365; see Virginia v. Black, 538 U.S. 343, 361-62 (2003) (“When the

basis for the content discrimination consists entirely of the very reason the entire

class of speech at issue is proscribable, no significant danger of idea or viewpoint

discrimination exists.” (cleaned up)).

      As the Ninth Circuit explained, and by contrast, “[h]olding doctors responsi-

ble for whatever conduct the doctor could anticipate a patient might engage in after

leaving the doctor’s office is simply beyond the scope of either conspiracy or aiding

and abetting.” Conant v. Walters, 309 F.3d 629, 636 (9th Cir. 2002) (Br., Doc. 8 at

45). As discussed above, “engage in or cause” is a common formulation in



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conspiracy or aiding-and-abetting statutes. And the Act expressly provides that

“nothing in this act shall be construed as limiting or preventing psychologists, psy-

chological technicians, and master’s level licensed mental health professionals from

rendering the services for which they are qualified by training or experience involv-

ing the application of recognized principles, methods, and procedures of the science

and profession of psychology and counseling.” § 6. In the course of treating children

with gender dysphoria, practitioners remain free to pursue any model of treatment

except the experimental procedures barred by § 4. Even Plaintiff Koe understands

that, consistent with the Act, she could “refer[] [patients] to counseling and a psy-

chiatrist.” Koe Decl., Doc. 8-10 ¶ 11. A fortiori, a minister’s counsel “to seek medi-

cal care” (Br., Doc. 8 at 48) is even farther from the Act’s sweep.67

       Moreover, most of Plaintiffs’ parade of horribles come from the professional

context. Br., Doc. 8 at 43. But state authority to regulate professional speech—even

speech that is not criminal conduct—is well-established: “The First Amendment

does not prevent restrictions directed at commerce or conduct from imposing inci-

dental burdens on speech, and professionals are no exception to this rule.” Nat’l Inst.

of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2373 (2018) (cleaned up). State




67
  For that reason, Reverend Eknes-Tucker likely lacks standing. See Little v. Strange, 796 F. Supp.
2d 1314, 1329 (M.D. Ala. 2011) (“[I]f no credible threat of prosecution looms, the chill is insuffi-
cient to sustain the burden that Article III imposes, and a litigant’s subjective fear will not be held
to constitute an injury for standing purposes.” (cleaned up)).

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law may regulate speech “as part of the practice of medicine,” which is “subject to

reasonable licensing and regulation by the State.” Id.68

       Finally, Plaintiffs are unlikely to succeed on their First Amendment claim be-

cause they do not even try to show that the Act is substantially overbroad. “Over-

breadth is ‘strong medicine’ that courts should employ sparingly and only as a last

resort.” Cheshire Bridge Holdings, LLC v. City of Atlanta, 15 F.4th 1362, 1370 (11th

Cir. 2021) (cleaned up). An overbreadth plaintiff must “show that the overbreadth

of the challenged provisions is substantial, not only in an absolute sense, but also

relative to their plainly legitimate sweep.” Id. (cleaned up). Plaintiffs “bear the bur-

den of demonstrating from the text of the challenged provisions and from actual fact

that a substantial number of instances exist in which the provisions cannot be applied

constitutionally.” Id. at 1370-71 (cleaned up). “The mere fact that one can conceive

of some impermissible applications of a statute is not sufficient to render it suscep-

tible to an overbreadth challenge.” Fleury, 20 F.4th at 1362 (cleaned up). “Perfection

is not required to survive an overbreadth challenge—a law that shields most pro-

tected activity is permissible.” Cheshire Bridge, 15 F.4th at 1378

       Here, “the statute does not target speech; rather, it targets conduct.” Fleury,

20 F.4th at 1363. In that circumstance, courts generally “decline[] to employ the



68
  In Brandt v. Rutledge, the district court focused on a provision expressly prohibiting referrals.
551 F. Supp. 3d 882, 893 (E.D. Ark. 2021). The law here has no such provision.

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‘strong medicine’ of overbreadth.” Id. Plaintiffs do not mention the overbreadth doc-

trine, much less try to carry their burden of showing overbreadth. Their examples

(Br., Doc. 8 at 43) either misunderstand the Act’s causation requirement or involve

unprotected speech that causes criminal conduct. In other words, they have not iden-

tified a single unconstitutional application, much less a substantial number. Plaintiffs

are not likely to succeed on their First Amendment claim.

V.    Plaintiffs’ Preemption Claim Fails.

      Section 1557 of the ACA provides that “an individual shall not, on the ground

prohibited under” various civil rights statutes “be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under, any health program

or activity, any part of which is receiving Federal financial assistance….” 42 U.S.C.

§ 18116(a). The only incorporated statute relevant here is Title IX, which generally

prohibits educational programs from discriminating “on the basis of sex.” 20 U.S.C.

§ 1681. Plaintiffs contend that Alabama’s Act will cause healthcare providers to vi-

olate Section 1557, and that the federal law thus preempts the Act. But this argument

fails several times over because (1) Plaintiffs have no cause of action by which to

raise it, (2) the Act does not require unlawful discrimination, and (3) even if it did,

there is still no preemption. Indeed, Plaintiffs have cited no case in which a court has

found preemption based on either Section 1557 or the non-discrimination funding

provisions it cross-references.



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      First, this claim fails because Congress never gave Plaintiffs a right to raise it.

Plaintiffs purport to state a “Preemption” claim, Compl., Doc. 1 at 30, presumably

invoking the Constitution’s Supremacy Clause. But “the Supremacy Clause is not

the source of any federal rights, and certainly does not create a cause of action.”

Armstrong v. Exceptional Child Ctr., 575 U.S. 320, 324-25 (2015) (internal quota-

tion marks and citations omitted). Thus, Plaintiffs must look to Section 1557 itself.

But while Section 1557(a) provides that “[t]he enforcement mechanisms provided

for and available under … title IX … shall apply for purposes of violations of” Sec-

tion 1557’s nondiscrimination bar, 42 U.S.C. § 18116(a), that provision does not

authorize this suit. Title IX provides only an implied cause of action, and when the

Supreme Court recognized that cause of action, it spoke only of a “private cause of

action for victims of the prohibited discrimination.” Cannon v. Univ. of Chicago,

441 U.S. 677, 703 (1979). Thus, Title IX’s private cause of action allows a victim

of discrimination in education to sue the government actor that discriminated, and

Section 1557 (at most) allows a patient to sue a healthcare provider that discrimi-

nates in the provision of healthcare. But there is no reason to think that Section 1557

gives patients, much less healthcare providers, the right to sue law enforcement of-

ficials like the Defendants here, who do not operate the “health program or activity”

from which patients fear they will be excluded. 42 U.S.C. § 18116(a).




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      Second, Plaintiffs’ argument hinges on their claim that the Act constitutes

“discrimination based on sex.” Br., Doc. 8 at 50. As shown above, that is wrong. The

Act does not discriminate based on sex or transgender status. It regulates certain

experimental procedures used for transitioning a child’s gender. Both males and fe-

males may or may not seek those procedures. And both those who identify as

transgender and those who do not may or may not seek those procedures. Because

the Act does not discriminate based on sex or transgender status, Plaintiffs’ preemp-

tion argument fails out of the gate.

      Third, the Act does not discriminate based on sex as that term is used in Title

IX for an independent reason: Title IX’s prohibition on sex discrimination does not

apply to discrimination based on transgender status. At the time of enactment, Title

IX’s reference to “sex” was universally “understood as referring to the traditional

biological indicators that distinguish a male from a female, not the person’s internal

sense of being male or female, or their outward presentation of that internally felt

sense.” Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 632 (4th Cir. 2020) (Nie-

meyer, J., dissenting); see Bostock, 140 S. Ct. at 1738 (focusing on “the ordinary

public meaning of [a statute’s] terms at the time of its enactment”). “[T]hat the word

‘sex’ in Title IX refers to biological characteristics, not gender identity, becomes all

the more plain when one considers the privacy concerns that explain why, in the first

place, Title IX and its regulations allow schools to provide separate living facilities,



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restrooms, locker rooms, and shower facilities ‘on the basis of sex.’” Grimm, 972

F.3d at 633 (Niemeyer, J., dissenting); Adams, 3 F.4th at 1321 (Pryor, C.J., dissent-

ing) (“[C]ontext matters”). Just like Alabama’s Act, then, Title IX recognizes that

there are biological differences between the sexes. It would turn Title IX upside

down to say that gender identity is equivalent to the sex discrimination it forbids.

Title IX cannot mean that states must turn a blind eye to biological realities.

      Last, in any event, Plaintiffs misunderstand preemption law. They assert only

“conflict preemption” but fail to acknowledge that “[a] party asserting conflict

preemption faces a high bar”: “In all pre-emption cases, and particularly in those in

which Congress has legislated in a field which the States have traditionally occu-

pied”—like health and safety—courts “start with the assumption that the historic

police powers of the States were not to be superseded by the Federal Act unless that

was the clear and manifest purpose of Congress.” Graham v. R.J. Reynolds Tobacco

Co., 857 F.3d 1169, 1186 (11th Cir. 2017) (en banc). That is because “[s]tate gov-

ernments retain their historic police powers to protect public health.” Id. at 1190.

      “Thus, if the statute’s terms can be read sensibly not to have a pre-emptive

effect, the presumption controls and no pre-emption may be inferred.” Fla. E. Coast

Ry. Co. v. City of W. Palm Beach, 266 F.3d 1324, 1328 (11th Cir. 2001) (cleaned

up). And “[w]hen Congress has considered the issue of pre-emption and has included

in the enacted legislation a provision explicitly addressing that issue, and when that



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provision provides a reliable indicium of congressional intent with respect to state

authority, there is no need to infer congressional intent to pre-empt state laws from

the substantive provisions of the legislation.” Graham, 857 F.3d at 1189.

      Here, Congress expressly provided in the ACA a statement of its preemptive

intent, entitled “No interference with State regulatory authority”: “Nothing in this

title shall be construed to preempt any State law that does not prevent the application

of the provisions of this title.” 42 U.S.C. § 18041(d).

      Both this express admonition and the default presumption against preemption

shed light on Section 1557. That section places conditions on “Federal financial as-

sistance” for “any health program or activity.” 42 U.S.C. § 18116(a); see Cummings

v. Premier Rehab Keller, PLLC, No. 20-219, 2022 WL 1243658, at *3 (U.S. Apr.

28, 2022) (explaining that Section 1557 “prohibit[s] recipients of federal financial

assistance from discriminating based on” certain grounds). But Section 1557 does

not create a federal right to those funds if the conditions are followed. Plaintiffs’

various phrasings of the supposed conflict elide this point. For instance, they say that

“states may not impose criminal penalties or hold a civil defendant liable under state

law for conduct federal law requires.” Br., Doc. 8 at 49 (cleaned up). But federal law

does not require them or give them a right to receive federal monies.

      By analogy, consider the Eleventh Circuit’s en banc decision in Graham.

There, cigarette manufacturers argued for preemption of state law based on their



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cigarettes’ compliance with “a handful of federal labeling requirements.” Id. at 1191.

The court rejected this argument, distinguishing between “a rule that requires a cer-

tain label when and if cigarettes are sold” and “Congress establish[ing] a right to sell

cigarettes.” Id. at 1188, 1191 (emphasis added). States could impose limitations on

cigarette labels—or even “mak[e] it a crime to sell cigarettes”—notwithstanding

compliance with federal labeling law. Id. at 1190.

      The same analysis applies here. Section 1557 does not give the Doctor Plain-

tiffs any rights at all. It merely imposes “a condition on the grant of federal moneys.”

Cummings, 2022 WL 1243658, at *5. A state law regulating Plaintiffs cannot impede

a federal right that they do not have. Because “the statute’s terms can be read sensi-

bly not to have a pre-emptive effect, the presumption [against preemption] controls

and no pre-emption may be inferred.” Fla. E. Coast Ry. Co., 266 F.3d at 1328.

      Ignoring this text, Plaintiffs seek refuge in their claim that “the overall goal of

the ACA” is “to broaden access to healthcare in the United States.” Br., Doc. 8 at

52. But “[a]s the Supreme Court and [the Eleventh Circuit] have explained, purpose-

driven statutory interpretation at the expense of specific provisions ignores the com-

plexity of the problems Congress is called upon to address and the dynamics of leg-

islative action.” Myers v. TooJay’s Mgmt. Corp., 640 F.3d 1278, 1286 (11th Cir.

2011) (cleaned up). Like every piece of legislation, the ACA is a compromise. It

does not give healthcare providers who comply with its conditions on federal



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funding an unfettered right to operate free of state regulation. In fact, its statutory

command is the opposite. 42 U.S.C. § 18041(d) (“No interference with State regu-

latory authority”). And the Court’s “job is to follow the text even if doing so will

supposedly undercut a basic objective of the statute.” Villarreal v. R.J. Reynolds

Tobacco Co., 839 F.3d 958, 969 (11th Cir. 2016) (cleaned up). Thus, for this and the

other reasons above, Plaintiffs are not likely to succeed on their preemption claim.

VI.      Plaintiffs’ Challenge To The Entire Act Cannot Succeed.

         Plaintiffs apparently demand “that this Court enjoin the State from imple-

menting Act [sic]” in toto. Br., Doc. 8 at 58. This demand suffers from numerous

flaws.

         First, they make no argument whatsoever as to Section 5, which regulates ed-

ucators. Their complaint is silent on the provision, and none of the Plaintiffs has

established standing to challenge that provision. Nor does any Private Plaintiff ap-

pear to challenge (or establish standing to challenge) the Act’s regulation of gender-

transition surgeries. See Act § 4(a)(4)-(6).

         Next, the Act requires every aspect of the Act to stand if any other “part, sec-

tion, or subsection” “is held invalid.” Act § 8. “Severability is a matter of state law,”

and “Alabama directs courts to strive to uphold acts of the legislature.” McGuire v.

Strange, 83 F. Supp. 3d 1231, 1270 (M.D. Ala. 2015) (cleaned up). Here, “the Ala-

bama Legislature expressed its intention that [the Act’s provisions be severable



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through the inclusion of a severability clause.” Id. Both Section 5 and the surgery

regulations “can be given effect” alone, so they must “remain[] intact and in force.”

McGuire, 83 F. Supp. 3d at 1270 (cleaned up).

      Last, Plaintiffs’ facial challenge is unlikely to succeed. Despite focusing on

the Act’s application to a handful of individuals, Plaintiffs apparently seek facial

invalidation. See Br., Doc. 8 at 58; Compl. Request for Relief, Doc. 1. But “[a] facial

challenge to a legislative Act is, of course, the most difficult challenge to mount

successfully.” United States v. Salerno, 481 U.S. 739, 745 (1987). To succeed, Plain-

tiffs must show “that the law is unconstitutional in all of its applications.” Wash.

State Grange v. Wash. State Republican Party, 552 U.S. 442, 449 (2008).

      Plaintiffs have not even attempted to meet this high bar. As shown above,

Alabama has a compelling interest in promoting child safety, e.g., Ferber, 458 U.S.

at 756-57, and Plaintiffs’ limited evidence about a handful of minors says nothing

about the circumstances and appropriate treatments for all children in Alabama.

Moreover, Plaintiffs focus on the supposed “safety and efficacy” of these experi-

mental procedures “for treating gender dysphoria in adolescents,” Br., Doc. 8 at 34

(emphasis added), but the Act applies to and protects younger children too. And

Plaintiffs’ claims about adolescents depend on “appropriate[] identifi[cation], diag-

nos[is], and prescribed treatment.” Id. At 28. So even on Plaintiffs’ view, the Act

would be constitutional in at least some applications—especially procedures



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 performed outside the alleged “protocols” hyped by Plaintiffs. For example, none of

 Plaintiffs’ evidence supports giving cross-sex hormones to a 16-year-old girl who

 has not been diagnosed with gender dysphoria “for the [sole] purpose of attempting

 to alter [her] appearance of … her gender or sex.” Act § 4(a). Because, at minimum,

 there are numerous constitutional applications of the Act, Plaintiffs cannot success-

 fully mount a facial challenge.

VII.   The Other Preliminary Relief Factors Favor The State.

       Even if Plaintiffs could show a likelihood of success on the merits, they are

 not entitled to an injunction. First, Plaintiffs’ inequitable conduct in shopping for

 judges instead of pursuing timely adjudication bars equitable relief. A temporary

 restraining order or preliminary injunction is extraordinary relief that cannot be

 granted in equity to parties who have abused the judicial process. Here, as detailed

 below, it would blink reality to pretend that Plaintiffs’ counsel’s conduct—filing

 duplicative lawsuits, agreeing to consolidation, then immediately dismissing the

 suits after assignment to this Court and telling the media they planned to “refile im-

 minently”—is anything other than blatant manipulation of the judicial process.

 Those who engage in such misconduct are disentitled to equitable relief.

       In any event, Plaintiffs have failed to clearly show that the other injunction

 factors are in their favor. Plaintiffs’ delay in bringing suit undermines any claim of

 irreparable harm. The Doctor Plaintiffs certainly face no irreparable harm, merely a



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potential loss of profits. Though Plaintiffs claim that minors will face distress if the

Act’s regulations go into effect, that claim ignores the evidence that not only do the

prohibited procedures have no proven benefit, they inflict significant and potentially

irreversible harm. The Act permits and indeed encourages other, widely accepted

treatments for gender dysphoria. Should the Act be enjoined, untold numbers of chil-

dren face lasting harm and irreversible damage to their bodies. This Court should

not second-guess the Legislature’s determination that these harms justify the Act.

      A.     Plaintiffs’ Inequitable Conduct Bars Preliminary Relief.

      This Court may deny preliminary relief based solely on Plaintiffs’ inequitable

conduct. A “contrivance to interfere with the judicial assignment process constitutes

a threat to the orderly administration of justice.” In re BellSouth Corp., 334 F.3d

941, 959 (11th Cir. 2003). Plaintiffs’ attorneys have been consumed by one goal

from the outset, and it is not obtaining a timely adjudication of their motion to enjoin

a duly enacted State law. It is shopping for the judge they want. Given their delay in

moving for preliminary relief while they tried to manipulate the judicial assignment

process, it is evident that they prefer no adjudication to a timely adjudication before

this Court. That conduct forecloses preliminary equitable relief.

      “Injunctive relief is an equitable remedy that is not available as a matter of

right.” Williams v. Allen, 496 F.3d 1210, 1212 (11th Cir. 2007). Rather, “[t]he grant

of equitable relief, such as an injunction, is a matter of judicial discretion.” CNA Fin.



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Corp. v. Brown, 162 F.3d 1334, 1337 (11th Cir. 1998). In exercising that discretion,

“[i]t is a bedrock principle of courts of equity that they may impose the substantive

remedy of injunctive relief only when fundamental fairness and justice demand it.”

Coral Springs St. Sys., Inc. v. City of Sunrise, 371 F.3d 1320, 1340 (11th Cir. 2004).

      Thus, “[e]quity must take into consideration” both “the State’s strong interest

in” enforcing its law and “attempts to manipulate the judicial process.” Gomez v.

U.S. Dist. Ct. for N. Dist. of Cal., 503 U.S. 653, 654 (1992). A court’s equitable

powers “can never be exerted in behalf of one who has acted fraudulently or who by

deceit or any unfair means has gained an advantage.” Coral Springs, 371 F.3d at

1341. There is a “strong presumption against the grant of dilatory equitable relief.”

Grayson, 491 F.3d at 1326. “[F]ederal courts can and should protect States from

dilatory or speculative suits.” Hill v. McDonough, 547 U.S. 573, 584-85 (2006).

         1.     Plaintiffs Engaged in Dilatory, Manipulative Judge-Shopping.

      The primary goal of Plaintiffs’ counsel has not been a timely adjudication of

their claims. It has been to manipulate the assignment process in an effort to find a

judge they prefer. The first step in Plaintiffs’ judge-shopping was to file in federal

court. Kaitlin Welborn, an ACLU Alabama attorney who signed the parallel Walker

complaint, gave a podcast interview on April 15 in which she was asked whether




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litigation in Alabama “specifically presents” any “challenges.”69 She was blunt: “We

can’t go through the Alabama state courts. We can only go through federal court. In

Alabama, where you have people, the likes of Roy Moore, who used to be on Ala-

bama Supreme Court, that’s really just not an option for us.”70

        The next step was to file near-identical complaints in two districts, enabling

them to drop whichever one was assigned to a judge they disliked. See Ladinsky v.

Ivey, No. 5:22-cv-447 (N.D. Ala. 2022 filed April 8, 2022); Walker v. Marshall, No.

22-cv-480 (M.D. Ala. filed April 11, 2022). This is a common judge-shopping tactic.

See, e.g., In re Fieger, 191 F.3d 451 (6th Cir. 1999) (table op.) (involving similar

manipulation); Barragan v. Clarity Servs., Inc., No. 22-cv-876, 2021 WL 1226537,

at *7 (D. Nev. Mar. 31, 2021) (same); Murray v. Sevier, No. 92-1073-K, 1992 WL

75212, at *1 (D. Kan. Mar. 13, 1992) (same).

       In a further effort to game the assignment process, the attorneys in the Walker

case claimed it was “related” to an unrelated (closed) case presided over by Judge

Thompson. See Walker Doc. 1-1. The Middle District’s clerk office assigned the

case to Chief Judge Marks. So before even moving for a TRO and preliminary in-

junction, the attorneys filed an extraordinary motion to reassign Walker to Judge




69
   What a Day Podcast, Defending Trans Youth in Alabama, https://podcasts.apple.com/us/pod-
cast/defending-trans-youth-in-alabama/id1483692776?i=1000557682349 (April 15, 2022).
70
   Id.

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Thompson, invoking the same closed case about Alabama’s procedures for changing

the sex designation on a driver’s license. Walker Doc. 8; see Walker Doc. 17 at 1.

       Chief Judge Marks ordered the parties to show cause why Walker should not

be transferred to the Northern District, where Ladinsky had already been filed.

Walker Doc. 3. The Walker Plaintiffs consented to the transfer and withdrew their

motion to reassign the case to Judge Thompson. Walker Doc. 18. At 4:20 pm on

April 15, all Plaintiffs consented to consolidation of the cases in the Northern Dis-

trict, where Judge Axon had been assigned Ladinsky. See Ex. 40, Decl. of Edmund

G. LaCour Jr. at 3. Ladinsky Docs. 2, 11. Twenty-one minutes later, the consolidated

cases were reassigned to Judge Burke. Ladinsky Doc. 16. Within two hours, each set

of Plaintiffs’ attorneys voluntarily dismissed their suit, the Walker Plaintiffs at 6:24

pm and the Ladinsky Plaintiffs 9 minutes later. See Walker Doc. 24 at 2-3.

       Plaintiffs’ lead attorney here quickly reassured the media: “We do plan to re-

file imminently.”71 Sure enough, a few days later, the last step of Plaintiffs’ judge-

shopping finally arrived: refiling in the Middle District in an attempt to obtain a new

judge. All 17 attorneys listed are the same as on the Ladinsky complaint. The com-

plaint is nearly identical, other than apparently new plaintiffs, adding the throwaway




71
   Paul Gattis, Lawsuits seeking to overturn new Alabama transgender law dropped, could be re-
filed, AL.com, https://www.al.com/news/2022/04/lawsuits-seeking-to-overturn-new-alabama-
transgender-law-dropped-could-be-refiled.html?outputType=amp (April 16, 2022).

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First Amendment claim, and moving the lead plaintiff to a role as expert.72 Plaintiffs’

attorneys did not ask for preliminary relief until April 21.

       Plaintiffs and their attorneys obviously engaged in judge-shopping. They were

prepared to proceed with both cases and had agreed to consolidation, then suddenly

decided to drop both lawsuits when the case was assigned to this Court. They then

told the media that they would “refile imminently.” As this Court explained, “At the

risk of stating the obvious, Plaintiffs’ course of conduct could give the appearance

of judge shopping—‘a particularly pernicious form of forum shopping’—a practice

that has the propensity to create the appearance of impropriety in the judicial sys-

tem.” Walker Doc. 24 at 3; cf. Nat’l Treasury Emps. Union v. IRS, 765 F.2d 1174,

1177 (D.C. Cir. 1985) (“The semblance of judge shopping … is also a concern when

a litigant discontinues a fray, only to start over again on another day.”); Telesco v.

Telesco Fuel & Masons’ Materials, Inc., 765 F.2d 356, 360 n.4 (2d Cir. 1985)

(“When [plaintiffs] see a storm brewing in the first court, they may try to weigh

anchor and set sail for the hopefully more favorable waters of another district.”).

       Plaintiffs might invoke the excuse of additional plaintiffs and a new claim. As

an initial matter, one wonders whether Plaintiffs’ attorneys and counsel for the

Walker Plaintiffs received a flood of new plaintiffs (or refusals to proceed from



72
  Likewise, the Walker plaintiffs handed off their expert to proposed intervenor United States.
Compare Doc. 62-2, with Walker Doc. 10-3.

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existing plaintiffs) on April 15 between 4:20 pm (when they consented to consoli-

dation) and 6:24 pm (when they dismissed after assignment to this Court). Regard-

less, Plaintiffs had several easier and more obvious routes to add or change plaintiffs.

They had already taken one such route: filing another lawsuit, which could then be

consolidated as appropriate with existing lawsuits; or joinder, see Fed. R. Civ. P.

20(a); or amending their complaint, see Fed. R. Civ. P. 15(a).

      Thus, dismissal and refiling contradicts Plaintiffs’ professed goal of obtaining

immediate injunctive relief, for it inevitably delays adjudication. Only one explana-

tion exists for their conduct: judge-shopping. “[T]o ignore the probability that the

attorneys’ actions in voluntarily withdrawing the case and instantly refiling were

directed at obtaining a different judge” “would be to blink reality.” Vaqueria Tres

Monjitas, Inc. v. Rivera Cubano, 230 F.R.D. 278, 279 (D.P.R. 2005) (cleaned up);

cf. Alvarado v. Bank of Am., N.A., No. 08-cv-2862, 2009 WL 720875, at *4 (E.D.

Cal. Mar. 17, 2009) (same); Oxbow Energy, Inc. v. Koch Indus., Inc., 686 F. Supp.

278, 283 (D. Kan. 1988) (finding “at least some indication that the new plaintiffs

here chose to stay out of the [earlier] action solely in order to provide an opportunity

to bring a new action”).

          2.    Plaintiffs’ Misconduct Precludes Equitable Relief.

      To preserve the integrity of the federal judiciary, this Court must not let pass

Plaintiffs’ counsel’s sustained effort at judge-shopping. “[P]ermitting such



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manipulation would bring the judicial system itself into disrepute and would permit

unscrupulous litigants and lawyers to thwart our system of judicial administration.”

BellSouth, 334 F.3d at 959-60 (cleaned up). As shown, Plaintiffs have not only en-

gaged in dilatory conduct, the goal of the conduct was “to manipulate the judicial

process.” Gomez, 503 U.S. at 654. “Such conduct is the very antithesis of the equi-

table, diligent, good-faith, vigilant conduct required of a litigant seeking equitable

relief.” Arthur, 574 F. Supp. 2d at 1256. Any irreparable harm “is harm of [Plaintiffs’

counsel’s] own creation.” Id. Thus, Plaintiffs are not entitled to preliminary equita-

ble relief, regardless of any other factor.

      B.     The Other Injunction Factors Are in the State’s Favor.

      Plaintiffs’ motion also fails because they have not shown a likelihood of ir-

reparable injury. “[A] party’s failure to act with speed or urgency in moving for a

preliminary injunction necessarily undermines a finding of irreparable harm.”

Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016). As shown,

instead of timely seeking relief, Plaintiffs dallied, playing at judge-shopping instead

of seeking adjudication of their claims. Even if that misconduct is not alone enough

to deny Plaintiffs’ motion, it weighs heavily against any finding of irreparable harm.

      The Doctor Plaintiffs say they will be irreparably harmed because they may

be subject to “criminal prosecution and penalties.” Br., Doc. 8 at 55. But “the cost,

anxiety, and inconvenience of having to defend against a single criminal



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prosecution” is not “considered ‘irreparable.’” Younger v. Harris, 401 U.S. 37, 46

(1971). “No citizen or member of the community is immune from prosecution, in

good faith, for his alleged criminal acts.” Id. The Doctor Plaintiffs claim no injury

“other than that incidental to every criminal proceeding.” Id. at 47. Their loss of

profits from performing experimental procedures is not an irreparable harm. See

United States v. Jefferson County, 720 F.2d 1511, 1520 (11th Cir. 1983).

      Plaintiffs say that the minors here will be irreparably harmed because they

cannot receive “necessary medical care,” without which they will allegedly “suffer

anxiety, depression, and severe psychological distress” (and their parents will alleg-

edly suffer similarly). Br., Doc. 8 at 53. The problem with this argument is that it

presumes gender-transition procedures would relieve any distress experienced by

these children. But as shown exhaustively above, there is no evidence that this is

true. For one thing, there is scientifically valid evidence suggesting just the opposite:

that gender-transition procedures can lead to more significant distress and other

mental-health problems. Supra at pp. 33-49. And because practitioners cannot dis-

tinguish those children whose transgender identity will desist from that those whose

will persist, there is no way to assess the costs or supposed benefits of gender-tran-

sition procedures for any particular child. Cantor ¶¶ 39-41. In other words, even as-

suming gender-transition procedures could theoretically benefit some child,




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practitioners have no way of knowing ex ante whether gender-transition procedures

will benefit a particular child experiencing gender incongruity.

      Further, to the extent that Plaintiffs are concerned about “abrupt” shifts in

medicine dosage (Br., Doc. 8 at 57), the Act permits appropriate and necessary med-

ical care, as long as the purpose of the procedure is not “to alter the appearance of

or affirm the minor’s perception of his or her gender or sex.” Act § 4(a). Thus, pre-

scribing medications to safely end a gender-transition procedure does not fall within

the Act’s prohibition.

      Plaintiffs say that they may “resume” normal puberty absent the experimental

procedures regulated here. Br., Doc. 8 at 54. But Plaintiffs cite no authority for the

proposition that a law irreparably harms children by ensuring their sexual and repro-

ductive development proceeds biologically. Nor do they cite any authority support-

ing the idea that biological pubertal development is so harmful that it outweighs the

consequences of a preliminary injunction: subjecting Alabama children to ideologi-

cally driven procedures that could inflict irreversible damage on their bodies. Be-

yond that, data indicates that gender-transition procedures could actually increase

the risk of suicide. See supra at pp. 46-49.

      For related reasons, the last two factors—balance of equities and public inter-

est—are in the State’s favor. “[W]here the government is the party opposing the

preliminary injunction, its interest and harm merge with the public interest.” Swain



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v. Junior, 958 F.3d 1081, 1091 (11th Cir. 2020). First, “[a]ny time a State is enjoined

by a court from effectuating statutes enacted by representatives of its people, it suf-

fers a form of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1301 (2012)

(Roberts, C.J., in chambers) (cleaned up); see Hand v. Scott, 888 F.3d 1206, 1214

(11th Cir. 2018) (holding that State “would be harmed if it could not apply its own

laws”). Plaintiffs claim that this Court can disregard this interest because they’ve

argued that the Act is unconstitutional. Br., Doc. 8 at 57. But that approach would

make the harm inquiry irrelevant whenever a party seeks to preliminarily enjoin a

state law on constitutional grounds, because the likelihood-of-success inquiry would

always decisively resolve the irreparable-harm inquiry. The Eleventh Circuit has

squarely rejected the proposition that claimed Equal Protection violations “always

constitute[] irreparable harm.” Siegel, 234 F.3d at 1177; id. at 1177-78.

      Second, for all the reasons given above justifying this Act, a failure to allow

it to take effect would harm children. Granting a preliminary injunction will mean

that more children in Alabama will undergo gender-transition procedures. More chil-

dren will begin taking puberty blockers and experience the loss of bone density and

the associated potential for permanently immature sex organs. And more children

will go on cross-sex hormones and become permanently sterile. A preliminary in-

junction will irreparably damage those children’s lives.




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        Finally, the purpose of a preliminary injunction—preservation of the status

  quo—supports the State. Whenever a plaintiff seeks to enjoin duly enacted legisla-

  tion, “the status quo is that which the People have wrought, not that which unac-

  countable federal judges impose upon them.” Planned Parenthood of Blue Ridge v.

  Camblos, 116 F.3d 707, 721 (4th Cir. 1997) (Luttig, J., staying injunction in pub-

  lished, single-judge order).

        In the face of medical uncertainty, the prudent path is to allow the State’s law

  to take effect, given the irreversible consequences of allowing practitioners to per-

  form experimental gender-transition procedures on Alabama’s children. Allowing

  the Act to take effect would not mean that children “will be unable to obtain” “med-

  ical treatment of gender dysphoria.” Br., Doc. 8 at 54. Alabama has not prohibited

  treatment of gender dysphoria in minors. Scientifically valid evidence supports other

  treatment models, including the so-called “watchful waiting” model and the use of

  psychotherapy to address other mental-health problems. The Act allows such treat-

  ment. This Court is not in a position to “second-guess” the “legislative judgment”

  that children of our State face irreparable harm from the alternative unproven, ex-

  perimental medical procedures proscribed by the Act. Ferber, 458 U.S. at 758.

VIII.   Plaintiffs Are Not Entitled To A Universal Injunction.

        Plaintiffs appear to demand that the Court issue a universal injunction pre-

  venting “the State from implementing Act [sic]” against both Plaintiffs and non-



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parties. Br., Doc. 8 at 58. But this is not a class action, and Plaintiffs offer no justi-

fication for the Court to depart from its narrow authority to adjudicate an Article III

“case or controversy.” “The fundamental principle of equity guiding the court” when

it issues an injunction “is that injunctive relief should be limited in scope to the ex-

tent necessary to protect the interests of the parties.” Ga. Advoc. Off. v. Jackson, 4

F.4th 1200, 1209 (11th Cir. 2021) (cleaned up, emphasis added). “When a district

court fails to follow this principle and drafts an unnecessarily broad injunction, the

district court abuses its discretion.” Id. Thus, if the Court were to find that these

Plaintiffs have proven their entitlement to a preliminary injunction, only these Plain-

tiffs should receive relief.

       Any other course would be inequitable, especially since it would benefit non-

parties like Morissa Ladinsky. Dr. Ladinsky appears to have strategically abandoned

her own suit and changed her label to “expert” in furtherance of judge-shopping

maneuvers. Because she and her former co-plaintiffs strategically abandoned their

case, they should receive no equitable relief from this one.

IX.    A Bond Would Be Required Under Rule 65.

       Last, if this Court provides preliminary relief of any form, the Physician Plain-

tiffs should be required to post a bond. The plain text of Rule 65(c) provides that

“[t]he court may issue a preliminary injunction or a temporary restraining order only

if the movant gives security in an amount that the court considers proper.” “[T]he



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bond is treated by most courts as a contract by which the amount posted is the con-

sideration or ‘price’ paid for a wrongful injunction.” Black Warrior Riverkeeper,

Inc. v. U.S. Army Corps of Engineers, 297 F.R.D. 633, 635 (N.D. Ala. 2014). “Ac-

cordingly, the judge usually will fix security in an amount that covers the potential

incidental and consequential costs as well as either the losses the unjustly enjoined

or restrained party will suffer during the period the party is prohibited from engaging

in certain activities or the complainant’s unjust enrichment caused by his adversary

being improperly enjoined or restrained.” 11A Wright & Miller, Federal Practice &

Procedure § 2954 (3d ed.); e.g., Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174

F.3d 411, 421 n.3 (4th Cir. 1999).

       Here, the most straightforward calculation is the amount by which the Physi-

cian Plaintiffs will be unjustly enriched should they be allowed to administer profit-

able (and illegal) medical procedures to kids. The State proposes an amount of $1

million per Physician Plaintiff. If they object to this amount, discovery is warranted

before an amount is decided or an injunction contingent on the bond issued.73

                                       CONCLUSION

       This Court should deny the motion for preliminary relief.



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  Plaintiffs’ case (City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084 (5th Cir.
Unit B 1981), Mot., Doc. 7 at 4) is irrelevant, and not just because the Doctor Plaintiffs have a
pecuniary interest in this litigation. As Judge Acker explained, City of Atlanta involved a “tech-
nical shortcoming” that was “innocuous” because “the TRO would be in effect for only eight more
days.” Black Warrior Riverkeeper, 297 F.R.D. at 636 (cleaned up).

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                              Respectfully submitted,

                              Steve Marshall
                               Attorney General
                              s/ Edmund G. LaCour Jr.
    Christopher Mills         Edmund G. LaCour Jr. (ASB-9182-
    (SC Bar No.               U81L)
    101050)                    Solicitor General
     (pro hac vice mo-        A. Barrett Bowdre (ASB-2087-K29V)
    tion pending)             Thomas A. Wilson (ASB-1494-D25C)
    SPERO LAW LLC              Deputy Solicitor General
    557 East Bay St.          James W. Davis (ASB-4063-I58J)
    #22251                     Deputy Attorney General
    Charleston, SC
    29451                     Benjamin M. Seiss (ASB-2110-
    Telephone: (843)          O00W)
    606-0640                   Assistant Attorney General
    cmills@spero.law          OFFICE OF THE ATTORNEY GENERAL
                              STATE OF ALABAMA
                              501 Washington Avenue
                              P.O. Box 300152
                              Montgomery, Alabama 36130-0152
                              Telephone: (334) 242-7300
                              Fax: (334) 353-8400
                              Edmund.LaCour@AlabamaAG.gov
                              Barrett.Bowdre@AlabamaAG.gov
                              Thomas.Wilson@AlabamaAG.gov
                              Jim.Davis@AlabamaAG.gov
                              Ben.Seiss@AlabamaAG.gov
                              Counsel for Defendants
    MAY 2, 2022




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                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on May 2, 2022, which will serve all counsel of record.


                                      s/ Edmund G. LaCour Jr.
                                      Counsel for Defendants




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